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          EXHIBIT 11
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            Confidential - Charles Benbrook, Ph.D.

 1                      UNITED STATES DISTRICT COURT
 2                     NORTHERN DISTRICT OF CALIFORNIA
 3
 4    IN RE: ROUNDUP PRODUCTS LIABILITY                  )
      LITIGATION                                         )
 5                                                       )
      This Document Relates To:                          ) MDL NO. 2741
 6                                                       )
      Hardeman v. Monsanto Co., et al.                   ) Case No.
 7    Case No. 3:16-cv-00525;                            ) 3:16-md-02741-VC
                                                         )
 8    Stevick v. Monsanto Co., et al.                    )
      Case No. 3:16-cv-02341; and                        )
 9                                                       )
      Gebeyehou v. Monsanto Co., et al.                  )
10    Case No. 3:16-cv-05813                             )
11
12
13                                  CONFIDENTIAL
14         VIDEOTAPED DEPOSITION OF CHARLES BENBROOK, Ph.D.
15
16                     Confidential videotaped deposition upon oral
17    examination of CHARLES BENBROOK, Ph.D., taken at the
18    request of the Defendants before Amy J. Brown, RMR, CRR,
19    CLR, a Certified Court Reporter, WA CCR No. 2133, at the
20    Quality Inn & Suites Conference Center, 700 Port Drive,
21    Board Room, Clarkston, Washington, commencing at or
22    about 9:03 a.m. on December 28, 2018, pursuant to the
23    Federal Rules of Civil Procedure.
24
25

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 5        220 Lake Drive East                                              mixtures and component surfactants,
            Suite 210                                             4        MONGLY01314233 - 4283
 6        Cherry Hill, NJ 08002                                   5   11    CFR Title 40, Part 159                144
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 7        jkristal@weitzlux.com                                   7   13    Draft TNO Report, MONGLY00888353 - 388 168
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 9        10940 Wilshire Boulevard                               10        MONGLY00235515 - 5519
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10        Los Angeles, CA 90024                                            Glyphosate, MONGLY00232477 - 2495
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21                                                                         Distribution and Use of Pesticides
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23                                                                    23    Monsanto webpage "Product Stewardship             342
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22    Pesticide Programs, September 12, 2016                     22
23 7    IARC Monographs Volume 112 - Glyphosate        43        23
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 1           (Exhibit 1A marked for identification.)            1 also like to state for the record that we are
 2       VIDEOGRAPHER: We are now on the record. My             2 designating this deposition confidential pursuant to the
 3 name is Vladimir Korneychuk. I am a videographer for         3 court's con -- case management order.
 4 Golkow Litigation Services. Today's date is                  4  MR. KRISTAL: Now, my understanding, also, just
 5 December 28th, 2018, and the time is 9:03 a.m.          5 in housekeeping matters -- I don't have it with me --
 6       This video deposition is being held in the        6 was there a three-hour time limit on people that have
 7 Quality Inn in Clarkston, Washington, in the matter of  7 already been deposed? Do you recall that?
 8 In Re: Roundup Products Liability Litigation, for the   8       MR. FAYNE: There's a three-hour time limit, I
 9 United States District Court, Northern District of      9 believe, for specific causation experts. The -- I
10 California. The deponent is Charles Benbrook, Ph.D.    10 believe the timeline for this deposition is the normal
11       Would counsel please identify themselves.        11 seven hours.
12       MR. KRISTAL: Jerry Kristal from Weitz and        12       MR. KRISTAL: All right. Well, if we approach
13 Luxenberg on behalf of plaintiffs.                     13 we will check what you say, and if that's correct, then
14       MR. ESFANDIARY: Pedram Esfandiary for the        14 seven hours it is.
15 plaintiffs.                                            15       MR. FAYNE: Sure.
16       MR. FAYNE: Zach Fayne, Arnold & Porter, for      16                 EXAMINATION
17 defendant Monsanto Company.                            17 BY MR. FAYNE:
18       MR. HOLLINGSWORTH: Grant Hollingsworth of        18    Q. Dr. Benbrook, could you please state your name
19 Hollingsworth LLP for defendant Monsanto.              19 for the record.
20       VIDEOGRAPHER: The court reporter is Amy Brown. 20      A. Charles Benbrook.
21 Will you please swear in the witness.                  21    Q. And you've been deposed many times before,
22              CHARLES BENBROOK, Ph.D.,                  22 correct, Dr. Benbrook?
23      called as a witness on behalf of the Plaintiff,   23    A. Yeah, several times.
24      who, having been first duly sworn, was then and   24    Q. So you're aware of the ground rules for
25      there examined and testified as follows:          25 depositions?

                                                      Page 7                                                          Page 9
 1        MR. KRISTAL: Before we get started, I would         1    A. I am.
 2 state for counsel that, as I'm sure they know, based on    2       MR. KRISTAL: Can we go off the record for a
 3 virtually the identical report that Dr. Benbrook has       3 second?
 4 written and has been served in other cases, he's been      4       VIDEOGRAPHER: Off the record at 8:06 a.m.
 5 deposed five times in the last ten months. So I would      5          (A brief recess was had.)
 6 just ask that you please not ask repetitive questions of   6       VIDEOGRAPHER: Back on the record at 8:07 a m.
 7 things that have already been asked.                       7    Q. (BY MR. FAYNE:) So, Dr. Benbrook, I'm going to
 8        MR. FAYNE: I --                                     8 dispense with the preliminary instructions for
 9        MR. KRISTAL: We don't want to get in a fight.       9 depositions. Is that okay?
10 I'm just saying at some point it really becomes an        10    A. That's fine.
11 exercise more in harassment than legitimate discovery. 11       Q. And there's nothing that would prevent you from
12 I'm not accusing you of anything. I'm just giving you a 12 giving accurate testimony; is that correct?
13 heads-up.                                                 13    A. Not that I'm aware of.
14        MR. FAYNE: I understand your concern. I'll         14    Q. And you've given several days of deposition
15 state that there are going to be some questions that      15 testimony in the Roundup litigation in the past year; is
16 are -- appear similar to questions asked in prior         16 that correct?
17 depositions.                                              17    A. That's correct.
18        We just want to make sure nothing has changed 18 Q. Two days in the Johnson case in February 2018?
19 and confirm that in his new report, which is a new        19    A. I believe that's the accurate date, but I don't
20 report, that he still has the opinions he's expressed in  20 have them memorized.
21 the past, and we'll do our best to avoid repetition.      21    Q. Sure. I'll represent to you --
22        MR. KRISTAL: Thank you. I appreciate that.         22    A. Okay. Fine.
23 And certainly asking if his opinions have changed         23    Q. -- that your depositions were in February. You
24 are -- those are legitimate questions.                    24 don't have any reason to believe that that's incorrect?
25        MR. FAYNE: And before we get started, we'd         25    A. No.

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                                                   Page 10                                                      Page 12
 1    Q. And you had two days in the Peterson and Hall      1 with other experts in the case; is that correct?
 2 case; correct?                                           2     A. Right. I did.
 3    A. Correct.                                           3     Q. Other than the e-mails that you produced, have
 4    Q. And that was May and August, respectively?         4 you  had any other communications with the individuals
 5    A. Yes.                                               5 listed in Request Number 18?
 6    Q. Also one day in the Adams case in September?       6     A. Number 18?
 7    A. Correct.                                           7     Q. Yes. Paragraph 18. I'm sorry.
 8    Q. And you also testified in the Johnson trial in     8     A. Let's see. The only person that I've had any
 9 California on July 27th?                                 9 communications with was Aaron Blair, and I believe I
10    A. Correct.                                          10 disclosed the e-mails to him.
11    Q. You gave all of that testimony under oath;        11     Q. Other than the e-mail communications, have you
12 correct?                                                12 had any telephone conversations with Dr. Blair since
13    A. Yes.                                              13 your last deposition?
14    Q. You told the truth when you gave that             14     A. Yes, I did. I've had, I think, two.
15 testimony?                                              15     Q. When was the first one?
16    A. To the best of my ability, yes.                   16     A. It was -- do you have the e-mails? Because
17    Q. Testified as accurately as you could?             17 that will give me the date.
18    A. To my understanding of the record that I've       18     Q. I don't have them with me. I'm sorry.
19 been asked to review, yes.                              19     A. Okay.
20    Q. And you stand by all the testimony you gave       20     Q. I e-mailed Dr. Blair. The e-mail has been
21 during those depositions and at trial?                  21 disclosed to you. And asked him a technical question
22    A. Yes.                                              22 about the glyphosate portion of the Volume 122
23    Q. We've marked as Exhibit 1 the deposition notice 23 monograph.
24 for this deposition.                                    24       MR. KRISTAL: I think the question was when was
25          (Exhibit 1 marked for identification.)         25 it.

                                                        Page 11                                                         Page 13
 1    A. Yeah.                                                     1       THE WITNESS: It was in November sometime.
 2    Q. I believe you have it in front of you.                    2 That's as close as I can recall.
 3       MR. KRISTAL: And just for the record, we had              3    Q. (BY MR. FAYNE:) And what was the subject of
 4 marked as 1A -- and I'll put it in the pile -- the              4 that conversation?
 5 plaintiff's responses and objections to the dep notice          5    A. I asked him a question about why certain
 6 that had been served on counsel for Monsanto on                 6 genotox studies in the glyphosate section of Volume 122
 7 December 18th. Thank you.                                       7 were discussed only in the narrative portions of the
 8    Q. (BY MR. FAYNE:) Have you seen this document               8 volume and not included in the core tables in which the
 9 before?                                                         9 majority of genotoxicity studies were presented in that
10    A. Yes.                                                     10 report. I wasn't clear why some studies appeared only
11    Q. And if you look on page -- it starts on page 4,          11 in the narrative text and others were in the tables.
12 I believe. There are a number of requests for                  12    Q. Did Dr. Blair have an answer for that question?
13 production. Do you see that?                                   13    A. Yes.
14    A. I don't see a page 4, but I'm sure you'll                14    Q. What was his answer?
15 direct me right to where you want to ask something             15    A. That the -- his recollection was that those
16 about.                                                         16 studies assessed genotoxic mechanisms of action that
17    Q. Yeah. There are -- there are no page numbers             17 were not covered by the core tables, and in particular
18 on here, I apologize, but if you flip to it looks like         18 assays on impacts on sex hormones and oxidative stress.
19 the fourth page, the heading that says "Request for            19    Q. Did he explain why those types of assays were
20 Production."                                                   20 not covered in the core tables?
21    A. Yes.                                                     21    A. Just that they didn't fit. If you look at
22    Q. Did you check your files for responsive                  22 the -- the taxonomy of the way IARC did their tables,
23 materials?                                                     23 that answer made sense to me. I understood it.
24    A. I did.                                                   24    Q. Do you recall how long your conversation with
25    Q. And I believe you produced a handful of e-mails          25 Dr. Blair was?


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 1    A. 15 minutes.                                           1 months when I spent a lot of hours and a few months when
 2    Q. You testified that you had two conversations          2 I didn't spend a lot.
 3 with Dr. Blair. Do you recall when the second one was?      3    Q. In preparing your expert report for this
 4    A. Let's see. Maybe I only had one phone call            4 case -- and by "this case," I'm referring to the MDL
 5 with him. I sent him an e-mail and asked him if I could     5 cases of Stevick, Hardeman and Gebeyehou.
 6 talk to him, and then I -- I had the phone conversation.    6         MR. KRISTAL: That's as good as any of us are
 7 And then I -- he expressed an interest in what I was        7 going to get. We'll take it.
 8 doing, and I told him I was doing an assessment of the      8         THE WITNESS: I hope I don't have to try that
 9 genotox database relied on by IARC and relied on by EPA.    9 one.
10        And he asked me a little bit about what I was       10    Q. (BY MR. FAYNE:) I'll keep working on it
11 doing, and then I sent him a subsequent e-mail with just   11 throughout the day. I'm going to start that question
12 a few of the results which are actually, I think, also     12 over.
13 in my report. And there might not have been a second       13         In preparing your expert opinion for these
14 phone call. I can't really remember.                       14 cases of Stevick, Hardeman and Gebeyehou, did you rely
15    Q. Any in-person conversations with Dr. Blair?          15 in part on the work that you've done prior to August?
16    A. No.                                                  16   A. Yes.
17    Q. And no telephone calls or in-person                  17   Q. And that's the work you were doing in the
18 conversations with any of the other individuals listed     18 Johnson case?
19 in --                                                      19   A. Yes.
20    A. The only time I've ever met, been with any of        20   Q. And the Peterson and Hall case?
21 them was Dr. Sawyers, and it was just momentarily at the   21   A. Yes.
22 trial. He testified before me. I spent a little time       22   Q. And the Adams case?
23 with him there.                                            23   A. Yes.
24    Q. And for the court reporter's benefit, if you         24   Q. So you were able to take advantage of that
25 could wait until I finish my question, and I'll --         25 earlier work in preparing your expert opinion for this

                                                       Page 15                                                     Page 17
 1     A. Oh.                                                   1 case; correct?
 2     Q. -- I'll try to do the same as well. I know            2    A. That is -- that is correct.
 3 it's -- in typical conversation, it's hard to. And if        3          (Exhibit 2 marked for identification.)
 4 we could try to do that.                                     4    Q. (BY MR. FAYNE:) In front of you, you have an
 5     A. Just keep reminding me.                               5 exhibit that's marked as Exhibit Number 2, and these are
 6     Q. Absolutely, I will do that. And I am sure she         6 your invoices from -- I believe it's September, October,
 7 will keep reminding me, as well.                             7 and November of 2018; is that correct?
 8         At your first deposition in February, you            8    A. Yep. That's correct.
 9 testified that you spent approximately 3 -- 320 to           9       MR. KRISTAL: Thank you.
10 350 hours reviewing materials in preparation for your       10    Q. (BY MR. FAYNE:) And so if we can quickly flip
11 role as an expert witness; do you recall that?              11 through them. It looks like you spent 19 and a half
12     A. I recall discussing it. I don't recall the           12 hours in September working on this case; is that
13 exact hours. I'm sure I produced the invoices that had      13 correct?
14 been submitted up until that time, and the number came 14         A. Correct.
15 from adding them up.                                        15    Q. 63 hours in October; is that correct?
16     Q. In May you testified that you spent another          16    A. Yes.
17 50 hours or so at your deposition. Does that sound          17    Q. And 82 hours in November; correct?
18 about right?                                                18    A. Yes.
19     A. Yeah.                                                19    Q. So in total you've spent over 500 hours on
20     Q. Do you recall roughly how much time you spent        20 Roundup-related litigation. Does that sound about
21 working on the Roundup-related litigation between your 21 right?
22 deposition in May and the end of August?                    22    A. Sounds about right.
23     A. No. I'd have to look at my invoices.                 23    Q. More than 600 hours?
24     Q. More than 100 hours?                                 24    A. I -- I'd have to add them up.
25     A. I'd have to look at the invoices. There were         25    Q. And you're being paid $300 an hour to testify

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 1 for the plaintiffs in these cases; is that correct?              1 something, an event that's being discussed, I would ask
 2    A. Yes, sir.                                                  2 for more documentation either before or after a
 3    Q. So over the course of the Roundup litigation,              3 particular date on a MONGLY document.
 4 you've been paid more than $150,000. Does that sound             4       Typically I would send those requests to either
 5 right?                                                           5 Jeff Travers of The Miller Firm, or Jerry Kristal. I
 6    A. I -- yeah, I'm sure it's a bit more than that,             6 believe I sent a few such requests to David Wool with
 7 yep.                                                             7 Andrus Wagstaff. And usually within a day or two I
 8    Q. More than $200,000?                                        8 would get a dump of documents and I would go through
 9    A. I don't think so.                                          9 those, and often the new documents would lead to
10    Q. So you think it's somewhere between 150 and               10 additional questions for further material.
11 $200,000?                                                       11    Q. The testimony that you just gave, you're
12    A. Yeah.                                                     12 referring to the course of the entire -- your
13       MR. KRISTAL: Also assumes the invoices have               13 entire -- your work on this entire litigation; correct?
14 been paid.                                                      14    A. Well, yes. In the -- throughout my work on the
15    Q. Have the invoices been paid?                              15 Johnson case, the person that I typically requested to
16    A. Well, not all of them. Most of them.                      16 do searches and send me new documents was Jeff Travers
17    Q. And your expectation is that the invoices will            17 at the Miller group, but in the last six or eight
18 be paid; correct?                                               18 months, Jerry Kristal has served that role in helping
19    A. Yes.                                                      19 me.
20    Q. At your -- some of your earlier depositions,              20    Q. So I'd like to focus you on the period of time
21 you testified that it's a very large record and you hope        21 since the Johnson trial; okay?
22 to have the opportunity to dig deeper into it as the            22    A. That would be fine.
23 case went on; is that correct?                                  23    Q. In that period of time, have you asked
24    A. That is correct.                                          24 Mr. Kristal for additional documents on topics relevant
25    Q. And you've now produced a new expert report for           25 to this litigation?

                                                         Page 19                                                  Page 21
 1 the Stevick, Hardeman and Gebeyehou cases; correct?            A. Yes.
                                                                    1
 2    A. That is correct.                                    2    Q. Do you recall what topics you asked for
 3    Q. In preparing that new report, have you had the      3 additional documents on?
 4 opportunity to dig deeper into the record?                4    A. Oh, well, at least a dozen. Most of the major
 5    A. Yes.                                                5 areas that are covered in my report. Stewardship, the
 6    Q. Did that include review of Bates-numbered           6 assessment of the cancer assays and genotoxicity, the
 7 documents -- I'll refer to them as "MONGLY documents."    7 sum of the incident report documents, a variety of
 8    A. Yes.                                                8 documents involving surfactants.
 9        MR. KRISTAL: It's M-O-N-G-L-Y, all caps.           9        I've asked multiple times for documents
10        MR. FAYNE: Thank you.                             10 relating to studies done on skin penetration. And as I
11        MR. KRISTAL: I always notice when the court       11 said, pretty much in almost all of the substantive
12 reporters wince.                                         12 sections of my expert report there are some new material
13    Q. (BY MR. FAYNE:) How did you find the new           13 that I accessed and reviewed and has helped inform my
14 documents that you reviewed?                             14 opinions in the current version of my report.
15    A. Documents have come to me in a variety of          15    Q. To the extent you're relying on any of those
16 different ways. I have had for many years extensive      16 new documents, are they cited either in your report or
17 files of my own, particularly EPA documents. Some of     17 in your reliance list?
18 those also appear in the record as MONGLY documents.     18    A. They are.
19        I -- as I have worked through the record, I       19        MR. KRISTAL: And to a certain extent in the
20 have identified particular issues that I have felt are   20 reference list, as well, that was provided subsequent to
21 important for me to address thoroughly, the issues I've  21 the report.
22 been asked to look at, and I -- when I feel that there's 22        MR. FAYNE: I understand, Counsel. I'd
23 likely more in the record or when there's a reference to 23 appreciate it if -- I'm asking for his testimony, not
24 a document in a -- in a MONGLY e-mail and I want to see 24 yours. But I appreciate the --
25 the base document or see what happened as a result of    25        MR. KRISTAL: It was more to help you, but...

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 1        MR. FAYNE: I understand.                               1 expert report that you produced in the Hardeman, Stevick
 2        MR. KRISTAL: Okay.                                     2 and Gebeyehou cases; correct?
 3    Q. (BY MR. FAYNE:) You also had a supplemental             3    A. Yes.
 4 reference list that you produced --                           4    Q. And it's approximately 166 pages, 787 numbered
 5    A. Correct.                                                5 paragraphs. Does that sound about right?
 6    Q. -- in connection with this deposition; correct?         6    A. Sounds about right.
 7    A. Yes.                                                    7       MR. FAYNE: This is not the only -- I'm sorry,
 8    Q. So they might also be listed there, as well?            8 Counsel. Let me give you a copy.
 9    A. And there might even be one or two that didn't          9       THE WITNESS: And I believe you've been
10 make the list.                                               10 provided the errata sheet. It was e-mailed to you -- or
11    Q. So there might be documents that you're relying        11 e-mailed to you, maybe.
12 upon for your expert opinion that you have not disclosed     12       MR. ESFANDIARY: Yes. I sent it to you last
13 in any of your reliance lists?                               13 night. Sent them to --
14    A. There might be. I'd -- it would be very hard           14       THE WITNESS: Just typos, errata sheet.
15 to tell. I've looked at thousands of documents up until      15       MR. FAYNE: I have not received that, but we
16 now.                                                         16 can talk about that off the record.
17    Q. In preparing for your deposition today, did you        17       THE WITNESS: Okay. We'll get it to you.
18 review transcripts from your prior depositions?              18       MR. KRISTAL: I may have a copy, actually.
19    A. Yes.                                                   19 This had been e-mailed to I'm not sure which counsel
20    Q. Did you review transcripts from the Johnson            20 last night.
21 trial?                                                       21       MR. ESFANDIARY: E-mailed to Pamela Yates and
22    A. No.                                                    22 Julia DuPont, I believe, at Arnold Porter.
23    Q. Which deposition transcripts did you review, if        23       MR. FAYNE: Yes. Thank you.
24 you recall?                                                  24    Q. (BY MR. FAYNE:) So Exhibit 3 is your expert
25    A. You're speaking about my depositions?                  25 report in these cases; correct?

                                                      Page 23                                                        Page 25
 1    Q. Yeah. I'm sorry. Yes. So you testified that             1     A. Yes.
 2 you reviewed some of your prior deposition transcripts;       2     Q. And when I refer to "these cases," you'll
 3 correct?                                                      3 understand that I mean the Hardeman, Stevick and
 4    A. Correct.                                                4 Gebeyehou cases?
 5    Q. Which ones?                                             5     A. Yes, sir.
 6    A. All of them.                                            6     Q. If I'm not referring to those specific cases,
 7    Q. Did you review any other deposition transcripts         7 I'll be sure to say so during the deposition; is that
 8 in preparation for today?                                     8 okay?
 9    A. Yes.                                                    9     A. Yep.
10    Q. Which ones?                                            10     Q. This is not the only report that you've
11    A. Several. Sitting here right now, I probably            11 produced in the Roundup litigation; correct?
12 won't remember all of them. And in addition, sometimes       12     A. Yes.
13 when I review a deposition transcript, there's certain       13     Q. You also produced a report in the Johnson case;
14 issues that I'm looking for, so I don't do an absolutely     14 correct?
15 thorough read.                                               15     A. That is correct.
16        But Donna Farmer, David Saltmiras,                    16     Q. Have you produced any other expert reports in
17 Dan Goldstein, Dr. Sawyers -- two of Dr. Sawyers'            17 the Roundup-related litigation?
18 depositions. Let's see. Who else? Acquavella, I              18     A. No.
19 believe I've looked at. I don't recall any others at         19     Q. Who wrote the first draft of this report?
20 this time, although there are probably a few others.         20     A. I did.
21          (Exhibit 3 marked for identification.)              21     Q. Did the attorneys provide comments on your
22    Q. (BY MR. FAYNE:) I'd like to turn now to what's         22 draft?
23 marked Exhibit 3 --                                          23        MR. KRISTAL: Objection. Privileged.
24    A. Yep.                                                   24        THE WITNESS: No.
25    Q. -- which is before you. And this is your               25        MR. KRISTAL: You don't have to answer those

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 1 questions.                                                 Stevick, Hardeman and Gebeyehou cases; correct?
                                                               1
 2        THE WITNESS: Oh, okay.                            2    A. Yes.
 3        MR. KRISTAL: I'll instruct you not to -- I'll     3    Q. Have you ever met Mr. and Mrs. Stevick?
 4 instruct you next time.                                  4    A. No, I have not.
 5    Q. (BY MR. FAYNE:) Your expert report in these        5    Q. Have you ever met Mr. Hardeman?
 6 cases covers topics that are similar to those addressed  6    A. No.
 7 in Johnson; correct?                                     7    Q. What about Mr. Gebeyehou?
 8    A. Yes.                                               8    A. No.
 9    Q. And as we discussed previously, the work that      9    Q. Ever spoken to any of them?
10 you did in the Johnson case was useful as you prepared 10     A. No.
11 this expert report; correct?                            11    Q. Have you reviewed the legal complaints that
12    A. Of course it was.                                 12 they filed in these lawsuits?
13    Q. And you were able to reuse certain sections?      13    A. Perhaps scanned them. I don't recall if I
14    A. Yes.                                              14 reviewed it in any detail.
15    Q. Presumably that meant that you were able to       15    Q. So fair to say that you're not relying upon
16 draft this expert report in less time than your Johnson 16 them in issuing your expert opinion?
17 report; correct?                                        17    A. No, I'm not.
18    A. It was --                                         18    Q. Have you ever reviewed the transcripts of their
19        THE WITNESS: Did you want to say something? 19 depositions?
20        MR. KRISTAL: No. No. No.                         20    A. No.
21        THE WITNESS: It was somewhat less work, but 21         Q. What about their responses to discovery
22 I -- between the filing of my Johnson report and the    22 requests?
23 completion of this one, just off the top of my head, I  23    A. No.
24 would say I probably have spent a roughly comparable    24    Q. Your report did not include any opinions that
25 amount of time delving deeper into the record.          25 are specific to Mr. and Mrs. Stevick; correct?

                                                  Page 27                                                       Page 29
 1         So while not all of this report is new, all of      1    A. That is correct.
 2 the sections are, I think, substantially refined, and       2    Q. Same for Mr. Hardeman?
 3 I -- I feel that I've been able to document and support     3    A. Yes.
 4 my reviews of these matters of my opinions in a more        4    Q. Same for Mr. Gebeyehou?
 5 thorough and effective way in the current version of the    5    A. Yes.
 6 report, and that took a lot of time.                        6    Q. Is it fair to say that you do not intend to
 7    Q. (BY MR. FAYNE:) In other words, you were able         7 offer testimony that is specific to any one of those
 8 to build off your Johnson report; is that a fair            8 plaintiffs?
 9 characterization?                                           9    A. That is correct.
10    A. Build off and also extend in some significant        10    Q. Also fair to say that you're not basing your
11 ways, yes.                                                 11 expert opinions on any facts that are unique to any of
12    Q. Does this report contain all of the expert           12 their individual cases; correct?
13 opinions that you intend to offer in this -- in these      13    A. That is also correct.
14 cases?                                                     14    Q. I would like to turn to Exhibit 4. Actually,
15    A. As I've done it in every case that I've been         15 before we get to Exhibit 4, if you could turn to your
16 involved with, I will try to respond to any questions      16 reliance list in your expert report.
17 placed to me as thoroughly as I can. This report           17    A. Okay. Okay.
18 codifies opinions that I've reached based on my review     18    Q. So your reliance list includes four categories
19 of the record to date, and it is what I will testify to    19 of documents; correct?
20 at trial, but I don't know what I'll be asked.             20    A. Yes.
21    Q. Understood. But if you intended to testify           21    Q. And that's documents with a Bates number,
22 about additional topics, you understand that you would     22 published scientific studies and technical documents,
23 have to amend your report; is that fair?                   23 depositions, deposition exhibits, Johnson trial
24    A. Yes, I understand that, sir.                         24 documents and genotoxicity documents; correct?
25    Q. You were designated as an expert witness in the      25    A. Correct.

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 1    Q. I also understand that you're relying on a few     1 on your updated reference list?
 2 documents that are cited in your report that might not   2    A. Yes. And it would include the documents
 3 be on this reliance list; is that correct?               3 presented as exhibits during my trial testimony and
 4    A. That's -- that's likely true.                      4 various exhibits in my depositions and the depositions
 5    Q. And to the extent you're relying on those          5 of other parties to the -- to the case that I've read.
 6 documents, they're cited in the report; correct?         6    Q. Could you turn to page 8 of your reliance list?
 7    A. Correct.                                           7    A. This is back in the report?
 8    Q. Are you relying on any documents that were         8    Q. Back in the report, yes. So this is Exhibit 3,
 9 cited in the prior version of your report that are not   9 page 8 of the reliance list.
10 cited in this report?                                   10    A. Yeah. Yeah. Yeah. Got it.
11    A. Oh, geez. It -- possibly.                         11       MR. KRISTAL: Did I steal yours? I apologize.
12    Q. You can't say one way or the other sitting here   12       MR. FAYNE: No problem. This one seems to be
13 today?                                                  13 working.
14    A. Well, I know that in the interest of trying to    14    Q. (BY MR. FAYNE:) So you'll see towards the
15 shorten the report and especially in light of the added 15 bottom of this list, there are a number of documents
16 material, there are -- there is some substantial        16 listed as public document; correct?
17 passages from the Johnson expert report that are not in 17    A. Correct.
18 this report.                                            18    Q. And that goes on to page 9, as well?
19        And there may have been some MONGLY documents 19       A. Correct.
20 cited in the Johnson report, but I would                20    Q. Would you agree that it would be difficult for
21 still -- because I read them and they helped inform my  21 someone looking at this list to identify which documents
22 opinions, they still form the basis of the opinions in  22 you're referring to?
23 the current report even though they're not cited.       23    A. It would be indeed. My apologies.
24    Q. Do you know whether those documents are cited     24    Q. Are you able to identify which documents these
25 in your reliance list or updated reliance list?         25 are referring to?

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 1    A. Probably are. I've tried to be cumulative with       1 A. I know I can describe them in general. Would
 2 it.                                                     2 that be helpful?
 3     Q. And over the past 30 years, I understand that    3    Q. I don't need you to do that sitting here today,
 4 you've also reviewed a number of documents that have    4 but you'd be able to update this list so that it would
 5 informed your general thinking on pesticides and        5 be easier for someone to understand what you're
 6 glyphosate; is that correct?                            6 referring to; correct?
 7     A. More than 30 years, yes.                         7    A. I'll endeavor to do that, yes.
 8     Q. I think I took that number from your report,     8    Q. Thank you. Appreciate that.
 9 but I apologize if I got that wrong.                    9        THE WITNESS: Can you help me remember to do
10        So now if we could turn to Exhibit 4, which is  10 that?
11 your supplemental reliance list.                       11        MR. KRISTAL: Uh-huh.
12           (Exhibit 4 marked for identification.)       12          (Exhibit 5 marked for identification.)
13     A. Okay. Back to this one.                         13    Q. (BY MR. FAYNE:) And then the last exhibit we
14     Q. Yep. And this -- I apologize. I referred to     14 had pre-marked is just Exhibit 5, which is your updated
15 it as supplemental. It's your updated reference list;  15 résumé.
16 correct?                                               16    A. Okay.
17     A. Yes.                                            17        MR. KRISTAL: Thank you.
18     Q. And this lists additional Bates-numbered        18    Q. And the only question I have for you about this
19 documents that you've relied upon in forming your      19 right now is that this is your current résumé; is that
20 opinions; correct?                                     20 correct?
21     A. And one journal article.                        21    A. No. Oh, yes. Yes, it is. I'm sorry. I had
22     Q. And one journal article, correct.               22 to check the last change, and the last change is in
23        Is it fair to say that all of the documents     23 there.
24 that you're relying upon to support your opinion are   24    Q. Thank you.
25 cited either in your report, on your reliance list, or 25    A. Glad we got beyond the résumé part of this.

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 1    Q. We're not quite done yet.                                   1    A. No.
 2        MR. KRISTAL: See? You spoke too soon.                      2    Q. And you are not a toxicologist; correct?
 3    Q. So I'd like to ask you some questions now about             3    A. I'm not a practicing toxicologist. I am an
 4 your credentials. I understand that some of these have            4 expert in the role of toxicology data in the assessment
 5 been asked in the past, but I just want to confirm that           5 of pesticide risk and the types of studies that are
 6 nothing has changed. I'll try to get through this                 6 done, the way that they are translated into quantitative
 7 section as quickly as possible.                                   7 estimates of risk and the role that they play in
 8    A. Thank you.                                                  8 pesticide regulation. So from -- for that aspect of the
 9    Q. I understand counsel's concern.                             9 field of toxicology, I am an expert.
10        You've never been employed by the Environmental           10    Q. How did you become an expert in that aspect of
11 Protection Agency; correct?                                      11 toxicology?
12        MR. KRISTAL: Don't answer that question.                  12    A. Through research.
13        If you want to ask since the last deposition              13    Q. Reviewing public literature?
14 when he was asked that exact question whether he's been          14    A. Public literature, some -- some studies done by
15 employed, that's a good question. Otherwise we're not            15 registrants, interactions with scientists, and
16 going to go through every single thing that's been               16 engagement with the issues and other scientists over the
17 already asked.                                                   17 last four decades.
18        MR. FAYNE: Are you --                                     18    Q. Have you ever designed a toxicology study?
19        MR. KRISTAL: Yes, I'm instructing him not to              19    A. No.
20 answer that. But I'm not -- I think it would be proper           20    Q. Have you ever conducted a toxicology study?
21 for you to ask him since the last time he's answered             21    A. No.
22 that question. That's fair.                                      22    Q. You're not an epidemiologist; correct?
23    Q. (BY MR. FAYNE:) You've never been employed by              23        MR. KRISTAL: Not since the last time he's been
24 the FDA; correct?                                                24 asked that question.
25    A. Same.                                                      25    A. Sir, if I had training in a field of that

                                                          Page 35                                                           Page 37
 1       MR. KRISTAL: Same objection. And it's the                   1 nature, it would be on my résumé.
 2 same request. You can get the information you need if             2    Q. So since your last deposition, you have not
 3 you want it. Just ask him since the last time.                    3 received any formal training or degree in epidemiology;
 4       MR. FAYNE: So just for the record, you're                   4 correct?
 5 instructing the witness not to answer?                            5    A. As you will note, there's been no update in my
 6       MR. KRISTAL: Yes, because it's harassment at                6 résumé that indicates that I've had such training.
 7 this point. He's answered those questions. You know               7    Q. So you've received no formal training or degree
 8 that he hasn't been employed by EPA or FDA certainly up           8 in epidemiology?
 9 to the date of the last time he was asked that, which is          9   A. Correct.
10 within the last couple of months. So if you want to ask          10   Q. Since your last deposition, you've not received
11 since then, that's fair. Otherwise, it is harassment.            11 any formal training or degree in pathology; correct?
12    Q. (BY MR. FAYNE:) Since your last deposition, I              12   A. Correct.
13 assume you've not received any training in medicine;             13   Q. You're not a pathologist?
14 correct?                                                         14   A. I am not a pathologist.
15    A. Correct.                                                   15   Q. Do you have any formal training or degree in
16    Q. Since your last deposition, you've not received            16 exposure assessment?
17 any formal training or degree in any physical science;           17   A. No.
18 correct?                                                         18   Q. You do not claim to be an expert in exposure
19    A. No.                                                        19 assessment; correct?
20    Q. And you are not being designated as an expert              20   A. Other than the role that exposure assessment
21 in this case in any physical science; is that correct?           21 methodologies play in the pesticide risk assessment
22    A. No.                                                        22 process, the data that's generated by registrants in
23    Q. Since your last deposition, you haven't                    23 compliance with data requirements on the exposure side.
24 received any formal training or degree in toxicology;            24       I've done extensive research on the
25 correct?                                                         25 biomonitoring data that's in the public literature. I


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 1 understand the tools and the methods. I am -- have a        1  Q. Other than dietary exposures, have you designed
 2 deep background in the evolution of analytical chemistry  2 risk assessment for any other types of exposures?
 3 methods used to quantify the levels of pesticides in a    3    A. I haven't designed an exposure assessment
 4 variety of matrices and regard myself as an expert in     4 study, but I've certainly reviewed and worked with
 5 the general tools and methods utilized to estimate        5 several of them and several exposure assessments in EPA
 6 exposure -- exposures to pesticides, including an         6 regulatory documents which has given me a firm grounding
 7 herbicide like glyphosate.                                7 in the way that the agency approaches exposure
 8    Q. Have you ever been qualified as an expert in        8 assessment.
 9 any other litigation on exposure assessment?              9    Q. So you have never designed a dermal exposure
10    A. I've been qualified as an expert in cases where    10 study, for instance?
11 exposure assessment was one of the issues that was       11    A. Correct.
12 entailed in the case, but I wasn't specifically          12    Q. What about a dermal penetration study, in case
13 designated as a -- as an expert in exposure assessment,  13 you view those as different?
14 as least I don't remember ever being.                    14    A. Same answer.
15    Q. Do you have any formal degree or training in       15    Q. I'd like to turn now to your expert report
16 ADME, which, as you know, stands for absorption,         16 which we've marked as Exhibit 3.
17 distribution, metabolism and excretion?                  17    A. Okay.
18    A. I'm not aware of any formal degrees in that        18    Q. Would you turn to page 21? I'm sorry, page 20
19 particular field, but -- and no, I have none.            19 of your expert report.
20    Q. And you don't claim to be an expert in ADME;       20    A. Okay.
21 correct?                                                 21    Q. And in this section you've conducted an
22    A. Again, I do have extensive expertise in the        22 analysis of genotoxicity studies relied on by EPA as
23 importance of studies falling within that area of        23 compared to those relied on by IARC; is that a fair
24 pesticide risk assessment and feel quite capable of      24 characterization?
25 understanding the record in this case that relates to    25    A. Yes.

                                                    Page 39                                                       Page 41
 1 the behavior of glyphosate herbicide and formulated         1    Q. For your comparison you used EPA's
 2 herbicides in plant matrices, human skin, et cetera, and    2 September 2016 report titled "Glyphosate Issue Paper:
 3 the environment.                                            3 Evaluation of Carcinogenic Potential"; is that correct?
 4    Q. Since your last deposition, you haven't               4    A. Yes.
 5 received any formal training in -- or degree in             5    Q. You're aware that EPA has published an updated
 6 corporate ethics; correct?                                  6 version of that issue paper in December 2017; correct?
 7    A. Correct.                                              7    A. Yes, I am.
 8    Q. What about law?                                       8    Q. Why did you use the 2016 report instead of the
 9    A. No, I haven't gone through law school in the          9 2017 report?
10 last four months.                                          10    A. It's the one that I had done the vast majority
11    Q. It would be pretty impressive if you had.            11 of my analysis with, and I check to -- to -- when the
12        Have you ever conducted a scientific exposure       12 new -- newer report came out, I didn't recognize very
13 assessment?                                                13 many changes, and so I just continued to work
14    A. No.                                                  14 with -- with that one.
15    Q. Have you ever designed an assessment of              15       It also, given that my -- the focus is a
16 exposure?                                                  16 comparison of the genotox database that EPA used and
17    A. I -- I've participated and am -- and continue        17 referred to in their September 2016 report to the IARC
18 in some of my work to develop the methodologies to         18 report which came out a few months -- the full Volume
19 estimate exposure to pesticides. Yes, I -- I do.           19 122 monograph that came out roughly at the same time.
20    Q. In what context?                                     20       So I was -- I felt it was most appropriate
21    A. Primarily in a dietary exposure from residues        21 analytically to focus on what those reports said at the
22 in food. I've developed proprietary models that            22 time that they were issued.
23 quantify dietary exposures as a result of residues in      23    Q. Did you check to see whether EPA cited any new
24 food. That's been a -- that's been a major focus of my     24 or additional genotoxicity studies in their 2017 report?
25 work for over 20 years.                                    25    A. I think they did a few new ones, yes.

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 1    Q. That wasn't important to your analysis?               1 me for -- since I began working on this case that the
 2    A. No. I didn't see enough differences to redo           2 difference in judgment reached by EPA on the
 3 the whole analysis.                                         3 oncogenicity of glyphosate and glyphosate-based
 4       MR. FAYNE: I'll mark as Exhibit 6 EPA's 2016          4 herbicides relative to the judgment reached by IARC is a
 5 OPP report.                                                 5 central controversy in the case.
 6          (Exhibit 6 marked for identification.)             6         And I -- I wanted to try to understand from a
 7       MR. KRISTAL: Was this 6, did you say?                 7 scientific point of view what might have led the EPA to
 8       MR. FAYNE: 6.                                         8 reach a different conclusion than IARC, and I designed
 9    Q. (BY MR. FAYNE:) Is this the EPA report that           9 my analysis to try to understand what those differences
10 you used for your analysis?                                10 were.
11    A. I can't tell if it's the original or the             11    Q. You testified that it was obvious to you that
12 updated one, but you'll tell me, I'm sure.                 12 IARC's review was more comprehensive in several ways.
13    Q. If you look at the front cover, it says              13 What were those ways?
14 "September 12th, 2016."                                    14    A. They relied -- the IARC working group relied
15    A. Yeah.                                                15 much more heavily on studies on formulated
16    Q. And that's the version that you used; correct?       16 glyphosate-based herbicides, whereas the EPA's analysis
17    A. Yes, that's the version I used.                      17 did not place really hardly any weight on those. And
18    Q. And in your analysis, you were comparing the         18 also, the IARC working group relied much more
19 studies that EPA considered in its genotoxicity            19 extensively on public literature studies appearing in
20 assessment in this 2016 report to those considered by      20 peer-reviewed journals.
21 IARC in Volume 112 of its monographs; correct?             21    Q. Any other ways in which the IARC review was
22    A. Correct.                                             22 more comprehensive, in your opinion?
23    Q. So let's mark Volume 112 as well just so we          23    A. I think the -- the IARC report is actually a
24 have them both in front of us.                             24 bit more thorough in discussing the strengths and
25       MR. FAYNE: So we'll mark Volume 112 of IARC's        25 weaknesses of individual studies compared to the EPA

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 1 monographs as Exhibit 7.                                    1 report, but it may -- it just may be that the EPA, in
 2          (Exhibit 7 marked for identification.)             2 compiling that report, they didn't put in all of the
 3       MR. KRISTAL: Always nice to unburden yourself,        3 details in their individual reviews of each of the
 4 when you're taking a deposition, of all the documents.      4 studies.
 5       MR. FAYNE: You have no idea.                          5       I'm quite sure that there's a probably an EPA
 6       MR. KRISTAL: I do have an idea.                       6 memo in the files of HED, Hazard Evaluation Division, on
 7    Q. (BY MR. FAYNE:) In comparing the studies that         7 all the genotox studies from registrants that they
 8 EPA -- let me start over. Strike that.                      8 reviewed, and that would be a 4,000-page document
 9       In comparing the genotoxicity studies that EPA        9 instead of a 260-page document had they done that.
10 reviewed as compared to those reviewed by IARC, what       10       But that -- that is one -- I thought the
11 were you trying to show?                                   11 qualitative assessment of the -- of the studies was more
12    A. I was simply trying to understand the genotox        12 thorough in the IARC review compared to the EPA
13 database that formed the foundation of EPA's judgment on   13 document.
14 genotoxicity, and I also tried to understand the           14    Q. But you're not testifying that IARC's review
15 genotoxicity database that IARC relied on in reaching      15 was necessarily more thorough, just that its write-up
16 their different judgment, and then I compared the two to   16 was more thorough. Is that a fair characterization?
17 see that -- whether the differences in the studies that    17   A. No, that's not a fair characterization.
18 EPA reviewed and relied upon were different enough to      18   Q. But you testified that you're sure that the
19 explain why EPA reached a diametrically opposed            19 health effects division has a memo in its files that's
20 conclusion on the question of genotoxicity compared to     20 much longer. So you have no way of knowing one way or
21 the conclusion reached by IARC.                            21 another how thorough the review is; correct?
22    Q. Were you trying to show that IARC's review of        22   A. I based my assessment -- my comparative
23 the genotoxicity database was more comprehensive?          23 assessment on these two reports that are presented by
24    A. It was obvious that it was more comprehensive        24 EPA on the one hand and IARC as the culmination of their
25 in several ways. It's -- it's -- it has been clear to      25 systematic and quite extensive reviews of the studies


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 1 and the public literature that were available to them       1  A. Correct.
 2 and fell within the guidelines for what they relied on.   2    Q. You didn't refer to any other information in
 3    Q. Let's turn to Appendix C of your report, which      3 the report, correct, for purposes of this analysis?
 4 I believe lays out your methodology; correct?             4    A. Well, in terms of counting the number of assays
 5    A. Okay.                                               5 in the core tables, yeah, I just used the core tables.
 6    Q. And, sorry, I should be more clear. Appendix C      6    Q. And as you just testified, the only input you
 7 of your expert report, which we had marked as Exhibit 3.  7 used for your analysis was the core tables; correct?
 8    A. Yeah. Okay. I'm there.                              8    A. Well, I do address in my analysis the appendix
 9    Q. So this appendix lays out the methodology used      9 tables where EPA listed a number of assays on formulated
10 to compare the IARC report to the EPA report; correct?   10 glyphosate-based herbicides, but they also say quite
11    A. Yes.                                               11 clearly that they -- they didn't place any weight or
12    Q. Just to make sure I understand exactly what you    12 much weight on them in their analysis.
13 did, you're counting the number of studies cited by IARC 13    Q. Could you show me in your analysis where you
14 and then counting how many of those studies were         14 identified the appendix tables that EPA referred to on
15 considered by EPA; correct?                              15 formulated products?
16    A. It's not exactly studies. It's counting the        16    A. It's probably in my report somewhere.
17 number of assays included in the core tables produced by 17    Q. We can -- you can look for it at a break. I'll
18 EPA in their report, and then I did essentially the same 18 represent to you --
19 analysis of the core tables produced by the IARC working 19       MR. KRISTAL: He's not going to look for it at
20 group.                                                   20 a break. If you want him to do it now, a break is for a
21       Several studies report assay results on -- in      21 break. But he's happy to look for it now, if you'd
22 more than one cell line. Some studies report assay       22 like.
23 results on technical glyphosate and formulated           23       THE WITNESS: As you know, I've gone to --
24 glyphosate-based herbicides. A few include data on       24       MR. KRISTAL: Is that what you want him to do?
25 AMPA.                                                    25       MR. FAYNE: No. That's all right.

                                                    Page 47                                                    Page 49
 1        So the total number of assay results that          1       MR. KRISTAL: Okay.
 2 appear in both the EPA core tables and the IARC core      2    Q. (BY MR. FAYNE:) Tables 5.1 through 5.7 in the
 3 tables exceed the number of studies cited.                3 EPA report address studies on glyphosate technical;
 4    Q. So just to confirm that I understand what you       4 correct?
 5 just laid out, you're counting the number of assays, not  5    A. Correct.
 6 the number of studies; correct?                           6    Q. Or pure glyphosate?
 7    A. I'm counting the number of assay -- individual      7    A. Probably more appropriate to say glyphosate
 8 assay results that the EPA felt appropriate to include    8 technical.
 9 in their core tables based on their review of the         9    Q. Sure.
10 studies.                                                 10    A. Because there's no such thing as pure
11        And if you read the EPA report, they say that     11 100 percent glyphosate.
12 they identified and include in their core tables the     12    Q. Sure. So we'll refer to it as glyphosate
13 primary results of the study, often as highlighted by    13 technical.
14 the authors of the study, whether it's a peer-reviewed   14    A. Yeah. I think that's appropriate.
15 study in the literature or a registrant-submitted study. 15    Q. And to determine how many studies were
16    Q. So you're counting the number of assay results 16 considered by IARC, you used Tables 4.1 through 4.6 in
17 the EPA put in its core tables and comparing that to the 17 the monographs; correct?
18 number of assay results that IARC put in its core        18    A. Correct.
19 tables; correct?                                         19    Q. And those tables address studies on glyphosate
20    A. Correct.                                           20 technical, glyphosate-based formulations, and studies on
21    Q. To determine how many studies -- or strike         21 the glyphosate metabolite AMPA; correct?
22 that.                                                    22    A. Correct.
23        To determine how many assay results were          23    Q. So you're comparing the number of genotoxicity
24 considered by EPA, you used Tables 5.1 through 5.7 in 24 studies on glyphosate technical that EPA considered to
25 the EPA report; correct?                                 25 the number of studies on glyphosate technical,


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 1 glyphosate-based formulations and AMPA that IARC            1 conducted in non-mammalian species (example, worms,
 2 considered --                                               2 fish, reptiles, plants) were excluded because they were
 3    A. Correct.                                              3 considered to be not relevant for informing genotoxic
 4    Q. -- is that fair?                                      4 risk in humans."
 5       Can you turn to page 21 of your report,               5       Do you see that?
 6 paragraph 63?                                               6    A. Actually, I don't. You're talking -- page 98?
 7    A. Back to there, okay. You said page 21?                7    Q. Yes, of the OPP report.
 8    Q. Yes, paragraph 63.                                    8       MR. KRISTAL: Can you just give us which
 9    A. Got it.                                               9 paragraph?
10    Q. You state, "Of the approximate 120 genotoxicity      10       MR. FAYNE: It's the bottom of the second full
11 studies in all categories cited by IARC, EPA cited about   11 paragraph.
12 50 in its 2016 report or about 42 percent of those         12       THE WITNESS: Oh, okay. I was in the bottom
13 considered by IARC."                                       13 paragraph. I'm sorry.
14       Did I read that correctly?                           14    Q. (BY MR. FAYNE:) So I'll read that again. It
15    A. Yes.                                                 15 says, "Studies conducted in non-mammalian
16    Q. When you say "in all categories cited by IARC,"      16 species (example, worms, fish, reptiles, plants ) were
17 you're referring to glyphosate technical,                  17 excluded because they were considered to be not relevant
18 glyphosate-based formulations, and AMPA; correct?          18 for informing genotoxic risk in humans."
19    A. Correct.                                             19       Do you see that?
20    Q. Only 55 of those 120 genotoxicity studies cited      20    A. Yes, I do.
21 by IARC fell into mammalian categories; correct?           21    Q. And did I read that correctly?
22    A. Yeah. That's in a subsequent paragraph, I            22    A. You did.
23 assume.                                                    23    Q. So EPA excluded studies from its analysis that
24    Q. Yep.                                                 24 were on non-mammalian species; correct?
25    A. Yes, sir.                                            25    A. That is correct.

                                                     Page 51                                                       Page 53
 1    Q. Yes. That's paragraph 64 where you state that        1    Q. And that's because it concluded that those
 2 "Of the 120 studies" --                                    2 studies were not relevant to genotoxic risk in humans;
 3    A. Right.                                               3 correct?
 4    Q. -- "reviewed by IARC, 55 fell in mammalian test 4         A. That was the conclusion reached by EPA, yes.
 5 categories"?                                               5    Q. Do you disagree with that assessment?
 6       MR. KRISTAL: I think that little squiggly line       6    A. Yes, I do disagree and so does IARC. And many
 7 means approximately.                                       7 other scientists in that genotoxicity assays done in
 8       THE WITNESS: That's correct.                         8 non-mammalian species lend further insights into the
 9    Q. (BY MR. FAYNE:) Approximately 55; correct? 9 biological properties and impacts of various chemicals
10    A. Yes.                                                10 under review.
11    Q. You agree that mammalian test categories are        11        I think it's -- there is -- it is widely
12 the most relevant to the assessment of glyphosate's       12 accepted that the most relevant studies are done in
13 potential to trigger carcinogenic risk in humans;         13 mammalian systems, but the IARC working group clearly
14 correct?                                                  14 felt that the non-mammalian studies were -- added
15    A. Yes, I do.                                          15 additional insights and value to the data set.
16    Q. And actually, if you'll turn to page 98 of the      16    Q. But you agree that it's widely accepted that
17 EPA report. And I apologize. I know I'm asking you to 17 the most relevant studies are the ones that are done in
18 use two different documents here.                         18 mammalian test systems; correct?
19    A. That's all right. I know right where you're         19    A. Yes, I do agree with that.
20 going.                                                    20    Q. You state that "Of the approximately 55 studies
21       MR. KRISTAL: Need to ask him about his              21 conducted in mammalian systems that were reviewed by
22 expertise in mind reading.                                22 IARC, EPA considered about 40"; correct?
23       THE WITNESS: Okay. 98.                              23    A. Correct.
24    Q. (BY MR. FAYNE:) So page 98, in the bottom of 24           Q. And again, in making this determination, you
25 that second full paragraph, it states that "Studies       25 were looking at Tables 5.1 through 5.7 of the EPA


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 1 report; correct?                                             1 Appendix F. As described in Section 7.0 of this
 2    A. Correct.                                               2 document, glyphosate formulations are hypothesized to be
 3    Q. So if you'll turn to page -- you're probably           3 more toxic than glyphosate alone. The agency is
 4 already there -- page 98 of the EPA report.                  4 collaborating with NTP to systematically investigate the
 5    A. Back to where we were, okay.                           5 mechanisms of toxicity of glyphosate and glyphosate
 6    Q. Yes. And now we're looking in the first full           6 formulations. However, the focus of this section is the
 7 paragraph on that page.                                      7 genotoxic potential of glyphosate technical."
 8    A. All right.                                             8        So in this passage, the EPA is fairly clearly
 9    Q. It says, "In the current analysis, a fit for           9 saying that they did not place much, if any, weight on
10 purpose systematic review process was conducted to          10 the genotoxicity studies on the formulated products, so
11 identify relevant genotoxicity data from regulatory         11 I felt it would be inappropriate for me to include them
12 studies and published literature, from open sources         12 as among the studies that EPA considered in its
13 (published and unpublished) for both glyphosate             13 evaluation since they say right here that they didn't
14 technical and glyphosate-based formulations. Studies        14 consider them.
15 conducted with glyphosate formulations that were            15        MR. FAYNE: I'll move to strike that answer as
16 identified and considered relevant for genotoxicity         16 non-responsive.
17 evaluation are summarized in table form in Appendix F."     17        MR. ESFANDIARY: The answer will stand.
18       Do you see that?                                      18    Q. (BY MR. FAYNE:) The question was, had you
19    A. Yes.                                                  19 included --
20    Q. And then if we turn to Appendix F, which is on        20        THE REPORTER: Could you repeat?
21 page 214.                                                   21        MR. ESFANDIARY: I said the answer will stand.
22    A. Yes.                                                  22    Q. (BY MR. FAYNE:) The question was, had you
23    Q. So in Appendix F, there are a number of tables;       23 included these studies in the analysis, the number of
24 correct?                                                    24 studies considered by EPA as compared to IARC would have
25    A. Correct.                                              25 been higher; correct?

                                                      Page 55                                                        Page 57
 1    Q. And these list studies on the                         1    A. If I had done that, yeah, it would have gone
 2 formulated -- genotoxicity studies on the formulated        2 up.
 3 product that EPA cited in the tables; correct?              3        MR. KRISTAL: Are you at a somewhat clear
 4    A. That they included in the table, correct. In          4 breaking point? We've been going a little over an hour.
 5 the tables.                                                 5 I'd like to take a break. If you have a question or
 6    Q. In the tables, correct.                               6 two, that's okay.
 7        And I haven't counted the studies, but there         7        MR. FAYNE: Sure. We can take a break.
 8 are more than 25 or so studies cited in these tables;       8        MR. KRISTAL: Okay.
 9 correct?                                                    9        VIDEOGRAPHER: Off the record at 9:08 a m.
10    A. Yes.                                                 10           (A brief recess was had.)
11    Q. In reaching your conclusion that EPA considered 11             VIDEOGRAPHER: Back on the record at 9:27 a m.
12 only 40 of the approximately 55 studies considered by      12    Q. (BY MR. FAYNE:) Dr. Benbrook, we've been
13 IARC, you did not include studies that were cited in       13 discussing your analysis of the EPA review of
14 these tables in Appendix F; correct?                       14 genotoxicity studies as compared to IARC; correct?
15    A. That's correct.                                      15    A. Yes.
16    Q. Had you included those studies, the number           16    Q. And we had just been talking about the tables
17 considered by EPA would have been larger than 40;          17 in Appendix F of the EPA report; correct?
18 correct?                                                   18    A. Yes.
19    A. It would have been inappropriate to do so            19    Q. I'd like to turn your attention now to
20 because if you continue reading in the same paragraph, 20 Appendix D of the EPA report, and that's on page 196.
21 that -- that appears on the top of page 98, you finished   21    A. Yes.
22 with "Studies" -- this is the last sentence that you       22    Q. Appendix D of the EPA report is a list of
23 read -- "Studies conducted with glyphosate formulations 23 studies assigned a low quality ranking and not evaluated
24 that were identified and considered relevant for           24 in detail; correct?
25 genotoxicity evaluation are summarized in table form in 25       A. That's what it says, yes.

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 1    Q. In reaching your conclusion that EPA considered              1    A. Yes, you did.
 2 only 40 of the approximately 55 studies cited reviewed             2    Q. And I'm correct that "GBHs" refers to
 3 by IARC, you did not include the studies cited by EPA in           3 glyphosate-based herbicides; correct?
 4 Appendix D; correct?                                               4    A. Yes, you are.
 5    A. No, I did not, because the EPA said that they                5    Q. So turning to the IARC monograph, page 47.
 6 didn't consider them to be of adequate scientific                  6    A. Did you say page 47?
 7 quality.                                                           7    Q. Page 47, yes, Table 4.1.
 8    Q. Would you agree that these are studies that EPA              8    A. Okay. I have it.
 9 considered but then assessed as low quality?                       9    Q. Are these the five studies in exposed humans
10    A. I think the EPA considered that they were low               10 that you're referring to in paragraph 65 of your report?
11 quality, and so they didn't factor in the results of the          11    A. They are.
12 studies one way or the other.                                     12    Q. And if you look at the list, it shows an assay
13    Q. But you agree that EPA would have had to review             13 result from Paz-y-Mino, et al.?
14 and evaluate the studies to determine that they were of           14    A. Correct.
15 low quality; correct?                                             15    Q. That's P-A-Z dash Y dash M-I-N-O, et al., 2007.
16    A. They would have had to do that, correct.                    16 Assay result from Paz-y-Mino, et al., from 2011?
17    Q. And you testified previously that you're sure               17    A. Correct.
18 that there's other documents in the record, you know, a           18    Q. An assay result from Bolognesi et al., 2009?
19 4,000-page memorandum that might discuss in more detail           19    A. Correct.
20 EPA's underlying reasoning for its review; correct?               20    Q. And two more assay results from Bolognesi, et
21    A. Of the different genotoxicity studies?                      21 al., 2009; correct?
22    Q. Correct.                                                    22    A. Correct.
23    A. Yes.                                                        23    Q. If you could look back to Appendix D of the EPA
24    Q. And so in that document or that type of                     24 report now.
25 document is where EPA might have set forth its analysis           25        MR. KRISTAL: What page was that?

                                                           Page 59                                                      Page 61
 1 as to why these studies were low quality; correct?                 1        MR. FAYNE: That was page 196.
 2    A. One would presume that they would do that, but               2    Q. (BY MR. FAYNE:) And again, Appendix D is the
 3 I would need to look at them to see, you know, what                3 list of studies that EPA assigned a low quality ranking
 4 precise reason they cited in each one of them.                     4 to.
 5    Q. You do not know one way or the other whether                 5    A. Okay.
 6 there's a document in the EPA record in which they lay             6    Q. Do you see here that EPA listed in Appendix D
 7 out in detail their review of these studies listed in              7 the Bolognesi, et al., 2009, the Paz-y-Mino, et al.,
 8 Appendix D; correct?                                               8 2007, and the Paz-y-Mino, et al., 2011? Correct?
 9    A. I made no attempt to find such documents.                    9    A. I do see that, yep.
10    Q. So now let's turn to paragraph 65 of your                   10    Q. So EPA considered these five studies to be of
11 report, which is on page 65. I apologize. It's on                 11 low quality; correct?
12 page 22. I thought that couldn't be right.                        12    A. That's what they say in Appendix D.
13    A. Okay. Paragraph 65.                                         13    Q. In other words, EPA considered these studies
14    Q. Paragraph 65, correct.                                      14 but then did not assess them in detail because in EPA's
15       MR. KRISTAL: I was going to say those are some              15 view, they were low quality studies; correct?
16 long paragraphs.                                                  16        MR. KRISTAL: Objection.
17       MR. FAYNE: Yeah.                                            17    A. That's essentially correct, yes.
18    Q. (BY MR. FAYNE:) You state that of the five                  18    Q. So now let's look at paragraph 9(a) of your
19 studies on, quote/unquote, exposed humans reviewed by             19 report which is on page 7.
20 the IARC Working Group, three were regarded as positive.          20    A. 9(a)?
21 These studies were given little or no weight by EPA               21    Q. Yes. Of your report. You'll see on page 7 you
22 because they entailed exposures to formulated GBHs --             22 have a paragraph 9 -- I'm sorry.
23 which stands for glyphosate-based herbicides -- not               23    A. All right. The (a) got me confused. All
24 technical glyphosate, the focus of EPA's review.                  24 right. So paragraph 9(a) on page 7. Okay.
25       Did I read that correctly?                                  25    Q. So you state here that "IARC placed heavy

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 1 weight on three studies of human populations exposed to     EPA placed little weight on these studies because it
                                                                 1
 2 glyphosate-based herbicides that displayed, according to  2 assessed them to be of low quality; correct?
 3 the IARC Working Group, strong evidence of direct damage  3    A. No. I think -- well, I think they -- in
 4 to human DNA."                                            4 addition to them placing them in Appendix D, they say
 5       Do you see that?                                    5 quite clearly in the report that their assessment of the
 6    A. Correct.                                            6 genotoxicity of glyphosate is based on studies on
 7    Q. Are you referring to those same three or five       7 glyphosate technical and they did not review or place
 8 studies, however you want to characterize it? The         8 weight on the studies on formulated product, whether
 9 Bolognesi 2009, Paz-y-Mino 2007, and Paz-y-Mino 2011?     9 they were high quality or low quality.
10    A. I'm actually referring to the narrative section    10    Q. But one reason that they excluded these studies
11 in the summary report -- the summary report section of   11 from their analysis is because they assessed them to be
12 the IARC report where they present their overall         12 low quality; correct?
13 analysis of the -- of the -- of the genotox -- or their  13       MR. KRISTAL: Objection.
14 decision to classify glyphosate or glyphosate-based      14    A. As I -- as I said, you know, they -- they state
15 herbicides as probable human carcinogens.                15 clearly in their report that their focus was on studies
16       And in its Section 6 of the IARC report that       16 on glyphosate technical, so this certainly suggests to
17 begins on page 78 of IARC Monograph 112, in the          17 me that their assessment of the studies on -- on
18 Section 6.4 on the rationale, the first bulleted item,   18 formulated glyphosate-based herbicides was not as
19 "There is strong evidence that exposure to glyphosate or 19 thorough and certainly there was not as much weight
20 glyphosate-based formulations is genotoxic based on      20 placed on them.
21 studies in humans in vitro and studies in experimental   21    Q. You mentioned previously an NTP review that
22 animals." And then they go on to say, "One study in      22 was -- that EPA was going to partner with NTP to
23 several communities in individuals exposed to            23 evaluate studies on glyphosate-based formulation;
24 glyphosate-based formulations also found chromosomal     24 correct?
25 damage in blood cells. In this study, markers of         25    A. It's not exactly partner. It's the -- I think

                                                      Page 63                                                     Page 65
 1 chromosomal damage (micronucleus formation) were              1 the EPA has requested that the NTP conduct a set of
 2 significantly greater after exposure than before              2 genotox assays on technical glyphosate and
 3 exposure to the same individuals."                            3 glyphosate-based herbicides to further inform the
 4        This is where the IARC Working Group highlights        4 differential toxicity between glyphosate technical and
 5 the studies on DNA damage in exposed human populations.       5 formulated glyphosate-based herbicides.
 6 It's not -- it's not -- I'm not able to definitively say      6    Q. If you turn to page 141 of the EPA report.
 7 which of those -- those positive studies they're              7    A. Okay.
 8 referring to, but it's certainly one of them.                 8    Q. The Section 7.0 is labeled "Collaborative
 9        And because of their highlighting this aspect          9 Research Plan for Glyphosate and Glyphosate
10 of the data set in their summary statement, it -- it         10 Formulations"; correct?
11 was -- it was clear to me that they both regarded the        11    A. Correct.
12 studies as adequately conducted and the findings as          12    Q. And it states in the second paragraph that "The
13 important.                                                   13 agency has been collaborating with the NTP division of
14     Q. Perhaps you didn't understand my question. I'm        14 the National Institute of Environmental Health Sciences
15 just trying to understand what are the three studies         15 to develop a research plan"; correct?
16 that you say IARC placed heavy weight on?                    16    A. Correct.
17     A. The three positive studies and the direct             17    Q. So EPA is working collaboratively with the NTP
18 damage to DNA table --                                       18 division to develop a research plan; correct?
19     Q. And are those --                                      19    A. To develop the research plan, but NTP is
20     A. -- that we were just talking about.                   20 doing -- has done the studies.
21     Q. So the Bolognesi 2009, the Paz-y-Mino 2007 --         21    Q. And then if you turn to page 142.
22     A. Correct.                                              22       MR. KRISTAL: Of?
23     Q. -- and the Paz-y-Mino 2011?                           23       MR. FAYNE: Of the EPA report. I'm sorry.
24     A. Right.                                                24       MR. KRISTAL: Thank you.
25     Q. And as we discussed previously, you agree that        25       THE WITNESS: Next page, in other words.

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 1    Q. (BY MR. FAYNE:) Yes, the next page under the                1 formulations; is that a fair characterization?
 2 graphic. The last sentence of that paragraph states               2    A. Several of the studies reviewed and given
 3 that "However, when members of an NTP work group looked           3 considerable weight by the IARC Working Group were
 4 at the available data included in the IARC review, the            4 studies done on formulated glyphosate-based herbicides
 5 group did not agree with IARC, but the data provided              5 that were not reviewed or given heavy weight by EPA,
 6 strong or clear evidence for either genotoxicity or               6 yeah. Correct.
 7 induction of oxidative stress given protocol                      7    Q. And in your opinion, that explains -- that's
 8 deficiencies that could produce questionable results."            8 part of the explanation as to why EPA and IARC reached
 9       Did you see that?                                           9 different determinations on the genotoxicity of
10    A. Yes. You read that correctly.                              10 glyphosate and glyphosate-based formulations; correct?
11    Q. So you agreed that the NTP work group, at least            11   A. Yes, sir.
12 based on this preliminary review, did not agree with             12   Q. And just to restate that slightly, that -- in
13 IARC on the studies of -- genotoxicity studies of                13 your view, that's a primary reason why IARC found strong
14 formulated product; correct?                                     14 evidence of genotoxicity, whereas EPA concluded that
15    A. This is -- this is EPA's characterization of,              15 glyphosate is not genotoxic; correct?
16 I'm assuming, interactions that they had with the                16   A. Correct.
17 scientists at NTP, so take EPA at their word, what they          17      MR. FAYNE: Mark this as Exhibit 8. Yep.
18 reported.                                                        18         (Exhibit 8 marked for identification.)
19    Q. So you agree that EPA's view, based on its                 19   Q. (BY MR. FAYNE:) I've marked as Exhibit 8 a Q
20 discussions with the NTP group, is that NTP did not              20 and A on glyphosate prepared by the International Agency
21 agree with IARC's analysis of the genotoxicity data on           21 For Research on Cancer in March 2016.
22 glyphosate-based formulations; is that fair?                     22   A. Yep.
23    A. Well, there's -- there is -- that -- this                  23   Q. Have you seen this document before?
24 assessment and the discussions that the EPA had with NTP         24   A. No. I don't believe I have.
25 was no doubt specific to individual assays or individual         25   Q. Can I just look at the copy I gave you? I'm

                                                          Page 67                                                            Page 69
 1 study results. It's hard to say exactly what the                  1 sorry. I just want to make sure that I gave you the
 2 details of those conversations were, but the -- you               2 right one.
 3 know, this -- this states that NTP felt that there was            3        So if you look at the first bold question on
 4 some methodological issues with some of the assays, and           4 page 1.
 5 they apparently felt that the IARC Working Group reached          5        MR. KRISTAL: Well, I would ask that
 6 some judgments based on some of the studies that the NTP          6 Dr. Benbrook, since he just said he doesn't think he
 7 scientists reviewed that they didn't have the same level          7 read it, that he'd like to --
 8 of confidence in. So that -- you know, that's what I              THE WITNESS: May I read it, please?
                                                                     8
 9 take it to mean.                                                  MR. KRISTAL: He should have the opportunity to
                                                                     9
10    Q. Okay. So let's turn back to your report, if we     10 read it before fielding your question.
11 could, and where we left off was paragraph 9(a). I want  11       MR. FAYNE: Absolutely.
12 to go to the next page, which is paragraph 9(b).         12       MR. KRISTAL: Thank you.
13    A. Okay.                                              13       MR. FAYNE: And, Dr. Benbrook, you're welcome
14    Q. You state, "I also conclude that EPA's admitted    14 to read the entire thing, but I'm only going to ask you
15 failure to seriously assess the approximate 70 public    15 questions about the first page and the first question on
16 literature studies on the genotoxicity of formulated     16 the second page.
17 glyphosate-based herbicides is why the agency errantly   17       THE WITNESS: Okay.
18 determined that 'glyphosate' is likely not genotoxic."   18       MR. FAYNE: The rest of it doesn't relate to
19        Do you see that?                                  19 genotoxicity studies, but feel free to take your time.
20    A. Correct.                                           20       THE WITNESS: Okay.
21    Q. Did I read that correctly?                         21       So you're just going to ask me about the first
22    A. Yes, you did.                                      22 question on the second page and that's it?
23    Q. In other words, your opinion is that a key         23       MR. FAYNE: The first page and the first
24 difference between the EPA review and the IARC review is 24 question on the second page, correct.
25 that IARC reviewed studies on glyphosate-based           25       THE WITNESS: Okay. I've read them now.

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 1    Q. (BY MR. FAYNE:) So the first question on the          1 evaluated the evidence on formulated glyphosate-based
 2 first page states, "Could the carcinogenic effects of       2 herbicides and also concluded that that evidence was
 3 glyphosate be related to the other chemicals in the         3 strong, and that's what they're saying here. It's a
 4 formulations?" And IARC responds "No."                      4 slight distinction, but...
 5        Did I read that correctly?                           5    Q. You would agree that IARC reviewed the evidence
 6    A. Yes.                                                  6 on technical glyphosate and determined that the
 7    Q. And then if you look at the second paragraph of       7 genotoxic risk -- that there was strong evidence of
 8 that answer, IARC explains that "For the experimental       8 genotoxic risk; correct?
 9 studies on 'pure glyphosate,' the monograph concluded       9    A. Yes.
10 that the evidence of causing cancer in experimental        10    Q. EPA reviewed the evidence on technical
11 animals was sufficient and the evidence for causing        11 glyphosate and reached the opposite conclusion; correct?
12 genotoxicity was strong."                                  12    A. The EPA's conclusion is stated clearly, and it
13        Did I read that correctly?                          13 says that -- the EPA reported that based on their review
14    A. Yes, you did.                                        14 of data on the genotoxic effects of glyphosate technical
15    Q. And then turning to the next page, the question      15 and current typical levels of exposure, that
16 asks, "Could the co-formulants be the cause of the         16 there's -- there's not strong evidence of a mutagenic
17 genotoxic effects reported in the IARC Monograph?"         17 effect.
18        Did I read that correctly?                          18       I think they used the word "via the oral
19    A. Yes, you did.                                        19 route." So their conclusion is limited to glyphosate
20    Q. And IARC responds, "With regard to                   20 technical, and it's contingent on levels of exposure --
21 genotoxicity, the IARC Working Group evaluated" studies    21 typical levels of exposure through the oral route or
22 on -- "studies of 'pure glyphosate' as well as studies     22 dietary.
23 of glyphosate-based formulations. The working group        23    Q. EPA has never found that glyphosate is
24 reached the same hazard conclusion for glyphosate and      24 genotoxic; correct?
25 for its formulations: they concluded that the evidence     25    A. That's actually a complicated question. I

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 1 for genotoxicity was 'strong' for glyphosate and            1 mean, EPA renders judgments about the genotoxicity of
 2 'strong' for glyphosate formulations."                      2 pesticides in a lot of different places at a lot of
 3        Did I read that correctly?                           3 different times. Sometimes they'll review an individual
 4    A. Yes, you did.                                         4 study and say that there's evidence of genotoxicity in
 5    Q. In other words, IARC did not find a material          5 this one study, but then based on other studies and
 6 difference between the genotoxicity evidence on             6 their weight-of-evidence evaluation, they may say that
 7 glyphosate and the genotoxicity evidence on                 7 overall their judgment is that it's not.
 8 glyphosate-based formulations; is that a fair               8        Certainly this September 2016 report that we've
 9 characterization?                                           9 been talking about I think is an accurate reflection of
10    A. No.                                                  10 EPA's views at the time, and I believe it's still their
11    Q. Why not?                                             11 view. So this would -- I would certainly agree with you
12    A. They -- they state clearly here that                 12 that this is the most relevant contemporary summary of
13 they -- they characterized and believe that the evidence   13 EPA's weight of evidence judgment about the overall
14 is strong in both the case of pure or technical            14 database.
15 glyphosate and in the case of glyphosate-based             15    Q. You would agree that EPA's current judgment,
16 formulations. There's no implied sort of comparison        16 which is consistent with its longstanding judgment, is
17 between the two that they're both strong.                  17 that the weight of the evidence does not show glyphosate
18    Q. Okay. So let me rephrase it.                         18 technical to be genotoxic; correct?
19        They categorized both glyphosate and                19    A. Based on typical levels of dietary exposure,
20 glyphosate-based formulations in the same category for     20 that's -- that's the conclusion that they reached, yes.
21 genotoxicity risk; is that fair?                           21    Q. Or mutagenic?
22    A. Not precisely. They -- they characterized the        22    A. Yes.
23 data that was available to them on the genotoxicity of     23       MR. KRISTAL: Objection to form.
24 glyphosate technical as strong in that it pointed to       24    A. Correct. The term -- I think EPA and many
25 genotoxicity effects. Independent of that, they            25 scientists use the terms "genotoxic" and "mutagenic" as


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 1 roughly comparable.                                        studies on glyphosate-based formulations in assessing
                                                                      1
 2    Q. EPA has never made a weight-of-the-evidence        2 glyphosate technical and vice versa. So it's -- it
 3 determination that glyphosate is genotoxic; correct?     3 would be artificial to build a fence between the two
 4    A. Not that I'm aware of.                             4 data sets and say that they're completely irrelevant to
 5    Q. Turning back to the Q and A document from IARC. 5 assessment of the other one.
 6    A. Okay.                                              6        So I -- you know, I think they -- they
 7    Q. As we were discussing previously, IARC reviewed    7 were -- they took into account the overall data on both
 8 the evidence -- genotoxicity evidence on glyphosate and  8 glyphosate technical and formulated glyphosate-based
 9 found that there was strong evidence of genotoxicity,    9 herbicides.
10 reviewed the genotoxicity evidence on glyphosate-based  10    Q. What are you relying upon for your contention
11 formulation and found that there was strong evidence of 11 that they took into account the overall data on both
12 genotoxicity; correct?                                  12 glyphosate technical and formulated herbicides in
13    A. Correct.                                          13 determining that glyphosate technical was genotoxic?
14    Q. Does that change your opinion that a key reason   14    A. Just reading the report.
15 that IARC found strong evidence of genotoxicity is that 15    Q. So that just comes from this Monograph 112?
16 it considers studies on glyphosate-based formulations   16    A. Volume 112.
17 whereas EPA did not?                                    17    Q. That's where your --
18    A. No, it doesn't change my opinion.                 18    A. Correct.
19    Q. Why not?                                          19    Q. Let's turn back to your report. I'm sorry,
20    A. Because the -- the impact in IARC's overall       20 let's turn to the OPP report, page 100.
21 evaluation of the genotox database of the studies in    21    A. Okay. I have it.
22 directly exposed human populations and the various in   22    Q. And what I'm referring to are Tables 5.1
23 vitro studies with formulated glyphosate-based          23 through 5.7, and they go from page 100 through --
24 herbicides were, you know, among the studies that in    24    A. 120 --
25 their narrative discussion and in their summary         25    Q. Looks like page 125, I believe.

                                                           Page 75                                                        Page 77
 1 rationale statement, that the IARC Working Group pointed           1    A. Yeah, I was going to say 126, but my memory was
 2 to as very, very important.                                        2 not exactly correct.
 3        So, you know, I -- I think it's impossible to               3    Q. If one were to count up all the studies listed
 4 read the IARC Working Group discussion of the genotox              4 in these tables, it would be significantly more than 40;
 5 database without being fully aware that the working                5 correct?
 6 group placed considerable weight in its overall judgment           6    A. If one were to count up the assays.
 7 on the studies involving the formulated glyphosate-based           7    Q. The assays, yes.
 8 herbicides.                                                        8    A. Yes. Correct.
 9        And, you know, I think, you know, as I intimate             9    Q. And the reason I'm referring to 40 is that you
10 in my -- in my expert report, had IARC not looked at any          10 state in your report that EPA considered 40 of the
11 of the formulated studies, it still may have -- as it             11 approximately 55 studies of glyphosate in mammalian
12 said, they felt that the data was strong on glyphosate,           12 systems that IARC considered; correct?
13 pure glyphosate or glyphosate technical, but still I              13    A. Correct.
14 think it had -- the data on formulated glyphosate-based           14    Q. So have you counted up how many studies EPA
15 herbicides, particularly data that arose from sort of             15 cited in these tables?
16 real-world studies of exposed populations, were very              16    A. Yes.
17 important in their overall evaluation.                            17    Q. How many?
18    Q. I want to parse that a little bit. Is it your               18    A. I don't recall the number off the top of my
19 contention that IARC relied on studies, genotoxicity              19 head. I've done a very thorough analysis of Tables 5.1
20 studies of formulated products, in reaching its                   20 to 5.7 and a comfortable analysis of the IARC tables.
21 conclusion that glyphosate technical was genotoxic?               21    Q. I'll represent to you that the number is 84,
22    A. Well, that's an interesting question, and it's              22 that there are 84 --
23 a very complex question. I mean, both in the case of              23    A. Assays.
24 the EPA and in IARC, there -- there is -- there is an             24    Q. -- assays listed in Tables 5.1 through 5.7.
25 appropriate consideration of insights and data from               25 Does that sound about right?


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 1    A. Uh-huh. It does.                                      1    Q. So you didn't report that number in the results
 2    Q. And by my count, if you look at the comparable        2 of your analysis; correct?
 3 tables in the IARC report, they considered 21 assay         3    A. Not in -- not in the expert report, no.
 4 results on glyphosate technical.                            4    Q. Why not?
 5       Does that sound about right?                          5    A. I don't know. I mean, I was trying to be as
 6    A. No. I don't think so.                                 6 thrifty as possible with the length of the report.
 7    Q. Okay. Do you want to -- we can go to the              7    Q. So in your opinion, it wasn't important to your
 8 report, if you'd like. So if you look at the IARC           8 analysis that EPA had considered more studies on
 9 monograph.                                                  9 glyphosate technical in mammalian systems than IARC did?
10    A. Let's see. I'm going to try to --                    10    A. It was certainly not important that EPA had
11    Q. And I should say 21 studies on glyphosate            11 considered approximately 23 or 24 reverse bacterial
12 technical in mammalian systems.                            12 mutation studies on glyphosate technical. One of the
13    A. Oh, okay. Well, that's slightly different.           13 features of the -- surprising features of the genotox
14    Q. I apologize, yes. That was my --                     14 database that EPA reviewed was that bacterial reverse
15    A. That sounds about right.                             15 mutation studies account for almost half of the overall
16    Q. Okay. So just to restate that, so IARC looked        16 number of studies across all categories of genotoxicity
17 at approximately 21 studies on glyphosate technical in     17 when EPA data requirements call for only one study, one
18 mammalian systems; correct?                                18 bacterial reverse mutation study in technical using a
19    A. Correct.                                             19 pure -- pure technical active ingredient.
20    Q. So EPA reviewed roughly four times as many           20        So it was clear that, for whatever reason,
21 studies on glyphosate technical in mammalian systems;      21 Monsanto and the other registrants conducted
22 correct?                                                   22 approximately two dozen reverse bacterial mutation
23    A. Correct.                                             23 studies and included those in the evaluation. And it's
24    Q. In your analysis, you didn't take into account       24 certainly my assessment and, I think, the assessment of
25 studies cited by EPA but not by IARC; correct?             25 the IARC Working Group and others that those additional

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 1       Your analysis didn't look at studies cited by         1 negative bacterial reverse mutation studies didn't add a
 2 EPA but not IARC; correct?                                  2 lot of new information to the database.
 3    A. Yes, I did.                                           3     Q. I just, while we were sitting here, counted it
 4    Q. Well, when you're counting up the studies and         4 up and it looks like there are 27 bacterial reverse
 5 saying EPA considered 40 of the approximately 55, you're    5 mutation assays cited in the EPA report.
 6 only looking at studies that IARC considered and then       6        Does that sound about right?
 7 evaluating whether EPA considered them, as well;            7     A. Sounds about right, yep.
 8 correct?                                                    8     Q. So that means there's another 57 studies,
 9    A. Can we parse that out a little bit?                   9 genotoxicity studies on glyphosate technical, that were
10    Q. Sure. In your report you state that                  10 cited in the EPA report?
11 IARC -- strike that.                                       11     A. I'd have to pull out all my detailed sheets to
12       In your report you state that EPA considered 40      12 get the exact number, but -- and don't forget, you know,
13 of the approximately 55 studies in mammalian systems       13 in -- in some of the questions and some of my analysis,
14 that IARC considered; correct?                             14 I -- I do include the bacterial reverse mutation studies
15    A. Yes.                                                 15 on the formulated product too. So it gets -- it's a lot
16    Q. Those 40 studies are only ones that IARC             16 of numbers and a lot of categories and it can be a
17 considered; correct?                                       17 little confusing.
18    A. Those are 40 studies that IARC considered and        18     Q. Understood. But there are -- would you agree
19 predominantly peer-reviewed published studies.             19 that there are a large number of studies -- strike that.
20    Q. So in that calculation, you're not taking into       20        Would you agree that there are more than 40
21 account studies that EPA considered but IARC did not;      21 studies that EPA considered on glyphosate technical that
22 correct?                                                   22 IARC did not consider?
23    A. I -- I didn't report that number, but I could        23     A. Yes, I would agree with that.
24 have. It's in the -- you know, it would be -- it would     24     Q. Would you agree that there are more than 50
25 come out of the tables I generated, yes.                   25 studies on glyphosate technical that EPA considered that


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 1 IARC did not consider?                                      1 was still a registrant-submitted study, particularly in
 2     A. I'd have to check. That's getting right up at      2 the absence of a -- in the bibliographic entry, a
 3 the precise number.                                       3 reference to a journal where it was published.
 4     Q. You state in Appendix C of your report -- and I    4       Between the bibliography in the IARC report,
 5 don't think you need to turn there, but feel free --      5 the bibliography in the EPA report and in searching on
 6 that you recorded the results in an Excel spreadsheet.    6 the internet, I -- I was able to accurately identify, I
 7     A. Yes.                                               7 believe, the registrant-submitted studies compared to
 8     Q. Do you still have those files?                     8 the peer-reviewed studies.
 9     A. Yes.                                               9    Q. You're drawing a distinction between
10     Q. Is it a single file or multiple files?            10 registrant-submitted studies and peer-reviewed studies?
11     A. It's a single workbook, and there is a            11    A. Yes, sir.
12 worksheet for each of the tables, and the worksheets are 12    Q. It's possible, right, that a registrant, such
13 linked together analytically so that the counts are      13 as Monsanto or some other company could conduct a study
14 automatically done, the summary counts. And I think I 14 and submit it to a peer-reviewed journal; correct?
15 explain in the Appendix C methodology section the        15    A. Yes.
16 information that I moved into the spreadsheets.          16    Q. In those cases, did you count that as a
17     Q. Have you produced those spreadsheets in this      17 registrant study or a peer-reviewed study?
18 litigation, as far as you're aware?                      18    A. As I explained before, the spreadsheets were
19     A. No.                                               19 built off of the core tables in the EPA report and in
20     Q. But you'd be able to do that if asked?            20 the IARC report, so if a study was in -- in the
21     A. Yes.                                              21 bacterial reverse mutation table in the EPA report, I'd
22     Q. In your report you also performed what I read     22 move that study in and then I determined whether it was
23 as a separate analysis of regulatory genotoxicity        23 a registrant study, submitted study, or whether it
24 studies as compared to genotoxicity studies published in 24 appeared in a peer-reviewed journal.
25 peer-reviewed journals; is that accurate?                25       Now, it's possible that there may have

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 1    A. Yes.                                                  1 been -- you know, it's possible that there may have been
 2    Q. You state in your report that you identified          2 a study where there was a registrant-submitted version
 3 registrant-commissioned regulatory studies from EPA's       3 of it and then the scientist also published it, but
 4 2016 report and Monsanto-commissioned genotoxicity          4 I -- I don't think that's the case because if that had
 5 review articles; correct?                                   5 been the case, such a study would have been referenced
 6    A. Yes.                                                  6 in either the Williams, et al., review or the Kier and
 7    Q. Which Monsanto-commissioned genotoxicity review       7 Kirkland review or the Brusick review, and I'm sure that
 8 articles are you referring to?                              8 they would have referenced the peer-reviewed version of
 9    A. Williams 2000, Kier 2013, Kier and Kirkland           9 it, and I didn't find any -- I don't recall any examples
10 2015 and Brusick, et al., 2017. I think Heydens too,       10 of that off the top of my head. Although, you know,
11 Heydens, et al., 2018.                                     11 it's possible that I might have missed one.
12    Q. How did you determine that a study was a             12    Q. And I'm just trying to understand. If Monsanto
13 registrant-commissioned regulatory study?                  13 conducts a study not for regulatory purposes, they
14    A. By a lot of work, a lot of work. So all of the       14 conduct a study and submit it to a peer-reviewed
15 registrant studies that are in the September 2016 EPA      15 journal, what category did you put it in, the regulatory
16 report have a full bibliographic citation, and all of      16 study side or the published literature side?
17 the registrant studies have an MRID number and none of     17    A. I know of no such study.
18 the public studies do. So that was a primary way.          18    Q. Let's say any registrant, not Monsanto. Any
19        Another way that I did it was that the same         19 company conducts a study, they submit it to a
20 scientist has conducted multiple of the registrant         20 peer-reviewed journal, does that go in the registrant
21 studies, so I assumed that if a scientist -- if I had in   21 side or the peer reviewed?
22 the bibliography MRID -- MRID numbers for six studies      22    A. It goes in the peer-reviewed side. And there
23 that this particular scientist did and there was another   23 would be -- there would be a citation to it with the
24 study referenced in the table but it didn't have           24 volume of the journal and it would be a public study.
25 an -- it didn't cite an MRID number, I assumed that it     25    Q. Are you aware of any studies on the registrant

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 1 regulatory genotoxicity study side that does not have an      1 studies published in the public literature; correct?
 2 MRID number?                                                  2   A. Correct.
 3    A. I can't cite any right off the top of my head.          3   Q. And these are studies that were cited either in
 4 The -- I think the EPA is pretty thorough in putting          4 EPA's 2016 report or the IARC monograph?
 5 MRID numbers on all registrant-submitted studies.             5   A. Correct.
 6    Q. So would it be fair to say, at least sitting            6   Q. Did you find any other -- strike that.
 7 here today, you're not aware of any of the studies that       7       Other than the studies cited in EPA's 2016
 8 you considered registrant-submitted that did not have an      8 report and in the IARC monograph, did you consider any
 9 MRID number?                                                  9 other studies in the public literature as part of this
10    A. Actually, I think there are a few in the               10 analysis?
11 bibliography, and these were the ones that I struggled       11   A. If you -- if by "this analysis" you mean my
12 with where, for some reason, in the bibliographic            12 comparison of the genotox studies cited in the
13 citation in the EPA report there wasn't an MRID number.      13 September 2016 EPA report relative to Volume 122 IARC
14        But in those cases, I searched further, and           14 monograph, the answer would be yes.
15 often I was able to find a citation in usually Williams,     15   Q. No. That wasn't my question. So my
16 et al., because Williams, et al., is a paper that came       16 question -- and maybe it will be helpful to turn to your
17 out in 2000 and summarized the early -- the early            17 report.
18 studies that Monsanto conducted and submitted to the         18   A. Let me explain.
19 agency.                                                      19   Q. Please.
20        I think most of these issues about the                20   A. When you say "this analysis," what do you mean?
21 completeness of the bibliographic citation and the EPA       21 Do you mean my overall analysis of genotoxicity or my
22 report were on 1980s -- circa 1980s studies that were        22 analysis of the comparing the two?
23 done and, you know, I think sometimes EPA was reminded       23   Q. What I'm referring to is your analysis of what
24 of them or became aware of them through the Williams, et     24 you referred to as registrant-commissioned studies
25 al., paper, and they sort of say that in their report.       25 versus public-literature studies on genotoxicity.

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 1    Q. Presumably you have a spreadsheet or other              1     A. Okay.
 2 record of which studies you put in the                        2     Q. So I am trying to understand how you identified
 3 registrant-submitted category and which studies you put       3 which studies were, quote/unquote, public-literature
 4 in the public literature category; is that correct?           4 studies.
 5    A. Of course. That's a data field in the -- in             5        MR. KRISTAL: So do you want to ask the
 6 the workbook.                                                 6 question again --
 7    Q. So from that report, one would be able to               7        MR. FAYNE: Yes.
 8 identify how you categorize any particular study;             8        MR. KRISTAL: -- now that --
 9 correct?                                                      9     Q. (BY MR. FAYNE:) So with that understanding,
10    A. Yes.                                                   10 you cite that -- you state that studies cited either in
11    Q. And again, that's something that you still have        11 EPA's 2016 report or the IARC monograph were considered
12 available on your computer?                                  12 public lit -- strike that.
13    A. Yes.                                                   13        You identified public-literature studies from
14       MR. KRISTAL: Hasn't been deleted in the last           14 EPA's 2016 report and the IARC monograph; correct?
15 two minutes?                                                 15     A. And the five literature reviews done by
16       MR. FAYNE: We're talking about a different             16 Monsanto.
17 analysis. I'm not sure we've established that it's the       17     Q. If you could turn to page 68 of your report.
18 same spreadsheet.                                            18     A. Paragraph 68 or page?
19       MR. KRISTAL: Fair enough.                              19     Q. Paragraph 68. Thank you.
20    Q. (BY MR. FAYNE:) Is it the same spreadsheet?            20     A. Okay.
21    A. It's not the same spreadsheet. It's in the             21     Q. The second sentence of that paragraph states,
22 same workbook.                                               22 "Likewise, all studies published in peer-reviewed
23    Q. Different tab of the same workbook?                    23 journals that were cited by EPA and/or the IARC Working
24    A. Correct.                                               24 Group were analyzed, along with whether they reported
25    Q. So you also state that you've identified               25 'positive' or 'negative' genotoxicity results."


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 1    A. Correct.                                              1 other had?
 2    Q. Did I read that correctly?                            2       MR. FAYNE: Sure. I'll clarify the question.
 3    A. Yep.                                                  3    Q. (BY MR. FAYNE:) Are there any instances in
 4    Q. If I understand your testimony today, you also        4 which EPA and IARC characterized a genotoxicity study
 5 looked at the Monsanto review articles to identify          5 differently than each other?
 6 public literature studies; is that correct?                 6    A. I think there are one or two examples where
 7    A. May I read the first sentence --                      7 IARC considered a result indeterminate. They just
 8    Q. Yes.                                                  8 couldn't -- couldn't -- weren't -- they weren't
 9    A. -- in paragraph 68?                                   9 convinced that a study reported either positive or
10    Q. Yes.                                                 10 negative results, and I -- I can't remember if in maybe
11    A. "All regulatory studies cited in the                 11 one or two cases EPA had reported the study as positive
12 September 26 EPA report or in a Monsanto-commissioned      12 or negative. There might be one or two cases.
13 genotoxicity review article were analyzed relative to      13    Q. In those cases, how did you resolve the
14 'positive' or 'negative' results. Likewise, all studies    14 conflict?
15 published in peer-reviewed journals that were cited by     15    A. I stuck with what each -- if EPA said that the
16 EPA and/or the IARC Working Group were analyzed along      16 study was positive, then I reported it in the EPA table
17 with whether they reported 'positive' or 'negative'        17 as "positive," and if IARC said it was indeterminate,
18 genotoxicity results."                                     18 then I put "indeterminate."
19    Q. Right. So, again, this is not a trick at all.        19    Q. I understand in terms of your EPA versus IARC
20 I'm just trying to understand. As I read this, you         20 comparison, but right now we're talking about your
21 identified regulatory studies from the EPA report and      21 registrant-commissioned versus public literature
22 from Monsanto-commissioned genotoxicity review articles;   22 comparison. I know that was a lot of terminology in
23 correct?                                                   23 that sentence. But I'm trying to understand -- let
24    A. Yes.                                                 24 me -- strike that. Let me give you a more precise
25    Q. And you identified public literature studies         25 example.

                                                   Page 91                                                             Page 93
 1 from the EPA report and the IARC Working Group report;      1       Okay. So if you turn to paragraph 71 of your
 2 correct?                                                    2 report. You state that, "Of the 52 regulatory studies
 3    A. And I think there were a couple that were also        3 assessing the genotoxicity of glyphosate technical, only
 4 identified in the Monsanto-commissioned reviews.            4 one reported a positive result, while 35 of the
 5    Q. Okay. And that's all I'm trying to                    5 public-literature studies reported positive evidence of
 6 understand --                                               6 genotoxicity."
 7    A. Okay. Yeah.                                           7       Other than the parenthetical I skipped, did I
 8    Q. -- is that you also looked to those reviews --        8 read that correctly?
 9    A. Yep.                                                  9    A. Yes.
10    Q. -- to identify public literature articles;           10    Q. So if EPA identified a study as having a
11 correct?                                                   11 positive result and IARC identified the same study as
12    A. Yes. It was a comprehensive analysis.                12 indeterminate, did you treat that as a positive result
13    Q. How did you determine whether studies reported       13 or as indeterminate in this calculation?
14 a positive or negative genotoxicity result?                14    A. As I said, the worksheets within the workbook
15    A. By what the authors of the study said. And           15 are driven precisely by what's in the tables. In the
16 typically in the abstract.                                 16 case of the EPA worksheets, the September 26th -- 2016
17    Q. Did you rely on EPA's or IARC's                      17 report, and in the case of IARC, the Volume 112. So if
18 characterization of the studies to do that?                18 there was such an example, I recorded it -- I recorded
19    A. Yes, absolutely, and that's, you know, often         19 the information as each of the respective organizations
20 what EPA and IARC did.                                     20 stated it.
21    Q. Were there any instances in which EPA and IARC       21    Q. But when you're reporting the results of these
22 characterized a study differently in terms of its          22 studies, which you've gathered from two different
23 genotoxic result?                                          23 places, how did you determine whether to report the
24       MR. KRISTAL: You mean differently from what          24 result as a positive result or, I guess in this case, a
25 Dr. Benbrook characterized it or differently from each     25 non-positive result?


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 1    A. I don't think that that situation ever arose.           1 account whether EPA or IARC raised concerns about the
 2 I mean, it's just not a -- it's not something that I          2 reliability of a study?
 3 dealt with, I had to deal with. You know, I understand        3    A. I recorded the information as it was presented
 4 that, you know, there -- I vaguely remember there was         4 in the tables. You know, there are -- there are
 5 one instance, and I don't -- I don't think it affected        5 comments in -- in the results section of the EPA tables.
 6 the analysis in any way because of the way I structured       6 For example, where it says "results," you will encounter
 7 the workbooks.                                                7 some assays where EPA will say positive or negative, and
 8    Q. Okay. So you're not sure, sitting here today,           8 then there will be some additional information,
 9 whether there was an instance where EPA classified a          9 "positive at the highest dose tested," or something of
10 result as negative and IARC classified the same assay as 10 that nature.
11 positive?                                                    11       I -- I absolutely was thorough in capturing
12    A. There were no instances of that. I believe             12 whether   EPA or IARC, for a given assay, characterized it
13 there might have been one instance for one assay where 13 as negative or positive, but I did not strive to move
14 IARC's -- IARC classified it as indeterminate and EPA 14 into the spreadsheet the sort of the caveats or the
15 classified it as I don't remember whether it was             15 additional information.
16 positive or negative. And I actually -- I don't -- I'd       16    Q. So if, let's say, EPA and IARC both
17 have to go back and look.                                    17 characterize a certain study as positive, you would, in
18        I might have just eliminated that one from the        18 your results, count that as a positive study; correct?
19 overall count because -- for this -- for this particular     19    A. For both, correct.
20 part of the analysis because, you know, you're right,        20    Q. And you would not go back to look to see
21 there's a conflict there.                                    21 whether EPA or IARC said we have concerns about the
22    Q. Is it possible that you've included in these           22 reliability of this study; correct?
23 results a study that EPA characterizes positive that         23    A. It -- if EPA or IARC put a study in one of its
24 IARC found was indeterminate?                                24 tables, I think the -- it's a fair read of the reports
25    A. No.                                                    25 that they regarded those studies to be of sufficient

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 1       MR. KRISTAL: And by "these results," you meant            1quality to report a result.
 2 the count that we're talking about here?                       2    Q. Understood. But if it was in the tables, you
 3       MR. FAYNE: The counts.                                   3 didn't go back to the narrative to see whether they had
 4       MR. KRISTAL: No.                                         4 any commentary about the strength of the results or
 5       MR. FAYNE: Yes. Yes.                                     5 whether they were reliable; correct?
 6       MR. KRISTAL: The count in paragraph 71?                  6    A. I understand your question now.
 7       MR. FAYNE: Sure. And again, I don't                      7        Well, you know, of course I carefully read the
 8 want -- that was an example, but I'm really referring to       8 narrative several times. I didn't strive to incorporate
 9 the counts in paragraph -- paragraphs 70 through 73.           9 any further discussion or assessment of study quality
10       MR. KRISTAL: Fair enough.                               10 in -- in my accounting that we've been talking about in
11    Q. (BY MR. FAYNE:) And it's your -- the testimony          11 these paragraphs.
12 we -- the topics we've been discussing previously, that       12    Q. Correct. And again, I'm just referring to your
13 applies to all these paragraphs; correct? You weren't         13 counting in these paragraphs. So in your counting, you
14 referring specifically to paragraph 71? Strike that. I        14 didn't go back to the narrative to see if EPA or IARC
15 can ask a more clear question.                                15 said there are limitations for this study; correct?
16       When you were indicating that you're only aware         16    A. Correct.
17 of maybe one instance where there was a conflict between      17    Q. If it was reported as positive in the table,
18 the two, that's across all of the different categories        18 you included it in your count?
19 of regulatory studies, public-literature studies,             19    A. Correct, or negative.
20 glyphosate technical, glyphosate-based formulations;          20    Q. Or negative, correct.
21 correct?                                                      21    A. Right.
22    A. Yes, sir.                                               22    Q. Similar question. Did you yourself perform any
23    Q. In putting together these counts, did you do            23 assessment of the studies listed in your count to
24 any analysis -- strike that.                                  24 determine whether they were well-designed quality
25       In doing these counts, did you take into                25 studies?


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 1    A. Yes, I did.                                            1 studies versus public-literature studies, you also did a
 2    Q. And did you exclude any studies on the basis           2 review of when the various studies were conducted;
 3 that you didn't believe them to be well-designed?            3 correct?
 4        MR. KRISTAL: In the count?                            4    A. I did.
 5        MR. FAYNE: In the count, yes.                         5    Q. And you state in paragraph 75 that "In terms of
 6        THE WITNESS: No. I stuck with what EPA                6 in vivo chromosomal aberration studies on glyphosate
 7 reported in the tables and what IARC reported in the         7 technical, the most recent registration study was
 8 tables, but I wanted to understand more thoroughly how       8 completed in 1994, while two of three public-literature
 9 some of the studies were designed, what some of the          9 studies were done in 2012."
10 issues were. I was interested in dose levels in some        10    A. Correct.
11 cases. So I have a printout of essentially every single     11    Q. If you turn to the EPA or IARC report,
12 published genotox study in these tables. It's quite a       12 whichever your preference -- I'm just trying to identify
13 thick file.                                                 13 what those two studies conducted in 2012 are because I
14        And as you note in my reliance list in the           14 wasn't able to find them in the tables.
15 genotox bibliography, all of those studies are included     15    A. Okay. So we're in vivo chromosomal aberration.
16 in it.                                                      16 Let's see. Probably -- let's start here.
17    Q. (BY MR. FAYNE:) But you did not exclude any           17       MR. ESFANDIARY: Are you referring to IARC or
18 studies from your count based on your review of the         18 the EPA's report?
19 study design; correct?                                      19       MR. FAYNE: Either.
20    A. Correct.                                              20       MR. ESFANDIARY: All right.
21        MR. KRISTAL: We've been going about another          21       THE WITNESS: So you want the more recent ones?
22 hour.                                                       22       MR. FAYNE: I'm just trying to understand what
23        MR. FAYNE: Give me three more minutes.               23 the two in vivo chromosomal aberration studies on
24        MR. KRISTAL: Take five.                              24 glyphosate technical that were done in 2012 --
25        THE WITNESS: I'm good.                               25       THE WITNESS: Okay.

                                                   Page 99                                                         Page 101
 1       MR. FAYNE: You're good?                                1       MR. FAYNE: -- what you're referring to.
 2       THE WITNESS: I'm good.                                 2       THE WITNESS: All right. So the in vivo test
 3       MR. KRISTAL: Well, if you want to keep going,          3 in the EPA report at Table 5.5 -- and you'll see it's
 4 then I'll hand the microphone to Pedram while I step out     4 1983, 1982, 1994, 1990 and 1992. So in the -- in the
 5 for a minute.                                                5 IARC report -- and it gets confusing because, of course,
 6       THE WITNESS: We could probably power through           6 they -- their taxonomy of genotoxicities doesn't track
 7 to lunch.                                                    7 exactly the way that EPA did it. Whoops.
 8       MR. KRISTAL: That's fine.                              8       So the -- in Table 4.2 of the IARC report,
 9    Q. (BY MR. FAYNE:) So if you look at paragraph 70         9 which is page 49, there's a Koller, et al., 2012.
10 through 73 of your report.                                  10       MR. FAYNE: Uh-huh.
11    A. Okay.                                                 11       THE WITNESS: And on the next page there's
12    Q. In these paragraphs you report the results of         12 another assay from the -- I assume the same study by
13 your counting of regulatory studies versus studies          13 Koller, yeah, also published in 2012.
14 published in the scientific journals; correct?              14    Q. (BY MR. FAYNE:) So you're referring to
15    A. Correct.                                              15 Table 4.2; correct?
16    Q. And just to confirm, in these counts listed in        16    A. Correct.
17 these paragraphs 70 through 73, if a study was included     17    Q. So the first Koller, et al., study from 2012 is
18 in the IARC and EPA tables, it was included in these        18 looking at DNA damage and in particular DNA-strand
19 counts; correct?                                            19 breaks and SCG assay; correct?
20    A. That is correct.                                      20    A. Yes.
21    Q. You did not exclude any based on your own             21    Q. And your contention is that that is an in vivo
22 review of the studies?                                      22 chromosomal aberration study?
23    A. Correct.                                              23    A. These are in vitro. Did you ask me about in
24    Q. Can you turn to paragraph 75 of your report?          24 vivo?
25       So as part of this analysis of regulatory             25    Q. I'm just reading paragraph 75 of your report.

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 1    A. Okay.                                                 1 herbicides are predominantly negative, and so, hence,
 2    Q. Well, yes, in vivo chromosomal aberration.            2 they're not as sensitive an assay to detect DNA damage
 3    A. Okay. Then we got to go to a different table.         3 of various sorts and other mechanism of genotoxicity.
 4 Sorry.                                                      4       So I would characterize, in effect, all of the
 5        And is it in humans or non-humans?                   5 other assay systems as more sensitive simply because of
 6 Non-mammalian? Send me -- oh, okay. So we're talking 6 this particular quirk of that bacteria don't have
 7 about paragraph 75; right?                                  7 mitochondria.
 8        In vivo chromosomal aberration. Okay. So that        8    Q. So you would characterize -- just to make sure
 9 starts here. Sorry. It's taking me a little while to        9 I understood what you just said, any assay other than
10 remember how they organized all of this.                   10 the bacterial reverse mutation assay is what you would
11        MR. KRISTAL: Well, it's more important to get       11 characterize as more sensitive; correct?
12 it correct than quick.                                     12    A. Correct.
13        THE WITNESS: Okay. Let me use a few minutes 13            Q. So just going through the EPA tables, in vitro
14 of my lunchtime to find them; okay?                        14 mammalian gene mutation assays, those would be
15        MR. FAYNE: Sure. We can come back to it.            15 considered more sensitive?
16    Q. (BY MR. FAYNE:) So let's turn to paragraph 79 16           A. Correct.
17 of your report.                                            17       MR. KRISTAL: Maybe if we just speak a little
18    A. Okay.                                                18 more slowly.
19    Q. You state, "Based on the above analysis, I           19       MR. FAYNE: Yes, I will do that.
20 conclude that the dramatic differences in the results of   20    Q. (BY MR. FAYNE:) In vitro tests for chromosome
21 genotoxicity assays reported in registrant-sponsored       21 aberrations in mammalian cells, that would be a more
22 studies, in contrast to assay results appearing in         22 sensitive assay?
23 peer-reviewed journals, arise from the state-of-science    23    A. Yes, sir.
24 when various studies were conducted, coupled with the      24    Q. In vitro tests for micronuclei induction in
25 generally more sensitive assay systems used by the         25 mammalian cells --

                                                    Page 103                                                       Page 105
 1 scientists publishing their results in peer-reviewed         1    A. Correct.
 2 journals."                                                   2    Q. -- that would be more sensitive?
 3        Did I read that correctly?                            3    A. Yes, more sensitive, certainly.
 4    A. Correct.                                               4    Q. Is it a fair characterization of your report to
 5    Q. So if I understand your opinion correctly,             5 interpret the term or the phrase "more
 6 you're citing two reasons that the genotoxicity assays       6 sensitive" -- "more sensitive assay system" to mean any
 7 reported in the registrant-sponsored studies differ from     7 assay system other than a bacterial reverse mutation
 8 those appearing in peer-reviewed journals; correct?          8 assay?
 9    A. Correct.                                               9    A. Certainly among the assay systems that are
10    Q. And the first is the time when the studies were       10 covered in the September 2016 EPA report and the IARC
11 conducted?                                                  11 report. There are other genotox assay systems that
12    A. Correct.                                              12 haven't been deployed in the assessment of glyphosate
13    Q. And the second is that the public literature          13 technical and GBH and genotoxicity, and I haven't
14 studies generally use more sensitive assay systems;         14 reviewed all those and I'm not prepared to opine whether
15 correct?                                                    15 they're all more or less sensitive.
16    A. Correct.                                              16       And it obviously becomes very complicated when
17    Q. What are the more sensitive assay systems that        17 you start assessing some of the genotox systems in
18 you're referring to?                                        18 non-mammalian organisms, earthworms and fish and et
19    A. Any assay system other than a bacterial reverse       19 cetera.
20 mutation study, and this is because of the well-known       20    Q. Would you agree that EPA considered all of
21 fact that bacteria don't have mitochondria and              21 these more sensitive assay systems in its 2016 and now
22 glyphosate targets mitochondria.                            22 2017 reports?
23        So it is no surprise to many scientists in the       23    A. They considered a few registrant-submitted
24 field that bacterial reverse mutation studies on both       24 studies in some of the categories and several in a few
25 glyphosate technical and formulated glyphosate-based        25 others, yes.


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 1    Q. Which categories -- strike that.                      1 the form unless you're tracking paragraph 78. Direct
 2       Which types of more sensitive assay systems did       2 damage to DNA in humans. In other words, are you
 3 EPA not consider?                                           3 switching the --
 4    A. Well, certainly the direct DNA damage in              4       MR. FAYNE: No. I'll ask the question again,
 5 exposed human populations, the EPA didn't consider any      5 but I'm tracking paragraph 78.
 6 of those studies. That's the table we looked at before      6       MR. KRISTAL: That's what I thought, but
 7 with the four.                                              7 technically the question didn't include "in humans,"
 8       In the -- and we can go through each one of           8 so...
 9 them and I'll characterize the differences, if you'd        9       MR. FAYNE: Sure.
10 like.                                                      10       THE WITNESS: So could you restate it?
11    Q. Well, I'm just trying to understand. We just         11       MR. FAYNE: I'll repeat the question.
12 walked through a number of more sensitive assay systems    12       THE WITNESS: Thank you.
13 the EPA did consider; correct?                             13    Q. (BY MR. FAYNE:) Can you identify a
14    A. EPA considered at least a few genotox assays in      14 peer-reviewed journal or other source, other than the
15 each of the categories, but in several of the categories   15 IARC monograph, that supports your opinion that assays
16 they -- they considered a far fewer number than the IARC   16 designed to detect direct damage to DNA in humans
17 Working Group.                                             17 following exposure are the most important in evaluating
18    Q. Would you agree that EPA considered some             18 genotoxicity in humans?
19 studies in each of the more sensitive assay categories     19    A. That's a very widely shared view. There are
20 on glyphosate technical?                                   20 multiple peer-reviewed articles, including some that I
21    A. Yes.                                                 21 am co-author of, that make essentially that statement
22    Q. You state in paragraph 78 of your report that        22 and say that, to the extent that such studies are
23 "In my opinion, assays designed to detect direct damage    23 available in exposed human populations, they -- they
24 to DNA in humans following exposure to a formulated        24 clearly are the most relevant because they -- they avoid
25 glyphosate-based herbicide are the most important in       25 trying to interpolate from an in vitro study involving

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 1 evaluating glyphosate and glyphosate-based herbicide        1 cells to an actual human body that's alive and is
 2 genotoxicity."                                              2 metabolically and physiologically active. That's
 3        Did I read that correctly?                           3 obviously the most relevant study system, if you will,
 4    A. Yes.                                                  4 to try to understand the impact of any toxic chemical on
 5    Q. What is the basis of your opinion that assays         5 human beings.
 6 designed to detect direct damage to DNA are the most        6    Q. As we discussed previously, EPA listed the
 7 important?                                                  7 studies that you referred to that were cited by IARC in
 8    A. The emphasis placed on them by the IARC Working       8 Appendix D of its report assigning them a low quality
 9 Group and the fact that they are based on real-world        9 evaluation; correct?
10 exposure levels that some exposed human population         10    A. That's correct.
11 actually incurred.                                         11    Q. Going back to the peer-reviewed journal
12    Q. And again, so when we're -- when you're              12 question. You testified that there's a whole large
13 referring to assays designed to detect direct damage to    13 number of studies that express that view. Can you
14 DNA in humans, you're referring to those five assays in    14 identify for me one that you were not an author or a
15 the first IARC table?                                      15 co-author of?
16    A. Yes.                                                 16    A. That expresses that view?
17    Q. And that's the Bolognesi 2009 and the                17    Q. Yes.
18 Paz-y-Mino studies?                                        18    A. Well, let's see. There's a -- if you're going
19    A. Correct.                                             19 to ask me to, from memory, identify a peer-reviewed
20    Q. Can you identify a peer-reviewed journal or          20 study that says that in exactly those words, I'm not
21 other source that suggests that assays designed to         21 prepared to do that, but I will be glad to find several
22 detect direct damage to DNA are the most important in      22 that make that point, you know, but perhaps not in those
23 evaluating genotoxicity?                                   23 exact words. It's not a -- it's not a -- I don't think
24    A. Well, as we -- as we've discussed --                 24 you'll find any expert that would argue with that point.
25        MR. KRISTAL: Did you mean -- well, I object to      25    Q. But sitting here today, you're not able to

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 1 identify a study that expresses that viewpoint; correct?         1 glyphosate technical; correct?
 2    A. Yes, I am able. If you want to give me the                 2    A. Correct. That's what Table 5.7 is.
 3 time to do it, I'll get online and I'll find them.               3    Q. You've never designed a genotoxicity study;
 4    Q. Well, we can look at your reliance list, if                4 correct?
 5 you'd like. You've got a number of studies cited there.          5    A. You already asked me that.
 6 Are there any studies cited on your reliance list that           6    Q. I apologize. I don't remember the answer.
 7 express that viewpoint?                                          7 Have you designed a genotoxicity study?
 8    A. Again, I know -- I know where this is headed,              8    A. No, I have not.
 9 and you're -- you're going to ask me to identify                 9    Q. And you've never conducted a genotoxicity
10 essentially that sentence, and if it's not there in             10 study; correct?
11 exactly those words, then you're going to object.               11    A. Correct.
12       So I -- I stand by my statement that it's a               12    Q. So your understanding of genotoxicity is based
13 widely shared view and there are, you know, several             13 on reviewing published literature?
14 peer-reviewed studies that -- that articulate that in           14       MR. KRISTAL: Are you asking these seriatim or
15 the body of the -- the paper.                                   15 exclusively published literature, or what?
16    Q. And I'll ask the question again just because I            16       MR. FAYNE: I mean, yeah, I'm going to ask
17 don't think you've answered it yet.                             17 you -- strike that.
18       That sitting here today, you cannot identify a            18    Q. (BY MR. FAYNE:) Your understanding of
19 study that you were not the author or --                        19 genotoxicity is based on reviewing published literature
20    A. You're kind of eating up my lunch. I'll pull              20 and speaking to the experts in the field of
21 out my computer.                                                21 genotoxicity; is that a fair characterization?
22       MR. KRISTAL: No, no. You don't have to do                 22    A. That's certainly the primary basis for my
23 anything --                                                     23 knowledge of genotoxicity assays.
24       MR. FAYNE: I'm not asking you to do that.                 24    Q. Would you agree that EPA has within its ranks a
25       MR. KRISTAL: -- on your dime. If he wants you             25 number of experts in the field of genotoxicity?

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 1 to look it up now as you sit here, we can do that.               1    A. Probably a few.
 2        THE WITNESS: Okay. I'll go to my room                     2    Q. Within the office of its pesticide programs?
 3 and I'll do it.                                                  3    A. Yeah. Within OPP, yes. I would -- I would
 4    Q. (BY MR. FAYNE:) No, I don't want you to look               4 assume that at any one point in time during the record
 5 it up right now. I'm just asking you as you sit here             5 of this case, there would be at least one or two
 6 right now, without having looked it up, are you able to          6 Ph.D.-level scientists trained in some aspect of
 7 identify one?                                                    7 genotoxicity.
 8    A. No, I'm not.                                               8    Q. And presumably there were -- some of those
 9    Q. If you look in Table 5.7 of the EPA report.                9 experts were involved in the preparation of the 2016 OPP
10    A. Page, please.                                             10 report. Is that a fair assumption?
11    Q. Page 122.                                                 11    A. Well, the -- whoever was on staff at the time,
12    A. Okay. I'm there.                                          12 yes.
13    Q. This lists a number of assays for detecting               13    Q. If you'd turn to page 126 of the OPP report.
14 primary DNA damage; correct?                                    14    A. Okay. I'm there.
15    A. Correct.                                                  15    Q. So this is the summary and discussion of EPA's
16    Q. When you refer to direct DNA damage, is that              16 genotoxicity section; correct?
17 different than primary DNA damage?                              17    A. Correct.
18    A. No.                                                       18    Q. And about midway through that first paragraph
19    Q. So when you use the term "direct DNA damage,"             19 it states, "In the weight-of-evidence analysis, studies
20 that means the same thing as when EPA says "primary DNA         20 evaluating endpoints that measured gene mutations and
21 damage"; correct?                                               21 chromosomal aberration, i.e., permanent DNA damage, were
22    A. Correct.                                                  22 given more weight than endpoints reflecting DNA events
23    Q. And as we've just been talking about, the EPA             23 that may be transient or reversible, such as primary DNA
24 lists a number of studies that it considered evaluating         24 damage, for example, COMET assays."
25 assays for detecting primary DNA damage based on                25        Did I read that correctly?

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 1    A. Yes, you did.                                              1 direct DNA damage may be transient or reversible and
 2    Q. So would you agree that EPA's view is that                 2 thus not indicative of true genotoxicity; correct?
 3 studies of primary DNA damage are less important than            3       MR. KRISTAL: Objection.
 4 studies measuring endpoints such as gene mutations and           4    A. It -- the damage might be heritable and
 5 chromosomal aberrations?                                         5 permanent or it might not. Both can fall under that
 6    A. I think you might have misstated that.                     6 category of direct DNA damage.
 7    Q. How so?                                                    7    Q. So positive results in those direct DNA tests
 8    A. Well, why don't you redo the question.                     8 are not necessarily indicative of true genotoxicity;
 9        Or you could reread the question if she took it           9 correct?
10 down, whichever you'd like to do.                               10       MR. KRISTAL: Objection.
11    Q. I'll re-read it.                                          11    A. Well, I don't understand your use of the term
12    A. Maybe I just misheard it. It could be my                  12 "true genotoxicity."
13 fault.                                                          13    Q. Are not indicative of a genotoxic effect;
14    Q. Would you agree that EPA's view is that studies           14 correct?
15 evaluating primary DNA damage are less important in the         15       MR. KRISTAL: Objection.
16 weight-of-the-evidence analysis than studies evaluating         16    A. I don't agree.
17 endpoints measuring gene mutations and chromosomal              17       My understanding is that you've asked me if a
18 aberrations?                                                    18 genotoxicity assay that measures an impact which may be
19    A. In general, yes.                                          19 reversible, if you're asking me if I think that's not a
20    Q. And that's inconsistent with your view that               20 genotoxic effect, then I do not agree with that, and nor
21 studies of direct DNA damage are the most important; is         21 do most scientists.
22 that fair?                                                      22       It is true that some impacts on DNA are
23    A. Oh, I don't know. That would take some                    23 repairable. It's also true that rarely are repairs
24 thought.                                                        24 fully successful, and that damaged DNA that isn't fully
25    Q. What about that statement is not fair?                    25 repaired is cumulative over time. So it's not

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 1    A. What EPA is getting at is that any genotoxicity            1 appropriate, in my judgment, to dismiss genotoxicity
 2 assay that is capable of measuring or reports permanent          2 assay results that are possibly repairable or reversible
 3 inheritable damage to DNA is more worrisome than a               3 as not relevant or important.
 4 genotoxicity assay that produces a response but one              4    Q. In your view, such assay results are the most
 5 that's reversible, and that I agree to -- I agree with           5 important, is how I understood your report; is that not
 6 that view.                                                       6 correct?
 7    Q. And you agree that studies of direct DNA damage            7    A. That's not correct.
 8 do not necessarily -- necessarily show a permanent               8    Q. So when you say in your report that "Assays
 9 response. They can be transient or reversible; correct?          9 designed to detect direct damage to DNA in humans are
10    A. Correct.                                                  10 the most important," how can I reconcile those two
11    Q. So turning back to your report, go to paragraph           11 statements?
12 9(c). This is on page 8.                                        12    A. I think the problem that we have here is that
13    A. Going backwards.                                          13 direct damage to DNA can be permanent inheritable or
14    Q. Skipping around.                                          14 reversible.
15    A. 9(c). Are we on page 8?                                   15    Q. Correct. And my question is, in light of that
16    Q. Page 8, yep. Actually, let me go back to the              16 fact, isn't it true that studies looking at chromosomal
17 questions we were just discussing briefly. So as I              17 aberrations that are not reversible, aren't those
18 think you just testified -- and I'll read it so that I          18 studies more important in evaluating genotoxicity?
19 make sure I get it correct -- is that "Assays that are          19    A. I -- yes, and I've agreed with you on that
20 capable of measuring or reporting permanent inheritable         20 multiple times. I think I have, anyway. Tried to.
21 damage to DNA is more worrisome than a genotoxicity             21    Q. Sure. So now let's go to paragraph 9(c) in
22 assay that produces a response but one that's                   22 your report, which is on page 8. And about halfway
23 reversible"; correct?                                           23 through that paragraph you state, "I conducted a PubMed
24    A. Correct.                                                  24 search for genotoxicity studies on glyphosate and
25    Q. So you would agree that endpoints measuring               25 glyphosate-based herbicides on November 19th, 2018, and


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 1 identified 26 studies published since 2015, of which 25      1 about -- or opined about in your report; correct?
 2 reported positive evidence of genotoxicity in one or         2    A. Yes.
 3 more assays."                                                3    Q. So if we turn to page 477 of your report.
 4    A. Correct.                                               4    A. Maybe paragraph?
 5    Q. Did I read that correctly?                             5        MR. KRISTAL: Paragraph.
 6    A. Yeah.                                                  6        THE WITNESS: Maybe paragraph?
 7    Q. How did you perform your search?                       7        MR. FAYNE: I'm really struggling with that
 8    A. Well, I went onto PubMed and typed in                  8 today. Paragraph 477 of your report.
 9 "glyphosate," "glyphosate-based herbicides,"                 9        THE WITNESS: That's all right.
10 "genotoxicity," "mutagen," and probably a few other         10        MR. FAYNE: Not quite that long.
11 search words, terms. I've been -- I've done these           11        MR. KRISTAL: Next deposition there will be
12 searches before so I kind of used the same methodology.     12 477 pages.
13    Q. Based on that search, you identified 26 studies       13        THE WITNESS: We'll catch up with it. So 477.
14 published since 2015; correct?                              14        MR. FAYNE: Yes. Yes. This is the beginning
15    A. Correct.                                              15 of the Dr. Parry's section of the report.
16    Q. Did you exclude any studies from that number          16        THE WITNESS: The good Dr. Parry.
17 based on your review of the study design or quality?        17        MR. KRISTAL: It's P-A-R-R-Y as opposed to
18    A. No.                                                   18 E-R-R-Y.
19    Q. The majority of the studies you identified were       19    Q. (BY MR. FAYNE:) So in paragraph 477, you state
20 in non-mammalian systems; is that a correct statement?      20 that, "In the 1990s, several positive genotoxicity
21    A. I think -- don't I talk about that in the             21 studies were published," and then you cite the Lioi, et
22 paragraph somewhere?                                        22 al., L-I-O-I, 1998, the Lioi, 1998 -- there are two of
23    Q. Yes. I believe you state that --                      23 those -- the Bolognesi, et al., 1997 and the Clements,
24    A. 12 mammalian studies were all positive. So if         24 et al., 1997; correct?
25 there were 25 and 12 of them were mammalian, then about     25    A. Correct.

                                                    Page 119                                                          Page 121
 1 half and half.                                               1 Q. And as you discuss in your report, because of
 2    Q. Yeah. I believe there were 26 studies total.        2 those studies Monsanto decided to retain Dr. Parry to
 3 12 of those were mammalian; is that fair?                 3 undertake a review; correct?
 4    A. Yeah.                                               4    A. Of those studies.
 5    Q. How did you determine whether the studies were      5    Q. Of those studies.
 6 positive or negative for genotoxic effect?                6    A. That's where they came from.
 7    A. By what the authors reported.                       7    Q. Exactly. Correct.
 8    Q. So you reviewed the abstract or the body of the     8    A. Yeah.
 9 report?                                                   9    Q. And Dr. Parry prepared a number of reports in
10    A. No. I downloaded the full studies and often        10 which he summarized these genotoxicity studies that were
11 read most of them and certainly read the -- if the -- if 11 in the public literature; correct?
12 the abstract was clear and I felt complete, I may not    12    A. And others.
13 have read much more of the study, but in several of them 13    Q. And others, including others in Monsanto's
14 I was quite interested in where the science has moved in 14 internal database of genotoxicity studies; correct?
15 recent years.                                            15    A. Yes, sir.
16       MR. FAYNE: Now is probably a good time for a       16    Q. Dr. Parry did not conduct any primary research;
17 break if you want to take a quick one and then maybe --  17 correct?
18       THE WITNESS: Is this lunch break?                  18        MR. KRISTAL: You mean for Monsanto in this
19       MR. FAYNE: Well, it's 11 o'clock. Let's go         19 project?
20 off the record.                                          20        MR. FAYNE: Strike that. Yes. Let me be more
21       VIDEOGRAPHER: Off the record at 10:59 a m.         21 clear.
22          (A brief recess was had.)                       22    Q. (BY MR. FAYNE:) With respect to this project
23       VIDEOGRAPHER: Back on the record at 11:10 a m.     23 on behalf of Monsanto in the late 1990s, Dr. Parry was
24    Q. (BY MR. FAYNE:) I'd like to shift gears now        24 not performing any primary genotoxicity studies;
25 and turn to Dr. Parry's report, which you testified      25 correct?


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 1    A. Correct.                                                1 studies Parry recommended."
 2    Q. He was summarizing studies that already                 2        Do you see that?
 3 existed; correct?                                             3     A. Yes.
 4    A. Well, reviewing and -- and sharing his                  4     Q. Would you agree that it wouldn't be possible
 5 assessment of their quality and relevance and findings.       5 for Monsanto to discuss internally the studies that
 6    Q. Would you agree that his findings about what            6 Parry recommended before he had actually submitted his
 7 those studies showed were consistent with the findings        7 recommendations?
 8 of the study authors?                                         8     A. Yes.
 9    A. In general, yes.                                        9     Q. I'll break this down for you. So Dr. Parry's
10    Q. Are you aware of any instance in which                 10 report in August 1999, that was not Dr. Parry's first
11 Dr. Parry found a study to show a genotoxic effect when      11 report; correct?
12 the author of that study had found the study to be           12     A. Well, can we just pull them all out?
13 negative?                                                    13     Q. Yes. And again, it's not a trick. I'm just
14    A. I'm not aware of any such cases.                       14 trying to understand your timeline.
15    Q. So turning to paragraph 480 of your report, you        15     A. If I -- if I made a mistake in my timeline,
16 state that in a letter --                                    16 I'll readily admit it.
17    A. Where are we now?                                      17     Q. Let's pull them out then, and I think we can
18    Q. Paragraph 480, just two paragraphs down.               18 clarify. Thank you.
19    A. 480. I thought you said 4E. 480, okay, I'm             19     A. Okay.
20 there.                                                       20     Q. So I'll mark this as Exhibit Number 9, and this
21    Q. So in paragraph 480 you state, "In a letter            21 is a report from Dr. Parry dated February 11th, 1999.
22 dated August 18th, 1999, Dr. Parry transmitted his first     22        MR. KRISTAL: Thank you.
23 of three evaluation reports to                 --            23           (Exhibit 9 marked for identification.)
24                        "a Monsanto toxicologist"; correct?   24     Q. (BY MR. FAYNE:) So I'm showing you a document
25    A. Correct.                                               25 that's been marked Exhibit Number 9.

                                                  Page 123                                                                Page 125
 1    Q. What are you relying upon for your statement            1        Have you seen this before?
 2 that Dr. Parry transmitted three reports?                     2     A. Yes.
 3    A. My reading of the three reports.                        3     Q. And is this one of the reports that Dr. Parry
 4    Q. So you identified three reports in the                  4 submitted to Monsanto?
 5 discovery record --                                           5     A. It's my understanding this is the first one.
 6    A. Yes.                                                    6     Q. So just to clarify the record, your
 7    Q. -- from Dr. Parry to Monsanto?                          7 understanding in your report that the August 1999 report
 8    A. Yes.                                                    8 was the first one is incorrect; correct?
 9    Q. Do you recall when the other two reports were           9     A. Yes, this is the first one. The one that was
10 submitted?                                                   10 just these four papers that I talked about in
11    A. I don't remember the dates. I think two of             11 paragraph 477.
12 them came together. There was an assessment of the           12     Q. Okay. You can put that to the side for a
13 studies and then a separate report on recommendations,       13 second.
14 so I counted that as a third report.                         14     A. Okay. So I got to fix this. It's probably the
15    Q. Understood.                                            15 second.
16    A. Does that help?                                        16     Q. So turning to paragraph 80 of your report --
17    Q. That is helpful. I think that explains the             17 and I apologize. The Parry sections are -- there's a
18 disconnect. Thank you.                                       18 couple of them, so. Paragraph 80 of your report, which
19       In paragraph 488, so now a couple of pages --          19 is on page 24.
20    A. All right.                                             20     A. 24, you said?
21    Q. -- further.                                            21     Q. Yes.
22    A. I'm with you.                                          22     A. Okay. I'm there.
23    Q. You state, "In the next several days, in early         23     Q. You state that, "Dr. Parry provided 11 specific
24 July, 1999, Monsanto officials discuss internally            24 recommendations to Monsanto following his review of
25 whether to commission the new genotoxicity research          25 several published and Monsanto-commissioned genotoxicity


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 1 studies."                                                   1 is --
 2        Do you see that?                                     2    A. Oh, yeah. Sure.
 3    A. Yes.                                                  3    Q. -- a page ending in 4264.
 4    Q. And I read that correctly?                            4    A. Yes.
 5    A. Yes.                                                  5    Q. So it looks like page 4264 lists some key
 6    Q. And now I'm going to direct you back to               6 questions, and then there's a -- at the bottom it says,
 7 paragraph 484. And you say --                               7 "Deficiency in the data set," and then when we get to
 8    A. Oh, Jesus. Hang on a second. 484. Got it.             8 page 4265, it says "Actions recommended"; correct?
 9    Q. You state that, "In addition to his written           9    A. This is what I would regard as this third Parry
10 reports, Dr. Parry provided Monsanto with a detailed       10 report where he starts out laying out the key questions
11 list of recommended research activities to clear up        11 and then he makes his recommendations on what should be
12 lingering questions over the genotoxicity of               12 done to address the key questions.
13 glyphosate-based herbicides," and you cite MONGLY --       13    Q. It's this report where he sets forth the 11
14 M-O-N-G-L-Y -- 01314264; correct?                          14 specific recommendations you referred to?
15    A. Correct.                                             15    A. Correct.
16    Q. And is this the -- are these the                     16    Q. Could you explain how you count 11
17 recommendations that you're referring to when you say      17 recommendations in this report?
18 "11 specific recommendations"?                             18    A. Yes.
19    A. It's the last of the Parry reports, by my            19    Q. Please do.
20 accounting, and it's the one that spells out a number of   20    A. Okay. Well, provide comprehensive in vitro
21 recommendations, yes.                                      21 cytogenetic data on glyphosate formulations.
22        MR. FAYNE: So let's pull that out. So we'll         22 C-Y-T-O-G-E-N-E-T-I-C. That would be one.
23 cite -- or we'll mark as Exhibit 10 what I understand to   23       The second, B, is another one where he's saying
24 be the second and third Dr. Parry reports, but you can     24 conduct these studies with and without antioxidant
25 confirm that for me once you have a chance.                25 activities to see if -- if the impact is reversible.

                                                 Page 127                                                     Page 129
 1          (Exhibit 10 marked for identification.)          1       And then he recommends that these be
 2       MR. KRISTAL: Thank you.                             2 under -- undertaken in an in vitro micronucleus assay in
 3       THE WITNESS: Yes, these are -- these are            3 human lymphocytes. I'm not sure if I counted that as
 4 the -- what I understand to be the penultimate and most   4 one or two. You know, I would have to go through and
 5 complete report by Dr. Parry, upon his review of all of   5 recreate my thinking.
 6 the genotoxicity assays that he was asked to review by    6    Q. And again, I'm just trying to understand the
 7 Monsanto, as well as his recommendations for further      7 basis of your opinion, so I'm trying to understand how
 8 research to resolve lingering questions.                  8 you got to 11.
 9    Q. (BY MR. FAYNE:) And to be clear, you're -- the      9    A. Right. So I took this document and
10 way you framed it in your report is that those are two   10 specifically pages 2, 3 and 4 of it, and tried to
11 separate reports?                                        11 identify the distinct clusters of work, and I -- I did
12    A. The way that I first obtained these reports,       12 so fairly carefully and I came up with 11.
13 they were referred to in different documents. I see      13    Q. Okay. I think it would be helpful for me or
14 these are MONGLY-numbered consecutively, but, as I said, 14 for us to understand what those 11 are. So if we could
15 they -- they were -- when I first encountered them, they 15 keep walking through it. So I believe you testified
16 were not a part of the same report. And I'm not even     16 that A is one. We agree on that; correct?
17 sure that they were, but, you know, I can probably go    17    A. A is -- yes. So let's see if we can...
18 back in the record and try to determine that.            18    Q. And your testimony is that B is either --
19    Q. Is it your understanding that both the first       19    A. Let --
20 report setting forth his conclusions and the second      20    Q. Please. Go ahead. Yeah.
21 report setting forth his recommendations, both of those  21    A. Okay. So the recommendation "I recommend that
22 were submitted to Monsanto in August 1999? Correct?      22 both a) and b) should be undertaken using the in vitro
23    A. Yes. And as far as I know, they were the last      23 micronucleus assay in human lymphocytes," that is
24 reports from him as well.                                24 another one. And I'll determine later whether it's two.
25    Q. So I'd like to turn to the page you cite, which    25 He just says it would be cost effective.


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 1       And then C is another one, "The induction of              1 explanation is that there are actually some
 2 oxidative damage in vivo and determine the influence of         2 recommendations at the first part of it that aren't
 3 antioxidant status. Determine the exposure                      3 addressed in the second part. That's -- may be. But
 4 concentrations of glyphosate which overwhelm the                4 I'll let -- give me a few minutes to recreate my
 5 antioxidant status."                                            5 thinking. I'm quite sure I have -- I can explain to you
 6       MR. KRISTAL: Chuck, could I ask you to just               6 how I got to 11. I didn't make it up.
 7 slow down a little bit. Amy's fingers are starting to           7        MR. KRISTAL: Are you reviewing -- Exhibit 10
 8 burn up.                                                        8 is actually four documents. In other words, I don't
 9       THE WITNESS: Okay. Sorry, Amy.                            9 know if you meant to include it as four.
10    Q. (BY MR. FAYNE:) So just to stop you on -- are            10        MR. FAYNE: Excuse me, Counsel. I know it's
11 you counting C as one study?                                   11 not your deposition. I understand you're trying to be
12    A. Yes.                                                     12 helpful and we can work this out later, but as I
13    Q. Okay.                                                    13 understand it right now, he's not able to recreate it --
14    A. I believe so.                                            14       THE WITNESS: Yeah. Yeah. Yeah.
15       Okay. Next one -- hang on. So D is clearly               15       MR. FAYNE: -- and we can come back to it.
16 another distinct assay, set of assays.                         16       MR. KRISTAL: Yeah. But if you want
17       Trying to -- I can't recall as I sit here today          17 Dr. Benbrook to review to answer your questions, I don't
18 whether I counted his number E, which is not to repeat         18 think it's fair to him to have him do it over lunch. He
19 the chromatoid exchange studies, whether I counted that        19 should do it during the dep and ask questions.
20 as a recommendation for a new study or not. I think I          20       MR. FAYNE: Okay. Well, then the answer can be
21 didn't.                                                        21 that you don't know sitting here today how you came up
22    Q. But sitting here today, you can't say one way            22 with 11 and we can leave it there.
23 or the other whether you did or didn't?                        23    Q. (BY MR. FAYNE:) Is that -- that's your
24    A. Let me -- let me get to the end and if it adds           24 testimony, correct, right now you can't recreate how you
25 up to 11, then I'll be pretty sure that I didn't.              25 came up with 11 studies?

                                                     Page 131                                                         Page 133
 1       So Parry has also recommended the COMET assay             1    A. Oh, yes, I can. You know, but, again, it will
 2 in the liver and kidney of mice.                                2 take a little time.
 3    Q. So just to be clear, F is another study;                  3    Q. It makes it difficult for me to ask you
 4 correct?                                                        4 questions about it if you can't tell me sitting here
 5    A. Yes.                                                      5 today what the 11 studies recommended were, and I'm
 6       The in vitro data on surfactants is another               6 referring to the document you cited in your report and
 7 recommendation.                                                 7 asking you to count it.
 8       So these are the distinct new study                       8    A. Okay.
 9 recommendations in this accounting by Parry, and I'll           9    Q. I understand that right now --
10 have to go back and see where I found the other ones,          10    A. I didn't bring my entire Parry file.
11 but I know there's 11 in a Parry document and I will           11    Q. I understand.
12 find it for you.                                               12    A. Which is about that thick. And in that Parry
13    Q. Okay.                                                    13 file I have the notes on how I counted these studies,
14    A. Yeah.                                                    14 and I'm sure that I have the --
15    Q. That's something you'll do during your lunch             15        MR. KRISTAL: We'll clear it up when I get a
16 break or?                                                      16 chance to ask questions. It's a pretty simple
17    A. Well, I'll give it a try.                                17 explanation, if you don't want me to say anything on the
18    Q. So sitting here today, you're not able to                18 record. If you really want an accurate count, I can say
19 recreate how you came up with 11; is that fair?                19 something and then we can see if we can resolve it.
20    A. Right now. We'll see after lunch.                        20        MR. FAYNE: Sure. Go.
21    Q. And just to make sure we're -- to close the              21        MR. KRISTAL: If you don't, that's fine.
22 loop on this particular document of actions recommended,       22        MR. FAYNE: Please go.
23 as I counted -- as you were speaking, I got six studies.       23        MR. KRISTAL: I'm not trying to --
24 Did you have a different number?                               24        MR. FAYNE: Please.
25    A. No. I had six. I think perhaps part of the               25        THE WITNESS: Can we go off the record?

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 1        MR. FAYNE: Yeah. Let's go off the record.            1 depositions.
 2        VIDEOGRAPHER: Off the record at 11:31 a m.           2    Q. Are you aware whether any of the studies that
 3          (A brief recess was had.)                          3 Dr. Parry recommended already existed either in
 4        VIDEOGRAPHER: Back on the record at 11:32 a m.       4 Monsanto's database or in the public literature?
 5    Q. (BY MR. FAYNE:) You state in your report,             5    A. Well, surely several of Dr. Parry's
 6 Dr. Benbrook, that Monsanto refused to conduct new          6 recommendations -- other scientists had done studies
 7 studies in nine of the 11 areas; correct?                   7 using those genotox assays, and Parry felt that it would
 8    A. Correct.                                              8 be important to try to replicate them.
 9    Q. How did you determine that Monsanto refused to        9         And so, yes, they're -- there were some
10 conduct those studies?                                     10 published studies reporting the results of the assays
11    A. Because they're not in -- there's no evidence        11 that Parry recommended that Monsanto replicate using
12 of them being conducted, and also in their e-mail          12 glyphosate technical and conduct for the first time
13 exchanges about responses to the Parry report, they say    13 using formulated glyphosate-based herbicides.
14 they're not going to conduct the studies that Parry        14    Q. If those studies were not cited in Dr. Parry's
15 recommended, with the exception of the micronucleus        15 reports, you're not able to say one way or the other
16 studies that they did to try to refute Bolognesi. They     16 whether he was aware that those studies already existed;
17 did, I think, four of those.                               17 fair?
18    Q. So you agree that they did conduct some studies      18    A. Yes. I wouldn't have any way to read his mind.
19 in response to Dr. Parry's recommendations; correct?       19    Q. So it's possible that Dr. Parry recommended
20    A. Yes. Yes. They did several bacterial reverse         20 further studies on certain assays that he wasn't aware
21 mutation studies and glyphosate-based formulations, and    21 that they already existed; fair?
22 then they did I believe it was four micronucleus studies   22    A. I suppose he may not be aware of some
23 in the hope of refuting the Bolognesi findings.            23 registrant studies that Monsanto chose not to provide to
24    Q. How did you become aware that they had               24 him, yeah.
25 conducted the studies to replicate the Bolognesi           25    Q. Or public-literature studies; correct?

                                                 Page 135                                                          Page 137
 1 findings?                                                   1  A. He may -- he may have missed and not been aware
 2    A. Well, they're in -- they're in the EPA              2 of. Yeah, that's possible.
 3 document. They're in Kier and Kirkland. They're in        3    Q. So it's possible that some of the studies he
 4 Brusick.                                                  4 recommended already existed without his knowledge;
 5    Q. It's correct, is it not, that earlier in the        5 correct?
 6 Roundup litigation your opinion was that they had not     6    A. Sure.
 7 conducted any of the studies that Dr. Parry recommended? 7         MR. ESFANDIARY: Anything is possible.
 8 Is that fair?                                             8    Q. As we were discussing previously, Monsanto
 9    A. I don't recall if I said that.                      9 initially reached out to Dr. Parry because of the four
10    Q. But at some point you became aware that they       10 studies that were published in the late 1990s; correct?
11 had in fact performed at least some of the studies Parry 11    A. No, that's not correct.
12 recommended; correct?                                    12    Q. What's incorrect about that?
13    A. Yes.                                               13    A. Monsanto reached out to Dr. Parry because they
14    Q. Have you conducted a search of the discovery       14 realized that they were in trouble in terms of the
15 record to identify any additional studies that Monsanto  15 recently published studies reporting a genotoxic effect
16 may have conducted in response to Dr. Parry's            16 of both glyphosate technical and some other assays on
17 recommendations?                                         17 formulated glyphosate-based herbicides.
18    A. No. I have assumed that the four Monsanto          18        They realized that these published studies in
19 reviews of genotoxicity studies represent a complete     19 the peer-reviewed literature were in contrast to the
20 accounting of the studies that Monsanto did. I think     20 universally negative genotoxicity studies that had been
21 the only exception is that there were some bacterial     21 submitted to regulators, and they were looking for help
22 reverse mutation studies done for Brazilian regulators   22 from third-party experts, the independent scientists
23 and Argentina regulators on formulated products that may 23 like Dr. Parry, to provide their views to regulators, to
24 not be in any of the Monsanto reviews. Those studies     24 other scientists, to the media, relative to and in
25 were brought to my attention in one of the earlier       25 support of Monsanto's view of the genotox literature.


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 1        So the purpose of the initial approach to          1 recommended to bring them around to their view of
 2 Dr. Parry was vetting him as a potential future member    2 genotoxicity of glyphosate and glyphosate-based
 3 of the Monsanto third-party network of experts            3 herbicides.
 4 who -- who Monsanto turns to from -- would turn to at     4    Q. I'd like to focus on the studies in the public
 5 various times to support their view of both               5 peer-reviewed literature that found a positive genotoxic
 6 registrant-submitted studies and peer-reviewed studies.   6 effect in the late 1990s; okay?
 7    Q. You just testified that the studies that raised     7    A. Yeah.
 8 concern within Monsanto were those that were published    8    Q. Those are studies that Dr. Parry reviewed for
 9 in the peer-reviewed public literature; correct?          9 Monsanto; correct?
10    A. Those were among them, yes. This initial four      10    A. I believe there were three different sets of
11 were -- I don't think it was the only studies that they  11 studies. You know, it was the -- we talked about the
12 were concerned about at that time, but it was the first  12 first set, which was only four, and then there was
13 set. They were trying also to keep costs down. If you    13 another set, and then there was another set. And
14 look at the e-mail exchanges, they were, you know,       14 this -- the report that we've been talking about here in
15 concerned about how much time Parry would have to invest 15 Exhibit 10, it's my understanding this was the final one
16 in it, so they started with a fairly small assignment.   16 that integrated Dr. Parry's review of these three
17    Q. So you reviewed the internal Monsanto e-mails      17 tranches of sets of studies.
18 and it's your opinion, based on those e-mails, that they 18    Q. So going back to those -- let's just talk about
19 were trying to save costs?                               19 the four studies you cite in paragraph 477 of your
20        MR. KRISTAL: Objection.                           20 report; okay?
21    A. No. It's my opinion that they were cognizant       21    A. Okay.
22 of the cost entailed in -- in hiring Dr. Parry to do a   22    Q. Those are all published in the peer-reviewed
23 thorough review of the genotox literature. I think they  23 literature; correct?
24 were -- they clearly did not provide Dr. Parry all of    24    A. Correct.
25 the internal genotox studies that they had conducted and 25    Q. They would be available to EPA; correct?

                                                 Page 139                                                     Page 141
 1 submitted to registrants.                                 1    A. Yes.
 2        I think they -- in Dr. Parry's reports, he does    2    Q. And, in fact, you're aware that those studies
 3 identify exactly what studies he was provided, and I      3 were submitted to EPA as part of a 2002 tolerance
 4 doubt it's more than a quarter of the total Monsanto      4 approval process; correct?
 5 registrant-submitted studies. For example, they didn't    5    A. I'm not aware of that.
 6 provide him with 20 different bacterial reverse mutation  6    Q. You don't recall that from prior depositions?
 7 studies that showed the same thing.                       7    A. No, I don't.
 8    Q. And there would have been no reason to do that,     8    Q. Any reason to believe that those studies were
 9 correct, because they all show the same thing?            9 not submitted to EPA? And I'm not -- strike that.
10    A. Correct. No -- no controversy on that matter.      10       Those studies were submitted to EPA by
11        But as the discussion and interactions between    11 commenters, not by Monsanto; correct?
12 Monsanto and Dr. Parry went on, it was -- it's clear in  12    A. I don't recall.
13 the record that Monsanto became concerned about the cost 13    Q. Any reason to believe that they were not
14 of Dr. Parry doing the studies that he felt were needed  14 submitted by commenters?
15 to clarify some of the questions, the key questions that 15    A. No.
16 he identified.                                           16    Q. So let's turn to paragraph 498 of your report.
17        In effect, Parry -- Parry was under the           17 So you state in paragraph --
18 impression that as this dialogue went on, that he might  18    A. Hang on.
19 be asked to do those studies. I'm not sure if he was,    19    Q. Oh, sure.
20 you know, ever told that directly, but I think he        20    A. 498?
21 surmised that.                                           21    Q. 498 on page 110?
22        But in any event, at the end of the day,          22    A. Got it.
23 Monsanto decided that they would not do the studies and  23    Q. You state, "In my opinion, Dr. Parry's reports
24 that it would take too much time and cost too much money 24 triggered an obligation to (1) report the information to
25 to -- to allow Parry to do all the things that he        25 the EPA; (2) update the Roundup label to disclose the


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 1 potential of genotoxicity risk following significant        1 authors of the study; is that fair?
 2 and/or long-term exposures to Roundup; and (3) conduct      2    A. I don't believe I said that. I mean, I -- I've
 3 the various studies proposed by Dr. Parry to exposure       3 taken Dr. Parry's report at its word.
 4 the genotoxicity of formulated glyphosate-based             4    Q. Understood. But Dr. Parry didn't look at those
 5 herbicides."                                                5 studies and find a genotoxic effect where the author of
 6       Did I read that correctly?                            6 the study had not found one; correct?
 7    A. Yes.                                                  7    A. I'm not aware of any episode of that or example
 8    Q. So if I understand your opinion in this               8 of that.
 9 paragraph, there are three separate parts to it;            9    Q. You also testified previously that these
10 correct?                                                   10 studies were in the public literature; correct?
11    A. Yes.                                                 11    A. Correct.
12    Q. So I'd like to break those down and take them        12    Q. So EPA had access to them; correct?
13 one at a time, if that's okay.                             13    A. Correct.
14    A. Fine.                                                14       MR. FAYNE: Mark this as Exhibit 11.
15    Q. So first you state that Dr. Parry's reports          15       MR. KRISTAL: Thank you.
16 triggered an obligation, presumably from Monsanto, to      16          (Exhibit 11 marked for identification.)
17 report the information to EPA; is that correct?            17    Q. (BY MR. FAYNE:) I'm showing you an exhibit
18    A. Correct.                                             18 marked Number 11, which is 40 CFR Part 159, Subpart D.
19    Q. What is the source of the obligation from            19 And it's Reporting Requirements for Risk/Benefit
20 Monsanto to report those studies to EPA?                   20 Information.
21    A. FIFRA, Section 6(a)2(B), the adverse health          21    A. Correct.
22 effects reporting requirement.                             22    Q. You've seen this before; correct?
23       MR. KRISTAL: That's FIFRA, F-I-F-R-A, all in         23    A. Yes.
24 caps.                                                      24    Q. And if you look at Section 159.152, it states,
25    Q. So you're aware that EPA has adopted                 25 in paragraph C, that "Compliance with this part will

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 1 regulations implementing FIFRA Section 6(a)(2); correct?    1 satisfy a registrant's obligations to submit additional
 2    A. Yes.                                                  2 information pursuant to Section 6(a)(2)"; correct?
 3    Q. Have you reviewed those regulations?                  3    A. Correct.
 4    A. Yes.                                                  4    Q. And these regulations were adopted in the late
 5    Q. When was the last time you reviewed them?             5 1990s; correct?
 6    A. It's been many times. Probably in the last            6    A. Correct. And changed a couple of times.
 7 couple months when I -- there are two of the -- two of      7    Q. Sure. More -- if you look, for instance, at
 8 the passages from 6(a)2(B) are quoted verbatim in the       8 the very end of this document, you can see that they
 9 report, so it would have been in late November.             9 were adopted initially in September 1997, and then
10    Q. And just to be clear, you've reviewed the            10 amended in June 1998, correct, at the very bottom?
11 regulations in the 40 CFR Part 158?                        11    A. I see -- yes, I see that. Yep.
12    A. Yeah. Yes, sir.                                      12    Q. If you turn to Section 159.155.
13    Q. And your opinion, based on your review of those      13    A. Okay.
14 regulations, is that Monsanto had a legal obligation to    14    Q. "When information must be submitted."
15 submit the Parry report; is that correct?                  15    A. Yeah.
16    A. Yes.                                                 16    Q. And Subpart A reads, "The following reportable
17    Q. And when you say in your opinion that it             17 information must be received by EPA not later than the
18 triggered an obligation to report the information to       18 30th calendar day after the registrant first possesses
19 EPA, what information specifically are you referring to?   19 or knows of the information"; correct?
20    A. Parry's conclusions that glyphosate technical        20    A. Correct.
21 and formulated glyphosate-based herbicides appear to       21    Q. And then it lists seven categories of
22 pose genotoxic risk.                                       22 information; correct?
23    Q. You testified previously that you're not aware       23    A. Correct.
24 of Dr. Parry drawing any conclusions from those studies    24    Q. Which category do you contend Dr. Parry's
25 that were different than the conclusions drawn by the      25 reports fit into?


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 1    A. Well, the -- in -- I don't remember exactly in         1 under 6(a)(2), yes.
 2 my report where I quote from 6(a)2(B). It states             2    Q. And so previously we were discussing
 3 clearly that consultant reports are -- including             3 Section 159.155; correct?
 4 preliminary reports -- are among the data that, and          4     A. Okay.
 5 information, that should be provided to the agency           5     Q. And that section provides when information must
 6 if -- and on the understanding that the information is       6 be submitted. So my question to you again is: What
 7 new, has new value. Registrants are not under an             7 category of -- which of these seven categories does the
 8 obligation to submit over and over again the same            8 Dr. Parry report fit into?
 9 information that has been provided to the agency.            9     A. The first one, scientific studies, I suppose.
10        So the -- the component of Parry's report that       10 It's -- Parry's report was a scientific review, review,
11 in my judgment triggered an obligation to provide the       11 study.
12 information to EPA under 6(a)(2) was his -- his             12     Q. Okay. Well, let's -- let's turn to -- so
13 conclusion that there is valid science suggesting that      13 scientific study is described in 159.165. So why don't
14 both glyphosate technical and formulated                    14 we turn to 169 -- 159.165.
15 glyphosate-based herbicides have genotoxic potential,       15     A. Okay.
16 which is not the conclusion or the information that         16     Q. So 159.165 lists -- it looks like there's
17 Monsanto had provided to the EPA.                           17 toxicological studies, ecological studies, results from
18    Q. Let me -- I'm going to parse what you just            18 a study that demonstrates any toxic effect, and then
19 said.                                                       19 (d), incomplete studies. Did I state that accurately?
20        If I heard you correctly, you stated that            20     A. Yes.
21 Section 6(a)(2) of FIFRA states that expert reports must    21     Q. I presume you're referring to this as a
22 be submitted.                                               22 toxicological study; is that correct?
23    A. That consult -- yeah. Yeah. Reports                   23     A. Parry's review, it's a review of toxicological
24 commissioned by a registrant, done on behalf of a           24 studies involving genotoxicity assays, yeah.
25 registrant, and I think they actually use the term          25     Q. Okay. So Section 1 under "Toxicological

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 1 "consultant."                                                1 studies" states that, "The results of a study of the
 2     Q. So if I look at FIFRA Section 6(a)(2), I'll see       2 toxicity of a pesticide to humans or other non-target
 3 language about experts and consultants?                      3 domestic organisms if, relative to all previously
 4     A. The passage is in my report. We can find it.          4 submitted studies, they show an adverse effect under any
 5     Q. Understood. But I'm not asking about your             5 of the following conditions," and then they list a
 6 report. I'm asking about the statute itself.                 6 number of conditions.
 7         Your contention is that the statute itself --        7       We discussed previously that Dr. Parry did not
 8     A. I can't remember if the passage I quoted is           8 conduct a primary genotoxicity study; correct?
 9 actually from FIFRA or if it's from the implementing         9    A. Correct.
10 regulations. I don't recall exactly where it -- where       10    Q. He was reviewing summaries -- strike that.
11 it is, but it's an official statement of what EPA           11        He was reviewing studies in the published
12 requires under 6(a)(2).                                     12 literature and in the Monsanto database; correct?
13     Q. You would agree that the EPA regulations are         13    A. Well, he was reviewing and integrating the
14 EPA's official statement about what's required to be        14 information to render his expert opinion on whether the
15 submitted; correct?                                         15 existing genotoxicity database confirmed or didn't
16     A. Well, they're part of it, yeah.                      16 confirm the potential of glyphosate technical and GBHs
17     Q. And as we discussed previously, Section 159.152      17 to pose a genotoxic risk, and he reached a conclusion
18 states that compliance with this part satisfies a           18 that, in fact, the studies taken en masse did, and that
19 registrant's obligations; correct?                          19 a variety of additional studies would be required to
20     A. Yes.                                                 20 clear up ambiguity or uncertainty in the interpretation
21     Q. So you would agree that if a registrant              21 of the existing studies.
22 complied with 40 CFR Part 159, Subpart D, they've           22    Q. Dr. Parry didn't create any new data; correct?
23 complied with their reporting requirements under            23    A. He didn't carry out any primary studies. We've
24 Section 6(a)(2) of FIFRA; correct?                          24 already agreed to that.
25     A. I believe this is the full set of requirements       25    Q. And the data that he was summarizing is data

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 1 the EPA already had in its possession and could review            1 finish Parry.
 2 itself; correct?                                                  2    Q. (BY MR. FAYNE:) Is it your position that the
 3    A. I believe all of the studies that Monsanto                  3 authors of the studies that Dr. Parry reviewed were not
 4 provided to Parry were either a registrant study that             4 experts in genotoxicity?
 5 had already been submitted to EPA or a study in the               5    A. No.
 6 peer-reviewed literature.                                         6    Q. The authors of those studies, you would
 7    Q. You would agree that EPA is capable of                      7 contend, were experts in genotoxicity; correct?
 8 reviewing those studies and assessing for itself whether          8    A. Well, they conducted the studies. I don't -- I
 9 they show a genotoxic risk; correct?                              9 haven't reviewed the résumés of all of the scientists
10    A. Yes.                                                       10 that conducted those studies, and particularly there
11    Q. You testified previously that Dr. Parry's                  11 would be no way to do so on the registrant-commissioned
12 report provided new information that was not previously          12 studies.
13 known to the agency. What new information?                       13    Q. Let's focus specifically on the studies that
14    A. That an internationally recognized expert in               14 were in the published literature, not the
15 genotoxicity that Monsanto reached out to, because of            15 registrant-commissioned studies.
16 his technical competence and experience, upon                    16        Would you agree that the authors of those
17 examination of a set of studies, reached a different             17 studies that we've been discussing, that they were
18 conclusion than Monsanto did about the genotoxic                 18 qualified experts in genotoxicity?
19 potential of glyphosate and glyphosate-based herbicides.         19    A. Yes.
20       That is -- that is exactly the significance of             20    Q. And the authors of those studies concluded
21 Parry's work and analysis that is important in the               21 that -- they ran a study. It showed a genotoxic effect.
22 record of this case.                                             22 Correct?
23    Q. When EPA determines whether or not pesticide               23    A. Some of them, yeah.
24 poses a genotoxic risk, does it rely on the registrant's         24    Q. And EPA had access to their conclusions,
25 characterization of the studies or does it review the            25 correct, because they're in the published literature?

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 1 studies itself and reach a determination?                         1    A. Correct.
 2    A. It -- it typically relies on the registrant's               2    Q. We also discussed previously that EPA has
 3 characterization of the study.                                    3 experts in genotoxicity; correct?
 4        In certain times in history, they'd just cut               4    A. Yes.
 5 and paste the registrant summaries. I think it's a                5    Q. They perform a weight-of-the-evidence analysis
 6 matter of considerable uncertainty the degree to which            6 of the genotoxicity data; correct?
 7 EPA does a true independent assessment of some of these           7    A. That's what they said that they did, yes.
 8 studies. I think that that's a cluster of issues beyond           8    Q. That includes both registrant-submitted
 9 what we're dealing with in this case.                             9 studies; correct?
10        But it is -- it is -- it is clear to me that              10    A. Yes.
11 Parry's integration of the results of the studies that           11    Q. And published-literature studies; correct?
12 he was asked to look at drew upon his -- his years of            12    A. Yes, sir.
13 experience and knowledge about the various ways that             13    Q. And in their most recent evaluation in 2017,
14 exposures to a chemical can damage DNA, and that his             14 EPA considered the studies that Parry relied upon;
15 integration, his weight-of-the-evidence judgment, if you         15 correct?
16 will, to use a term of art that is also used by EPA and          16    A. I believe that's the case, yes.
17 IARC, that his weight-of-the-evidence judgment and               17    Q. When I say "Parry relied upon," I mean the
18 integration of that data was in fact a new and important         18 studies cited in Dr. Parry's reports; correct?
19 scientific finding.                                              19    A. Correct.
20        MR. ESFANDIARY: Zach, it's two minutes to                 20    Q. So in December 2017, EPA reviewed those studies
21 12:00. Would this be a good time to --                           21 and concluded that the weight of the evidence did not
22        MR. FAYNE: No. But give me a few more                     22 show glyphosate to be genotoxic; fair?
23 minutes.                                                         23    A. Through the oral route of exposure based on
24        MR. ESFANDIARY: All right.                                24 typical levels of residues in the diet, yes.
25        THE WITNESS: Yeah. Let's finish this -- let's             25    Q. Did they find glyphosate to be genotoxic

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 1 through any route of exposure?                             1   Q. I'd like to turn now to page 96 of your report.
 2    A. They didn't address the other routes of             2    A. All right.
 3 exposure or the other exposure levels.                    3    Q. And this is a section of your report where
 4    Q. Your understanding is that when EPA assesses        4 you're discussing the TNO study; correct?
 5 the genotoxic potential of a pesticide, it only looks at  5    A. Correct.
 6 the oral route of exposure, in the case of glyphosate?    6    Q. Which was a dermal penetration study?
 7    A. No, that's not my understanding.                    7    A. Yes, sir.
 8    Q. So did they evaluate whether glyphosate poses a     8    Q. The study was conducted in 2002; correct?
 9 genotoxic risk through other routes of exposure?          9    A. Correct.
10    A. Not to any significant extent, you know, in        10    Q. And it was conducted in response to some
11 terms of the content of the September 2016 report. And 11 questions from EU regulators; correct?
12 had they done such an analysis, they would not have      12    A. That was certainly one of the motivating
13 included the additional phrase "through the oral route   13 factors, yes.
14 of exposure." They would have said, "through the oral 14       Q. And by "EU," I should say, European regulators;
15 and inhalation or dermal routes of exposure."            15 correct?
16       They clearly felt that their judgment about        16    A. Correct.
17 genotoxic risk was conditioned upon typical levels of    17    Q. So performed for compliance purposes in Europe;
18 exposure through the diet, and that's why they included 18 agree?
19 that phrase in their summary statement.                  19    A. To augment the dossier the Germans were putting
20    Q. You've never assisted a pesticide manufacturer     20 together.
21 or any other company in evaluating whether to submit     21       MR. FAYNE: I'm going to mark as Exhibit 12 the
22 information under 6(a)(2); correct?                      22 final TNO report.
23    A. Some -- you know, I think some 6(a)(2) issues      23       THE WITNESS: Thank you.
24 came up in my work for a pesticide manufacturer called 24         MR. KRISTAL: Thank you.
25 Appropriate Technology Limited. I did some work with 25              (Exhibit 12 marked for identification.)

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 1 them on registration matters in the '90s.                  1 Q. (BY MR. FAYNE:) Turn to page 25 of 41.
 2    Q. You think or you -- do you recall what those      2 Actually, let me strike that.
 3 6(a)(2) issues were, sitting here today?                3       Have you seen this document before?
 4    A. No, I don't. It's been a long time, but I         4    A. Yes, sir.
 5 think they were among the issues that we talked about.  5    Q. This is the final TNO report; is that correct?
 6    Q. But you're not sure sitting here today --         6    A. Final of several, yes.
 7    A. Yeah.                                             7    Q. But this was the final --
 8    Q. -- whether they were --                           8    A. As far as I know, this is the final.
 9    A. It's been a long time.                            9    Q. When you say "final of several," you mean there
10    Q. Have you ever published in a peer-reviewed       10 were several drafts before this --
11 journal about 6(a)(2) reporting requirements?          11    A. Yes.
12    A. No.                                              12    Q. -- final report; correct?
13    Q. Ever assisted EPA in evaluating the 6(a)(2)      13    A. Correct.
14 reporting requirements?                                14    Q. And I know, if you could let me finish my
15    A. No.                                              15 question.
16       MR. FAYNE: We can take a break now if this is    16    A. Sorry.
17 a good time to stop.                                   17    Q. And the study is titled "In vitro percutaneous
18       THE WITNESS: So is this lunch?                   18 absorption study with C14 glyphosate using viable rat
19       MR. KRISTAL: Yep.                                19 skin membranes"; correct?
20       VIDEOGRAPHER: Off the record at 12:04 p m.       20    A. Correct.
21          (A lunch was had from 12:04 p m.              21    Q. Would you turn to page 25 of 41.
22          to 1:13 p m.)                                 22    A. Okay. I'm there.
23       VIDEOGRAPHER: Back on the record at 1:13 p m.    23    Q. The second paragraph states, "In general, the
24    Q. (BY MR. FAYNE:) Welcome back.                    24 poor recoveries combined with the high variation within
25    A. Thank you.                                       25 the glyphosate test groups make the data generated in


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 1 this study unsuitable for risk assessment."                  1 study that I think are reliable for risk assessment
 2        Did I read that correctly?                            2 purposes.
 3    A. Yes, you did.                                          3    Q. Do you agree that the study overall was not
 4    Q. And you cite this statement in your report;            4 suitable for risk assessment purposes?
 5 correct?                                                     5    A. I think the -- as I said, I think there's
 6    A. I do.                                                  6 aspects of the studies that -- that were not changed
 7    Q. In other words, the study authors concluded            7 through the four drafts that I know of that were not
 8 that the data generated were unsuitable for risk             8 highlighted as problematic. There are certainly other
 9 assessment. Do you agree with that?                          9 aspects of the study that are highlighted as a problem
10    A. Certain aspects of it.                                10 and a source of concern.
11    Q. Which aspects do you not agree with? Sorry,           11       So I -- you know, I recognize that -- that TNO
12 were you saying you agree with certain -- you were          12 in this last version made this statement that they
13 agreeing with the fact that the study authors stated        13 didn't -- they didn't feel that the study was up to
14 certain aspects were not reliable for --                    14 snuff for risk-assessment purposes, and in fact it's why
15    A. Correct.                                              15 they offered to reproduce the study or redo the study at
16    Q. -- regulatory purposes?                               16 no cost, to clear up any ambiguity about the findings.
17        Let me ask the question again just to make sure      17    Q. You state -- you just testified and you state
18 the record is clear.                                        18 in your report that TNO agreed to reproduce this study
19        The study authors concluded that the data            19 at no cost.
20 generated are unsuitable for risk assessment; agree?        20    A. Correct.
21    A. That's -- that's what they wrote, yes.                21    Q. What are you relying on for that statement?
22    Q. Do you have any basis to disagree with their          22    A. A MONGLY e-mail where -- let's see -- through
23 conclusion that it was not suitable for risk assessment?    23                    or         , one of the -- one of the
24    A. Just that there -- there are -- as they say,          24 Monsanto Europe scientists that were interacting with
25 they're highlighting poor recoveries as one issue.          25 TNO directly was reporting to his colleagues about a

                                                    Page 159                                                      Page 161
 1 There was also a lot of variability in some of the           1 recent interaction with TNO over the remaining questions
 2 autoradiography aspects of the study, which were             2 about certain aspects of the study.
 3 highlighted, but there were other aspects of the study       3    Q. So your testimony is that there is an e-mail,
 4 that weren't highlighted or discussed as problematic.        4 internal Monsanto e-mail, in which they report about
 5    Q. For the areas of the study that were                   5 conversations with TNO; is that correct?
 6 highlighted as problematic, do you have any basis to         6 A. Yes. There's several.
 7 disagree or any reason to disagree with the author's         7 Q. You're not aware of any e-mail from an employee
 8 conclusion that those aspects were not suitable for       8 or an agent of TNO suggesting that they would do the
 9 regulatory purposes?                                      9 study at no cost?
10    A. I think there's -- there is a history in these     10    A. No. Just Monsanto, a Monsanto employee
11 sorts of studies of poor recovery. Some of the           11 reporting that that's what he was told by TNO.
12 Monsanto-commissioned skin penetration studies had very 12     Q. Would you agree that TNO would not agree to
13 low recoveries. It's a -- it's a problem in aspect in    13 repeat a study at no cost if they didn't believe that
14 skin penetration studies that scientists that do this    14 there were issues with the first data generated in the
15 sort of work struggle with.                              15 first study?
16       So I agree that the recoveries in this report      16    A. You know, I think -- I think TNO was aware of
17 were -- were low or poor, but they weren't unprecedented 17 some of the issues with the recovery and the
18 in terms of other studies that have been done of this    18 autoradiography.
19 sort.                                                    19        There's a -- this back-and-forth with TNO went
20    Q. Do you agree with the study authors that this      20 on for over a year, and there's multiple e-mails in the
21 report -- that this study was unsuitable for risk        21 record of where Monsanto scientists are explaining to
22 assessment?                                              22 Donna Farmer or Bill Heydens or other Monsanto officials
23    A. That's their judgment of it, yes.                  23 what happened with the TNO study and what they -- what
24    Q. Do you agree with that judgment?                   24 they feel it found and the risks that it posed to the
25    A. I think there are -- there are aspects of this     25 future freedom to operate for glyphosate-based


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 1 herbicides in Europe. There's a -- yeah, there's a          1 come into play in answering your question.
 2 very -- there's an extensive back-and-forth about it.       2  Q. Sir, I'm asking you what testimony you intend
 3    Q. If you turn back to page 25 of the report, it       3 to offer at trial of this matter, and my question is
 4 also states that, "The properties of the formulation      4 whether you intend to testify that Monsanto had a legal
 5 made it difficult to quantify the exact amount applied    5 obligation to submit this report to EPA?
 6 onto the skin and to guarantee contact of the fluid with  6    A. I will certainly testify that Monsanto had an
 7 the entire skin surface."                                 7 obligation to submit one of the TNO reports. They
 8    A. Yes.                                                8 all -- all of them have the same core finding with the
 9    Q. And the next sentence states, "These problems       9 exception of the revision of the dermal penetration rate
10 may have caused the irregular recovery and the high      10 for the technical glyphosate concentrate.
11 variation of the absorption data"; correct?              11        There was a revision between the initial draft
12    A. Correct.                                           12 and the second draft in the skin penetration rate for
13    Q. So they're identifying a number of problems        13 the technical glyphosate from 1 point something, 1.12,
14 with the study; correct?                                 14 to .52. That was the only change in the core findings
15    A. Yeah. Potential problems, potential                15 of the report, and those core findings are stated in
16 explanations.                                            16 exactly the same way in all four versions, with the
17    Q. Would you agree that Monsanto was not required 17 exception of that -- that one revision that happened
18 to submit this final report? And right now I'm just      18 between the first draft and the second draft.
19 referring to the final report, that Monsanto is not      19        After the second draft, so in the third and
20 required to submit this final report to EPA?             20 fourth, that number also did not change. So what I
21    A. Well, they -- I don't think they would be          21 regard as the core findings and the most important
22 required to submit the final report had they submitted   22 findings and certainly the most important findings to
23 the first draft report, which they surely were required  23 Monsanto in terms of the perceived threat to
24 to submit.                                               24 glyphosate's freedom to operate in Europe, was those
25    Q. We'll get to that in a second.                     25 core findings, which did not change from one version of

                                                  Page 163                                                       Page 165
 1    A. Okay.                                                 1 the report to the final version.
 2    Q. But just relying -- referring just to this            2    Q. We were discussing previously that in this
 3 final report in which the study authors conclude that       3 final report, the study authors identified a number of
 4 the study is unsuitable for risk assessment; correct?       4 problems with the study that made it unsuitable for risk
 5    A. I think -- I'm not -- so I'm understanding your       5 assessment; correct?
 6 question to be just about this version of the report,       6    A. That is what they say, yes.
 7 notwithstanding what happened with the earlier versions,    7    Q. Were those same issues present in the prior
 8 and I -- I really don't know the details of the regs        8 version of the study?
 9 well enough to say whether they would be obligated to       9    A. Not all of them. The discussion of the
10 submit the study anyway given that there were some         10 problems, I don't believe there was really any in the
11 issues with it. I'd have to look at that in more depth.    11 initial draft. I think there was some in the second
12    Q. That's because you're not familiar enough with       12 draft, quite a bit more in the third draft, and
13 the regulations to say one way or the other, sitting       13 not -- not many changes between three and four.
14 here today, whether this should have been reported;        14    Q. And I'm not asking you about the discussion of
15 correct?                                                   15 the problems. I'm asking you about the problems with
16    A. It's just this is a -- a thorough answer to          16 the data itself.
17 that question would require me to refresh my memory        17        They didn't recreate the study; correct?
18 about which aspects of the study they've acknowledged in   18        They generated data once and then wrote several
19 the body of the report.                                    19 drafts --
20        This is the -- this is the conclusions page.        20    A. Correct.
21 This is the end of it. In the body of the report, they     21    Q. -- of the report; right?
22 actually talk about in more detail what some of the        22    A. Right. It was the interpretation of the same
23 problems were, and I would have to evaluate whether        23 set of analytical results.
24 those -- those problems, you know, rendered the whole      24    Q. So the data issues they identified in this
25 report unreliable, or just aspects of it. That would       25 final report, those would have been present for the


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 1 first draft, the second draft, the third draft, et               1 Yeah, here. Here they are.
 2 cetera; correct?                                                 2         So there's quality assurance statement on
 3    A. Correct. I understand what you're getting at               3 page 6. There's a statement of GLP compliance on
 4 now. Yes.                                                        4 page 5. There's a testing facility acknowledgment on
 5    Q. So fair to say that the study authors would                5 page 8, and a GLP compliance monitoring unit statement
 6 have reached the same conclusion with respect to                 6 on page 7.
 7 draft one, that it was not suitable for risk assessment          7    Q. And sorry to -- sorry to interrupt, but you're
 8 purposes; correct?                                               8 looking at the final report; correct?
 9    A. No, I can't -- I can't say that. I mean, it's              9    A. Oh, okay.
10 a hypothetical.                                                 10    Q. I'll --
11        After this series of communications with                 11    A. Yes.
12 Monsanto that extended over a whole year where Monsanto         12    Q. I'm going to mark as Exhibit 13 --
13 was extremely upset about the findings of the study,            13    A. Now, don't you be tricking me that way.
14 didn't want to -- didn't believe them, felt that there          14    Q. I wasn't trying to, trust me.
15 was something wrong with the study, at the end of that          15      MR. FAYNE: I'm going to mark as Exhibit 13 the
16 discussion, the TNO people agreed to put in this                16 June 14th, 2002, draft TNO report.
17 paragraph that said they didn't -- they felt that the           17      MR. KRISTAL: Thank you.
18 poor recoveries and some of the other problems with the         18         (Exhibit 13 marked for identification.)
19 study render it unsuitable for risk-assessment purposes.        19      THE WITNESS: Okay. I have this in front of
20        That's -- that's what TNO has said. TNO did              20 me.
21 not retract the empirical findings, the core empirical          21   Q. (BY MR. FAYNE:) So if you turn to page 4 of
22 findings, which I would have expected them to do if they        22 35, you'll see that there's a statement of GLP
23 felt they were unreliable.                                      23 compliance. Do you see that?
24    Q. In the final report, TNO identifies poor                  24   A. Yes.
25 recoveries; correct?                                            25   Q. And you see that the statement of GLP

                                                       Page 167                                                    Page 169
 1    A. Correct.                                                1 compliance was not signed by the study director.
 2    Q. Those poor recoveries would have existed at the         2    A. Correct.
 3 time of the first draft of that report; correct?              3    Q. Correct?
 4    A. Correct.                                                4    A. Correct.
 5    Q. TNO also identifies in the final report high            5    Q. You would agree with me that GLP compliance
 6 variation within the test groups; correct?                    6 statements are an important part of any GLP study?
 7    A. Correct.                                                7    A. Of course.
 8    Q. That high variation would have been present at          8    Q. It allows the -- anyone reading the study to
 9 the time of the first draft of the report as well, too;       9 understand that it was conducted pursuant to good
10 correct?                                                     10 laboratory practices; correct?
11    A. Correct.                                               11    A. Correct.
12    Q. You've testified today and stated in your draft        12    Q. And until the study director signs that
13 report -- or, excuse me. Strike that.                        13 statement, there's no guarantee that the study has been
14       You testified today and stated in your report          14 conducted in accordance with good laboratory practices;
15 that your opinion is that Monsanto should have submitted 15 correct?
16 the draft TNO report; correct?                               16    A. Well, certainly not from the laboratory.
17    A. Yes, sir.                                              17    Q. Can you turn to page 5 of 35? There's a
18    Q. You agree that that draft report did not have a        18 quality assurance statement. Do you see that?
19 signed GLP compliance statement; is that correct?            19    A. Yep.
20    A. No, I don't agree with that.                           20    Q. And about two-thirds down the page there's a
21    Q. Okay. Why don't we --                                  21 statement about the report being audited; correct?
22    A. Yeah. Let's take a look. There's a -- there's          22    A. Yes.
23 a bunch of forms at the beginning of it, at least in the     23    Q. And that section is not filled out yet because
24 beginning of the one that I...                               24 this report --
25       So I guess the signed -- those signed -- wait.         25    A. Right.

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 1    Q. -- had not yet been audited; correct?                  1 study were unsuitable for risk assessment; correct?
 2    A. Correct. It states right upfront it's the              2    A. Yeah, they said -- you know, they said data
 3 unaudited draft report.                                      3 that was generated in the study was unsuitable.
 4    Q. Would you agree with me that the data that the         4    Q. So if the data generated in the study was
 5 study authors relied upon in the final report were the       5 unsuitable, wouldn't that suggest that the core findings
 6 same as the data that they were relying upon in this         6 of the study were unsuitable?
 7 draft report? Correct?                                       7    A. If TNO had felt all of the data was unsuitable,
 8    A. They -- they re-did a few of the calculations,         8 I think they would have deleted the findings from the
 9 and they -- as I said, they did make an adjustment in        9 study.
10 one of the core findings, but that was done between         10    Q. What's your basis for speculating that TNO
11 draft report number 1 and the second version and did not    11 would have deleted the findings from the study?
12 change in the subsequent two versions.                      12       MR. KRISTAL: Objection to the form.
13    Q. Between draft report number 1 and the final           13    A. If they felt that they were unreliable and
14 report, TNO didn't conduct any new primary studies;         14 unsuitable for any use, including risk assessment, they
15 correct?                                                    15 would have deleted the -- deleted the findings.
16    A. Yes, sir. That's my understanding.                    16    Q. How do you know that TNO would have deleted the
17    Q. As I understand your report, your opinion is          17 findings?
18 that draft reports such as this draft TNO report should     18    A. How do I know? Well, I guess I don't. I'm not
19 be submitted to EPA; correct?                               19 part of their organization. I don't know what their
20    A. Yeah. It would fall under the category of a           20 policies are.
21 preliminary report. That's the term that EPA uses           21       But just a read of their studies, it is pretty
22 in -- or maybe it's from the U.S. Congress -- in the        22 clear the areas of the study where there were issues
23 6(a)(2) statute.                                            23 that were discussed between the Monsanto scientists and
24    Q. So based on your review of the statute and            24 the TNO scientists, issues which were identified in the
25 presumably EPA's regulations, it's your opinion that        25 later versions of it as -- in particular, the poor

                                                  Page 171                                                          Page 173
 1 Monsanto had a legal obligation to submit this report?       1 recoveries and the -- some issues with the
 2    A. Yes.                                                2 autoradiography. Those are discussed in increasing
 3    Q. So your view is that EPA would have wanted to       3 detail in the third and then final version of the
 4 rely on this draft report over the final report which     4 report.
 5 said that it was not suitable for risk-assessment         5        But there's -- there's no discussion in any of
 6 purposes?                                                 6 the versions of the reports about the core main
 7    A. I didn't say that.                                  7 findings. And my -- my sense is that, if they had felt
 8    Q. So do you agree that the final report is more       8 that those findings were also incorrect, that they would
 9 important to EPA's review of glyphosate?                  9 have changed them or deleted them.
10    A. Typically final reports are more refined and       10    Q. In paragraph 17 of your report, you
11 often include additional analyses that may have been     11 state -- and you're welcome to turn to it, but you
12 done between when the initial draft report was done, but 12 probably don't need to. I'll read it to you. You can
13 I think the critical feature of the TNO -- this TNO      13 tell me if you need to turn to it.
14 project and report was that the core findings, the most  14        MR. KRISTAL: Well, he's not going to be able
15 important findings, the findings that were of great      15 to acknowledge if you read it correctly unless he's
16 concern to Monsanto, did not change between the initial 16 memorized --
17 draft report and the fourth -- the final version, with   17        MR. FAYNE: Okay.
18 the exception of the one number that I mentioned         18        MR. KRISTAL: -- the report.
19 already.                                                 19        THE WITNESS: So are we talking page 17?
20    Q. And those core findings are the same findings      20        MR. FAYNE: Paragraph 17. Go ahead.
21 that TNO said in the final report were unsuitable for    21        THE WITNESS: Okay. Won't take me long to get
22 risk assessment; correct?                                22 there. Okay. I'm there, sir.
23    A. They didn't specifically say that those            23    Q. (BY MR. FAYNE:) You state, "At several stages
24 findings were unsuitable.                                24 in the regulatory history of glyphosate and Roundup
25    Q. They did say that the data generated in the        25 brand herbicides, this report documents episodes in


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 1 which I conclude Monsanto failed to meet obligations         1 is that by not repeating the mouse study in the 1980s,
 2 imposed on it by federal law and EPA regulations."           2 Monsanto was in violation of EPA regulations; correct?
 3       Did I read that correctly?                             3    A. When -- when the agency puts a requirement in a
 4    A. Yes.                                                   4 registration standard document and states that it must
 5    Q. I understand from your prior testimony today           5 be done by a particular date, if a registrant doesn't do
 6 that you contend that Monsanto should have submitted the     6 that, then they haven't followed an EPA requirement,
 7 Parry report and TNO study to EPA; correct?                  7 yeah.
 8    A. Correct.                                               8    Q. Are you aware of whether EPA ever made a
 9    Q. Other than those two events, can you identify          9 finding that EPA was in violation of a regulatory
10 for me any other action that you claim Monsanto took        10 requirement?
11 that violated federal law or EPA regulations?               11    A. You mean that Monsanto was in violation?
12    A. In the 1986 registration standard, EPA imposed        12    Q. Yeah. Let me restate the question. Thank you.
13 on glyphosate registrants -- which at the time were only    13    A. Okay.
14 Monsanto -- a requirement to add a number of worker         14    Q. Are you aware of whether EPA ever made a
15 safety provisions onto the label. They gave them until      15 finding that Monsanto was in violation of a regulatory
16 June of 1988, I believe. I don't remember the exact         16 requirement?
17 date. It's in my report. Monsanto refused to add those      17    A. You know, I don't -- I'm not aware of a -- I
18 additional worker safety provisions onto the label, and     18 guess I am aware that there were -- there were formal
19 to this date they're not on the label.                      19 findings on some inappropriate advertising that the
20       EPA requested Monsanto to do a repeat mouse           20 enforcement division of EPA investigated and forced
21 oncogenicity study to resolve the issues in the 1983        21 Monsanto to change the content of some advertising which
22 Bio/dynamics study. Monsanto refused to conduct that        22 was not in compliance with EPA regulations for truthful
23 study. After the resectioning of the slides and the         23 advertising. I think there was maybe four episodes of
24 even deeper controversy over the 1983 study, EPA            24 that; one or two in Iowa, a couple in New York, and
25 designed a special study designed to resolve the kidney     25 maybe one or two others.

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 1 tumor issue in the Bio/dynamics mouse study, and             1    Q. So I'll come back to that later. I'm referring
 2 Monsanto refused to carry that study out.                    2 specifically to the two violations that you asserted a
 3       In the reregistration -- again, the                    3 few minutes ago. So the first -- strike that.
 4 registration standard document of 1986, Monsanto called      4       You testified that Monsanto was in violation of
 5 for a repeat mouse and a repeat rat study, and               5 EPA regulations by not adding the worker safety language
 6 they -- the mouse study was not done. There was a rat        6 from the 1986 registration standard; correct?
 7 study underway that was subsequently submitted to EPA        7    A. When EPA establishes a requirement in a
 8 and which satisfied that data requirement. Those are         8 registration standard and states that it should be done
 9 the main ones that I can recall.                             9 by X date, if the registrant doesn't do that, then, yes,
10    Q. So let me just parse that very briefly. You           10 they would be in violation of a requirement in a
11 contend that Monsanto violated EPA regulations by not       11 registration standard, and it's part of EPA regulations
12 adding the worker safety provisions set forth in the        12 that registrants have to do what's in a registration
13 1986 registration standard; correct?                        13 standard to maintain their registrations.
14    A. Correct.                                              14    Q. Are you aware of whether EPA ever made a
15    Q. You contend that Monsanto violated the EPA            15 finding in connection with that 1986 registration
16 regulations by failing to resolve the issues in the 1983    16 standard that Monsanto was in violation of the labeling
17 Bio/dynamics study; correct?                                17 requirements?
18    A. Well, failing to repeat it. That was the first        18    A. I'm not aware if they did or not.
19 request that EPA made of Monsanto, but -- and then there    19    Q. You also testified that you believe Monsanto
20 was a subsequent request to do this more -- this sort of    20 was in violation of the EPA regulations for refusing to
21 specially designed and statistically powerful study to      21 conduct the repeat mouse study in the 1980s; correct?
22 settle the issue over the kidney tumors, and those are      22    A. Correct.
23 the primary ones that I spend -- you know, that I           23    Q. Are you aware of whether EPA ever made a
24 discuss in my report.                                       24 finding that Monsanto was in violation of the EPA
25    Q. So just to make sure I'm clear, your contention       25 regulations in connection with that event?


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 1    A. No, I don't -- I don't believe they ever made a       1       MR. KRISTAL: You mean the actual label? Label
 2 finding. It was just a debate over mouse oncogenicity,      2 can mean advertising, marketing.
 3 you know, that has persisted now for 30 years.              3       MR. FAYNE: Sure.
 4    Q. Do you have any knowledge of the communications       4    Q. (BY MR. FAYNE:) So EPA -- Monsanto couldn't
 5 between Monsanto -- strike that.                            5 put language on the label of its pesticide product
 6       In your report you detail a number of                 6 without EPA approval; correct?
 7 communications between Monsanto and EPA in the 1980s;       7    A. Yes. That's correct.
 8 correct?                                                    8    Q. EPA will not approve a label unless, in its
 9    A. Yes.                                                  9 view, the label directions and safety precautions are
10    Q. Some of those relate to the 1986 registration        10 sufficient to ensure that the pesticide will not cause
11 standard; correct?                                         11 any unreasonable adverse effect on man or the
12    A. Yes. Yes.                                            12 environment; correct?
13    Q. And as we were just discussing in that               13    A. That's the basic standard in the FIFRA statute,
14 registration standard, EPA set forth a requirement for     14 and it's certainly the goal and the hope of EPA and
15 certain labeling provisions related to worker safety;      15 registrants that all provisions that go onto labels will
16 correct?                                                   16 achieve that.
17    A. Correct.                                             17       But in the case of the worker safety provisions
18    Q. Other than what you've spelled out in your           18 in the 1986 registration standard which EPA felt were
19 report, are you aware of any other conversations or        19 required to and justified to reduce applicator,
20 communications between EPA and Monsanto regarding the      20 mixer/loader exposures, those -- those were never put
21 labeling requirements in the 1986 registration standard?   21 onto the label because Monsanto refused to do so, argued
22    A. Yes.                                                 22 that they weren't needed, argued that there was a
23    Q. What communications?                                 23 generic revision of the worker safety standard that was
24    A. Well, dialogue that went on between the 1986         24 moving through the system and that any final action on
25 registration standard and the 1993 R.E.D. I mean, it       25 additional worker safety provisions on the labels should

                                                   Page 179                                                           Page 181
 1 was an ongoing discussion about what additional worker      1 be deferred until that was completed, and on and on and
 2 safety provisions should be on all of the Roundup           2 on.
 3 labels.                                                     3        And, you know, basically Monsanto disagreed
 4    Q. So you agree that there was an ongoing                4 with the EPA over the need for any additional worker
 5 discussion --                                               5 safety provision, so there's really no substantial
 6    A. Oh, yes.                                              6 additional worker safety provision put on a -- on a
 7    Q. -- between Monsanto and EPA about what language       7 Roundup label that I'm aware of since the mid '80s.
 8 should go on the label; correct?                            8        So EPA thought additional provisions were
 9    A. Correct.                                              9 justified and said so in the 1986 registration standard,
10    Q. And you would agree with me that you're not          10 and they were -- and Monsanto did not feel they were
11 aware of every conversation or communication between       11 justified, and EPA didn't -- did not feel it was
12 Monsanto and EPA related to that subject; correct?         12 warranted to start a cancellation action over that
13    A. Well, I certainly am sure there were many            13 disagreement, and so they never appeared on the label.
14 face-to-face meetings where there's no record of what      14    Q. You would agree with me that ultimately EPA
15 was -- what transpired, you know, during the meeting.      15 accepted Monsanto's position. Otherwise, they would not
16 So, yes, I couldn't possibly be aware of all of them.      16 have approved Monsanto's labels; correct?
17    Q. Would you agree with me that ultimately EPA          17    A. I can't think of a -- of a single case where
18 must approve every label on a formulated pesticide         18 EPA cancelled the registration of a pesticide over, you
19 product?                                                   19 know, a work -- you know, a single worker or a, you
20    A. Well, every new label that is approved and then      20 know, a half dozen worker safety provisions. It just --
21 eligible to go on a pesticide product, yes.                21 it never was done. I'm not aware of any example of
22    Q. So Monsanto couldn't label its products with         22 that.
23 certain language unless it had EPA's approval to do so;    23       And I clearly don't -- I think it would be hard
24 correct?                                                   24 for me to imagine how EPA could justify or politically
25    A. Correct.                                             25 withstand the reaction if they had tried to cancel


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 1 Roundup over those -- those -- that page and a half of       1 at any one time over the history of glyphosate-based
 2 additional worker safety provisions that Monsanto            2 herbicides manufactured and sold by Monsanto, there's
 3 refused to put on its label.                                 3 probably 90 percent of the volume is from six or so
 4        So EPA had a choice, and they -- they were not        4 different formulations, or very modest changes in them.
 5 willing to exercise their legal right to initiate a          5    Q. Anytime Monsanto, or any pesticide
 6 cancellation action, and so Monsanto prevailed in            6 manufacturer, introduces a new end-use product, they
 7 that -- in that event.                                       7 have to get approval from the EPA for the label;
 8    Q. Just to understand -- strike that.                     8 correct?
 9        Just to make sure I understand your testimony,        9    A. That's correct.
10 you're suggesting that if EPA had stated that it was        10    Q. So any time after 1986 that Monsanto wanted to
11 going to cancel the pesticide registration if Monsanto      11 introduce a new glyphosate-based product, it would have
12 didn't put the worker safety language on the label, that    12 to get approval from the EPA for the label on that
13 Monsanto would have played a game of chicken and waited     13 product; correct?
14 for EPA to cancel the registration?                         14    A. Correct.
15    A. Well, that -- that is the only -- that would be       15    Q. Isn't it the case, Dr. Benbrook, that the EPA
16 the only option that -- given that it's Monsanto's          16 could reject any of those applications for a new end-use
17 responsibility to generate the labels and to also write     17 product if it didn't agree with the worker safety
18 any alternative label language in a label amendment, the    18 language on the product label?
19 changes on the label have to come from Monsanto and be      19    A. Yeah, technically they could, but what -- what
20 submitted to EPA.                                           20 would be the point, because the existing registrations
21        Monsanto was unwilling to propose adding the         21 would stay on the books and be active? It wouldn't end
22 additional worker safety provisions on any of the           22 the use of the -- of the herbicide.
23 Roundup labels. EPA could have initiated a cancellation     23    Q. But without EPA approval, Monsanto wouldn't be
24 action for Monsanto's failure to comply with a              24 able to introduce new glyphosate-based products;
25 requirement in the 1986 registration standard. They         25 correct?

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 1 were clearly within their rights to do that.                 1 A. Yeah. If the EPA denied an application for a
 2        They could have done it, but they did not do       2 new version of Roundup, they could do that, yes.
 3 it, and in my professional judgment, they did not do it   3    Q. Are you aware of the EPA ever denying an
 4 because they felt that it was not a significant enough    4 application for a new version of Roundup based on
 5 of a concern to entail the administrative and political   5 failure to include the worker safety language from the
 6 cost of trying to cancel a widely-used herbicide.         6 1986 registration standard?
 7     Q. Is your testimony that if EPA does not agree       7    A. I know there were -- there were a few requests
 8 with the language that a pesticide manufacturer proposes  8 that didn't go through. I can't -- I can't recall
 9 for its label, its only option is to cancel the           9 whether they were just label amendments or wholly-new
10 registration?                                            10 products, and I don't recall whether the worker safety
11     A. Well, so you're talking about a situation where   11 provisions or lack thereof was the primary reason or one
12 there is an existing registration, a valid federal       12 of the reasons. I'd have to research the registration
13 registration for -- for a glyphosate-based herbicide.    13 file to answer that.
14 If -- if Monsanto chose not to add the, say, the worker  14    Q. So sitting here today, you cannot say that
15 safety provisions that were in the '86 registration      15 you're aware of any instance in which EPA denied an
16 standard onto that label, that label remains in effect   16 application for a new version of Roundup based on
17 and the herbicide could continue to be used until such a 17 failure to include the worker safety language from the
18 point in time when EPA initiated a cancellation action   18 1986 registration --
19 and actually, you know, carried it through to the end.   19    A. Yeah, that's what I said. I can't -- I can't
20     Q. There are hundreds of Roundup formulations;       20 think of one. I'm not -- I'm not convinced that there
21 correct?                                                 21 aren't any, but I can't think of them.
22     A. There are something on the order of 125           22    Q. I'd like to go to paragraph 391 of your report.
23 registered products. There are clearly not a hundred     23    A. I'm there.
24 different formulations. Many different products have     24    Q. So this is your discussion of the new worker
25 essentially the same formulation. There's probably --    25 safety language --


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 1    A. Yes.                                                1    Q. You also don't know what products Mr. Hardeman
 2    Q. -- in the 1986 registration standard; correct?      2 used; correct?
 3    A. Uh-huh. Correct.                                    3    A. Correct.
 4    Q. And paragraph 391, you note the EPA's primary       4    Q. Or what products Mr. Gebeyehou used?
 5 concern that led to their decision to include this        5    A. Also correct.
 6 language in the registration standard document was eye    6    Q. You agree that EPA has sole authority within
 7 and skin irritation; correct?                             7 the federal government to approve pesticide
 8    A. Correct.                                            8 registrations; correct?
 9    Q. Not cancer; correct?                                9    A. What -- EPA does provide some authority to
10    A. Correct.                                           10 state departments of agriculture to do certain
11    Q. Turn to page 398.                                  11 state-specific registrations, but that authority is in
12    A. Paragraph 398.                                     12 effect transferred from the EPA, so I think we're in
13    Q. I'm sorry.                                         13 agreement.
14    A. It's all right.                                    14    Q. So you agree that EPA has sole authority within
15    Q. I'll get it right one of these times.              15 the federal government to approve pesticide
16    A. You got it right the time before.                  16 registrations; correct?
17    Q. You quote from the registration standard           17    A. Yes.
18 document; correct?                                       18    Q. And that means every pesticide sold and
19    A. We're talking 399?                                 19 distributed in the United States must be registered and
20    Q. 398.                                               20 approved by EPA; correct?
21    A. Oh, okay. Yes.                                     21    A. Correct.
22    Q. And you quote from that document that, "Worker 22        Q. We were discussing previously that EPA has
23 safety rules must appear on end-use products containing 23 authority to cancel or suspend a pesticide registration;
24 glyphosate, except for those labeled for homeowner use 24 correct?
25 only"; correct?                                          25    A. We spoke about that some, yes.

                                                 Page 187                                                         Page 189
 1    A. Correct.                                              1    Q. And you state in your report at paragraph 179
 2    Q. And that is consistent with the current EPA           2 that, "As of 1994, cancer risk was the most commonly
 3 regulations which require worker safety statements only     3 cited reason for pesticide cancellation and suspension
 4 on products that bear directions for use in agriculture;    4 actions."
 5 correct?                                                    5    A. Correct.
 6    A. There's a lot in that question. In the                6    Q. Has the EPA ever cancelled or suspended the
 7 registration standard this language was not required on     7 registration of glyphosate?
 8 the home use end-use products that had a very low           8    A. No.
 9 concentration. I believe 3 percent was the cutoff,          9    Q. Would you agree with me that EPA endeavors to
10 so...                                                      10 apply a health-protective approach when it evaluates
11    Q. So you agree that under the 1986 registration        11 pesticides?
12 standard, Monsanto was not required to add the new         12    A. Not always.
13 worker safety language on products labeled for homeowner   13    Q. So your testimony is that EPA does not always
14 use only; correct?                                         14 apply a health-protective approach?
15    A. Correct. Yes.                                        15    A. Correct.
16    Q. Do you know whether the glyphosate-based             16    Q. In what circumstances does it not apply a
17 products used by Mrs. Stevick were labeled for homeowner   17 health-protective approach?
18 use only?                                                  18    A. A highly -- in the case of contested regulatory
19    A. I didn't -- as I said in the beginning, I've         19 actions, EPA has been forced politically to reach
20 not reviewed any case-specific information.                20 comprises with registrants to bring about a degree of
21    Q. So you do not know whether the glyphosate-based      21 risk reduction when in fact the agency would have
22 products used by Mrs. Stevick were labeled for homeowner   22 preferred and felt that a greater degree of risk
23 use only; correct?                                         23 reduction was probably warranted.
24    A. I don't know what products she used so I can't       24        The EPA -- the regulatory process and the
25 answer the question.                                       25 interactions with registrants on high-risk pesticides,


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 1 it is a bit of a dance, and EPA doesn't always get          data requirement. The special study that was designed
                                                               1
 2 everything that it feels is justified or warranted.       2 by EPA to resolve the lingering uncertainty over the
 3       And so, you know, I -- I do believe that EPA        3 kidney tumors, that -- that's not a study that was part
 4 has fallen short of bringing about the degree of risk     4 of the core data requirements. It would be an
 5 reduction that -- that certainly their own reports seem   5 additional study.
 6 to consider justified.                                    6    Q. EPA also has authority to require registrants
 7    Q. You would agree that under FIFRA, EPA is            7 to submit additional studies and data; correct?
 8 required to ensure that any pesticide registered for use  8    A. Correct.
 9 in the United States does not pose an unreasonable risk   9    Q. So EPA is not limited by the data requirements
10 to human health or the environment. Is that fair?        10 in Part 158; fair?
11    A. That's the basic standard for adverse effect,      11    A. Correct.
12 is the term of art, not risk.                            12    Q. If EPA doesn't believe the information required
13    Q. And you would also agree with me that under the 13 under Part 58 -- 158 is sufficient to evaluate the
14 Food Quality Protection Act of 1996, EPA must find that 14 potential of a product to cause harm, it can require
15 a pesticide poses a, quote/unquote, reasonable certainty 15 that additional data be submitted; fair?
16 of no harm before it can be registered for use on food;  16    A. Very -- very true.
17 correct?                                                 17    Q. And that could be through a formal data call-in
18    A. Correct. Well, it's actually they have to          18 or a more informal request to the registrant; correct?
19 determine that there's a reasonable certainty of no harm 19    A. Correct.
20 from establishing a pesticide tolerance. The tolerance   20    Q. EPA can also waive data requirements; correct?
21 must be in place before EPA will consider a registration 21    A. Correct.
22 application authorizing the use of the pesticide on the  22    Q. And it might do that if the data might not be
23 food crop for which the tolerance applies.               23 useful to the agency's evaluation?
24    Q. Okay. In your prior depositions you've been        24    A. Yeah. Because, for example, they have a very
25 asked about EPA's data requirements; correct?            25 similar study.

                                                   Page 191                                                       Page 193
 1    A. Yes.                                                  1    Q. Right. So they might have a similar study or
 2    Q. And I don't want to go through those at length        2 it might be an irrelevant route of exposure; correct?
 3 again today, but EPA does have a prescribed set of data     3    A. Correct.
 4 requirements for pesticide registration; correct?           4    Q. I'd like to turn now, since we've been talking
 5    A. Yes.                                                  5 about it a bit already, to your discussion of the 1983
 6    Q. And those cover a number of different areas           6 mouse study --
 7 such as product performance, toxicology, human exposure;    7    A. Okay.
 8 correct?                                                    8    Q. -- which starts on page 64 of your report.
 9    A. They -- there's no longer any requirement for         9    A. Yes, sir. I'm there.
10 product performance data except in the case of             10    Q. So this section refers to the long-term cancer
11 antimicrobial pesticides. That used to be part of the      11 study in mice that Monsanto submitted to EPA in 1983;
12 requirements but it dropped out I think in the '72 or      12 correct?
13 '78 amendments to FIFRA.                                   13    A. Yes.
14    Q. And as I understand, both from your expert           14    Q. And you state on page 4 of your report that
15 report and your prior deposition testimony, you do not     15 this -- sorry. Page 4, paragraph 6(b).
16 intend to testify that Monsanto failed to comply with      16    A. I'm there.
17 mandatory data requirements that are set forth in the      17    Q. That this was the first valid chronic -- first
18 regulations at Part 158; is that correct?                  18 chronic -- sorry, first valid chronic oncogenicity study
19    A. With the exception of the circumstances and          19 on glyphosate; correct?
20 incidents that I've already discussed relative to the      20    A. Yes.
21 replacement of the mouse onco study, replacement rat       21    Q. So you agree that the 1983 long-term cancer
22 study, and the study that was -- the special study that    22 study in mice was a valid study?
23 was designed.                                              23    A. Yes.
24       You know, one could -- certainly the                 24    Q. So going back to Section 6 of your report where
25 replacement rat study would have been a core -- a core     25 we just were. This is on page 64.


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 1    A. Got it.                                               1    Q. So the kidney slides were resectioned and
 2    Q. So in this section, you summarize in detail the       2 reevaluated; correct?
 3 back-and-forth between Monsanto and EPA. Is that a fair     3    A. Monsanto took it upon themselves to do it and
 4 characterization?                                           4 was hopeful that that would reopen the consideration of
 5    A. Yes.                                                  5 the renal tubular adenomas in the mouse study.
 6    Q. Summarize documents from the public record and        6    Q. The agency also convened a scientific advisory
 7 internal Monsanto e-mails; true?                            7 panel to evaluate the study; correct?
 8    A. Correct. Most of the material on the 1983             8    A. Actually a couple of them, but yes.
 9 Bio/dynamics study is in the public -- in the public        9    Q. And so over this period of time, which spanned
10 domain. EPA cleared dozens of documents, and I -- I had    10 from roughly 1983 through 1986, is it fair to say that
11 already downloaded those and studied them for other        11 EPA engaged multiple experts to review this study?
12 projects that I've been involved with.                     12    A. No. No. Monsanto did. Monsanto convened
13    Q. I know you've testified about these events in        13 several consultants to support its arguments to the
14 prior depositions, so I just want to walk through a few    14 agency, but the number of people inside EPA that looked
15 aspects of it, if that's okay.                             15 at the study, that didn't change much. It was Lacayo
16    A. That would be fine.                                  16 and Reto Engler and Kasza, the pathologist, and Dykstra.
17    Q. You state in paragraph 277 of your report that       17 They were -- and Farber, of course, was the deputy, the
18 "Bio/dynamics concluded in its report that the slightly    18 head of the division. That cast of characters didn't
19 increased incidence of adenomas in the high-dose males     19 change much in the five-year period.
20 was considered spurious and unrelated to glyphosate        20    Q. Would you agree with me that EPA as a body
21 administration."                                           21 devoted a tremendous amount of time and attention to
22       Did I read that correctly?                           22 this single study?
23    A. Yes, you did.                                        23        MR. KRISTAL: Objection.
24    Q. EPA initially reviewed the Bio/dynamics report       24    A. Absolutely.
25 and disagreed with that conclusion; correct?               25    Q. Do you contend that Monsanto made any material

                                                   Page 195                                                     Page 197
 1    A. That's correct.                                       1 misrepresentation to the agency in connection with the
 2    Q. So EPA did not simply accept Monsanto's               2 1983 mouse study?
 3 interpretation of the results; it pushed back on them?      3    A. What do you mean by "material"?
 4    A. It did.                                               4    Q. Let me take out the word "material." Do you
 5    Q. And then as you summarize here -- and again, I        5 contend that Monsanto misrepresented any fact to the
 6 don't want to walk through this in too much detail          6 agency in connection with that 1983 mouse study?
 7 today, but that set off a long series of back-and-forth     7    A. Well, yeah, they did some.
 8 between Monsanto and the agency; fair?                      8    Q. What did they misrepresent?
 9    A. Absolutely fair.                                      9    A. They clearly -- in Frank Serdy's letter back to
10    Q. Monsanto submitted several letters setting           10 I can't remember if it was Doug Campt, but one of the
11 forth its position; correct?                               11 officials in the chain of command, he represented that
12    A. Correct.                                             12 all of the consulting experts that Monsanto invited to
13    Q. EPA provided responses in various letters and        13 the SAP meeting testified that there was no basis or
14 memoranda; correct?                                        14 justification to do a repeat mouse study, when none of
15    A. Yes.                                                 15 them said anything about that.
16    Q. EPA convened multiple meetings of senior             16    Q. Other than that incident that you just referred
17 scientists?                                                17 to, can you think of any other misrepresentation that
18    A. Correct.                                             18 Monsanto made to the agency in connection with the 1983
19    Q. Monsanto representatives met with the EPA on         19 mouse study?
20 multiple occasions?                                        20    A. I think it's fair to say that Monsanto often
21    A. Yes.                                                 21 provided EPA with information that deviated from what
22    Q. EPA requested that the kidney slides be              22 the agency had actually requested. It was sort of in
23 resectioned and reevaluated; correct?                      23 addition to and not fully responsive, but I don't think
24    A. That is an outcome that occurred. It was not         24 that would rise to the threshold that you've embedded in
25 initiated by EPA.                                          25 your question of purposely misleading.


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 1    Q. So other than the statement that you referred          1 identified.
 2 to about -- strike that.                                     2       So it's an example of where Monsanto really
 3       So other than Frank Serdy's statement about            3 didn't do what EPA asked it to do and sort of muddied
 4 what various members of the SAP testified, you're not        4 the water by including historical control data from
 5 aware of any misrepresentation by Monsanto in connection     5 other labs, which basically EPA wasn't going to pay much
 6 with this mouse study; correct?                              6 attention to anyway.
 7    A. I think the -- the word "misrepresentation" is         7    Q. But you don't contend that Monsanto manipulated
 8 a fluid one, and I think the zeal with which Monsanto        8 or misrepresented the historical control data; correct?
 9 always represented information about this 1983 mouse         9    A. No, didn't say that.
10 study to the EPA was so consistently biased in favor of     10    Q. And my question to you is whether Monsanto
11 and in the direction of Monsanto's read of the study and    11 misrepresented any fact, and so far I haven't heard one
12 hoped for evaluation of the study by -- by EPA that I       12 that they've misrepresented, but correct me if that's
13 think it could be characterized as really getting into      13 wrong.
14 the misrepresentation category.                             14       MR. KRISTAL: Objection to the form of the
15    Q. You would agree with me that it's not unusual         15 question.
16 for registrants to communicate with EPA about a             16    A. I've already discussed the one example in the
17 particular study; correct?                                  17 record that I would -- where there is clear evidence
18    A. No, it's -- it's common.                              18 that Monsanto did misrepresent facts.
19    Q. It's also common that registrants would try to        19    Q. So you would agree that other than that one
20 persuade the agency that their interpretation of the        20 example, there's not clear evidence that Monsanto
21 data was correct?                                           21 misrepresented a fact; correct?
22    A. That is also common.                                  22    A. There's not clear evidence that I've had a
23    Q. And are you contending today that trying to           23 chance to review yet. I would certainly not sit here
24 persuade the agency amounts to misrepresentation?           24 and say that there isn't clear evidence in the record.
25    A. It depends on how far it goes and what tactics        25    Q. Let's turn to paragraph 320 of your report.

                                                    Page 199                                                       Page 201
 1 are used and how -- how willing the registrant is to         1    And in this paragraph you describe that
 2 respond to the request for information that the agency    2 Monsanto in the April through May 1985 period --
 3 provides to them along the way.                           3    A. Yes.
 4       Another example would be literally on the day       4    Q. And again, I'm going to ask you a very specific
 5 that Monsanto found out that Dykstra's review of the      5 question, so I'm just going to set this up, if that's
 6 Bio/dynamic study was going to identify oncogenic         6 okay.
 7 potential because of the renal tubular adenomas,          7       So in April, May, 1985, Monsanto hired
 8 Dr. Gingerich, who was one of the scientists working in   8 Dr. Kuschner, an outside pathologist, to review the
 9 the Washington office of Monsanto, had at least two       9 kidney slides and he found an additional kidney tumor in
10 meetings and I think two phone calls with senior         10 the control group; correct?
11 officials in OPP on the very day that he heard about it. 11    A. Correct.
12       And in his conversation with Bill Burnham, who     12    Q. And Monsanto submitted that report to OPP;
13 at the time, I believe, was the deputy director of HED,  13 correct?
14 Burnham said, "Well you could provide us additional data 14    A. Let's see. I think the report -- I can't
15 on historical controls from the same laboratory and      15 remember if it went from Bio/dynamics directly into EPA,
16 around the same period of time."                         16 or from Bio/dynamics to Monsanto and EPA, but it was one
17       And, you know, this is -- to me it was sort of     17 of those two.
18 extraordinary that on the very day that Monsanto found   18    Q. At some point the report was submitted to EPA?
19 out about this -- this pending EPA review and conclusion 19    A. Yes. Yes, it was.
20 based on the study, that they -- that they had had these 20    Q. In paragraph 323, you state that, "The Kuschner
21 conversations.                                           21 report delayed EPA's final determination as to
22       But when Monsanto, five or six months later,       22 glyphosate oncogenicity in the Bio/dynamic study";
23 submitted historical control data to the EPA in response 23 correct?
24 to Dr. Burnham's request, it included data from other    24    A. I'm sorry. Where are you reading from?
25 labs and data from outside the time period that had been 25    Q. Paragraph 323.

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 1    A. 323. Okay. Yes. Okay. I'm there.                        1Q. If you could turn to page 14, please.
 2    Q. So as of May 1985, EPA had not yet made its         2    A. First word, "Adenomas"?
 3 final determination as to whether the Bio/dynamic study   3    Q. Correct. And if you go to the second
 4 showed that glyphosate was oncogenic; correct?            4 paragraph, it's describing a carcinogenicity study in
 5    A. Well, the review of Dykstra and the position        5 mice; correct?
 6 taken by the CARC was it was still being discussed.       6    A. Let me just get a sense of the context here. I
 7 They had -- they had reached the decision to classify     7 take it this is in the toxicology discussion section?
 8 glyphosate as a possible oncogen, but they were still     8    Q. That's correct.
 9 discussing these aspects of the study with Monsanto.      9    A. Estimate usage, science assessment, product
10    Q. You state in your report that the Kuschner         10 chemistry...
11 report delayed EPA's final determination; correct?       11       Okay. So you --
12    A. Correct.                                           12    Q. That second paragraph is discussing the 1983
13    Q. So as of May 1985 when that report was             13 mouse study; correct?
14 submitted, EPA had not yet made its final determination? 14       MR. KRISTAL: Which paragraph?
15    A. Distinction between in the context of              15       THE WITNESS: The second one. Starting, "A
16 this -- this whole discussion, there's an OPP            16 carcinogenic study"; correct?
17 determination and there's an EPA determination. OPP had  17       MR. FAYNE: Correct.
18 made its determination via the hazard evaluation         18       THE WITNESS: Yes, okay. Correct.
19 division and Dykstra's review. I believe at this time    19    Q. (BY MR. FAYNE:) So you agree that this second
20 the CARC memo, which had been signed by now; right? I'm 20 paragraph is discussing the 1983 mouse study; correct?
21 pretty sure. That represented OPP's position, but there  21    A. Correct.
22 had been no action taken at the EPA level of whether EPA 22    Q. And at the bottom of this paragraph, the
23 management accepted that OPP decision.                   23 document states that, "Therefore, glyphosate was not
24        So it's a little -- it's confusing, and I         24 considered to be carcinogenic in this study"; correct?
25 assure you for someone that's spent as much time with    25    A. Correct.

                                                     Page 203                                                    Page 205
 1 the record as I have, it's sometimes hard to tell what's      1    Q. So EPA's final determination was that
 2 an EPA decision or what's an OPP decision.                    2 glyphosate was not carcinogenic in this study; correct?
 3    Q. Is there any other branch within EPA that               3    A. That says it's stated here, and of course this
 4 regulates pesticides other than OPP?                          4 occurred in 1991 with the reevaluation.
 5    A. No.                                                     5    Q. And we'll get to the 1991 reevaluation.
 6    Q. So OPP's decision is the decision of EPA; no?           6    A. Okay.
 7    A. No, it's not. No, it's not. Senior-level                7    Q. But I thought you were making a distinction
 8 management in EPA will sometimes overrule an action           8 between EPA and OPP. Are you saying that the 1991
 9 taken by OPP. In fact, they -- this was part of what          9 reevaluation was also EPA's determination, as opposed to
10 happened in the case of glyphosate.                          10 OPP?
11    Q. When EPA reregistered glyphosate in 1993, would        11    A. No.
12 that be an EPA action?                                       12    Q. So this 1993 document, this is EPA's
13    A. Yes.                                                   13 determination; correct?
14    Q. You would agree that that was a major                  14    A. This is -- yeah. This is a -- this would
15 regulatory action; correct?                                  15 reflect EPA's position and judgment.
16    A. Yes, sir.                                              16    Q. So as of 1993, EPA did not consider glyphosate
17       MR. FAYNE: I'm going to mark as Exhibit 14 the         17 to be carcinogenic in the 1983 mouse study?
18 1993 Registration Eligibility Decision.                      18    A. Correct.
19          (Exhibit 14 marked for identification.)             19    Q. You would agree with me that EPA has confirmed
20    Q. (BY MR. FAYNE:) If you could turn to -- strike         20 that conclusion on multiple occasions since 1993;
21 that.                                                        21 correct?
22       You've seen this document before; correct?             22       MR. KRISTAL: Object to the form of the
23    A. Yes, sir.                                              23 question.
24    Q. You're familiar with it?                               24    A. Well, there have been -- there have been a
25    A. Yes.                                                   25 number of tolerance petitions where EPA has discussed


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 1 the chronic toxicology database, and then there's been      1  A. Correct.
 2 all of the documents relative to the rereview of         2     Q. It also conducted a review of the animal data;
 3 glyphosate that started in, what, 2008 culminating in    3 correct?
 4 the 2016 report being the fullest expression, and at     4     A. Well, yeah. It reviews the same studies that
 5 multiple times along the way, the EPA expressed its      5 it reviewed, and going back to the 1993 reregistration
 6 judgment based on the entire animal bioassay data set.   6 document, yeah.
 7        And I really don't believe there was anything     7     Q. So in the December 2017 report, EPA had
 8 new or different said about the 1983 Bio/dynamic study   8 reviewed the IARC determination, had reviewed IARC's
 9 from 1991 on. I mean, that was it. That was the end of   9 conclusions about the animal data, and still reached the
10 the story on that study.                                10 determination that glyphosate is not likely
11     Q. So since 1991, EPA's position on the 1983 study 11 carcinogenic; fair?
12 has been consistent; correct?                           12     A. OPP had reviewed, not all of the EPA, because
13     A. Has been consistent, yes.                        13 there was a disagreement in EPA about the aspects of the
14     Q. And consistently found that it did not show      14 evaluation.
15 carcinogenicity; correct?                               15     Q. OPP had reviewed the IARC determination, IARC's
16     A. Well, they -- that's what they determined in     16 conclusions about the animal data, and reached the
17 1991, and they never revisited that decision or changed 17 determination that glyphosate is not likely to be
18 it.                                                     18 carcinogenic; correct?
19     Q. So your position is that during the current      19     A. EPA reached that conclusion based on a
20 rereview process, culminating in what you said was the 20 weight-of-the-evidence assessment relative to the five
21 2016 EPA report, but that's been updated since in       21 categories in EPA's classification system.
22 December 2017, that EPA didn't revisit that study?      22        You know, there's -- certainly there are
23     A. No. No. I don't think they did at all, yeah.     23 differences in the evaluation of the animal data between
24     Q. What's your basis for saying that they haven't   24 EPA and IARC, but certainly not as significant as the
25 looked back at the study?                               25 differences in assessment of the genotox database.

                                                 Page 207                                                     Page 209
 1    A. They had a final determination of that study,         1    Q. Sir, if you could turn to page 85 of Exhibit 6,
 2 and I don't think they -- they spent a lot of time          2 which is EPA's --
 3 reassessing their evaluation of many of the old animal      3    A. Yep. Yep.
 4 bioassays. So I think to the extent that they spent         4    Q. -- 2016 --
 5 time assessing new studies, it would be the more recent     5    A. 85?
 6 ones.                                                       6    Q. 85, yes.
 7    Q. Did EPA -- I'm sorry. Strike that.                    7    A. Okay. I'm there.
 8       Did IARC consider the 1990 -- 1983 mouse study?       8    Q. This is OPP's discussion of the 1983 mouse
 9    A. Yes.                                                  9 study; correct?
10    Q. Did it reach any determination about that            10    A. Correct.
11 study?                                                     11    Q. And this is their -- OPP's 2016 report which
12    A. Yes.                                                 12 follows the IARC evaluation; correct?
13    Q. Did it find that the tumors in the study were        13    A. Follows?
14 treatment-related?                                         14    Q. Sorry, came after IARC's determination;
15    A. Yes.                                                 15 correct?
16    Q. You agree that in its most recent evaluation in      16    A. Well, I'll -- yes. Yes.
17 December 2017, OPP has reviewed the IARC report;           17    Q. And if you turn to page 87, the --
18 correct?                                                   18    A. I'm there.
19    A. Yes.                                                 19    Q. The top paragraph states, "Based on the weight
20    Q. And that would include the IARC -- the section       20 of evidence for this study, the agency concurs with the
21 of that report addressing the 1983 mouse study; correct?   21 PWG conclusion, following a thorough examination of all
22    A. Correct. Yeah.                                       22 kidney sections, that the renal tubular neoplasms are
23    Q. And in the December 2017 OPP report, EPA again       23 not treatment-related with a lack of statistical
24 found that glyphosate is not likely to be carcinogenic;    24 significance in the trend and pairwise test"; correct?
25 correct?                                                   25    A. Correct.

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 1   Q. So in 2016, EPA concluded, based on a               1 correct?
 2 weight-of-evidence evaluation of this study, that the    2    A. Correct.
 3 tumors were not treatment related; correct?              3    Q. The SAP also recommended that there be a data
 4   A. That -- that was EPA's position then and I          4 call-in for further studies in rats and/or mice --
 5 believe it's still to this day.                          5    A. Correct.
 6   Q. I'd like to go to -- you can put that down now.     6    Q. -- to clarify unresolved questions; correct?
 7 Thanks.                                                  7    A. Yes.
 8   A. I was going to say, no more than three              8    Q. And you testified previously that Monsanto did
 9 documents open at once.                                  9 conduct a new study in rats; correct?
10   Q. Yes, I understand.                                 10    A. There was a new study ongoing at the time of
11   A. Or we'll get hopelessly --                         11 this meeting.
12   Q. Let's turn to page 78 of your report.              12    Q. But since 1986, Monsanto did -- strike that.
13   A. Are we done with this '93 R.E.D.?                  13       After the 1986 SAP, Monsanto did complete a new
14   Q. Yes. You can put that away.                        14 study in rats; correct?
15   A. Okay. Where are we going in my report?             15    A. They completed it and submitted it to the
16   Q. So you don't even need to turn there, actually.    16 agency, yes.
17       In your report you discuss the 1986 scientific    17    Q. And that's the Stout and Rucker study?
18 advisory panel; correct?                                18    A. I don't recall the author's name.
19   A. Yes.                                               19          (Exhibit 16 marked for identification.)
20   Q. Which reviewed the 1983 mouse study?               20    Q.   (BY  MR. FAYNE:) We've marked as Exhibit 16 an
21   A. Correct.                                           21 EPA memorandum dated October 30th, 1991, subject "Second
22   Q. What is a science advisory panel?                  22 peer review of glyphosate."
23   A. It's an ad hoc group of scientists convened by     23       You've seen this document before; correct?
24 EPA to provide scientific and technical guidance to the 24    A. Yes, sir.
25 agency on issues that arise in the course of regulating 25    Q. This document is titled "Second peer review."

                                                 Page 211                                                      Page 213
 1 pesticides.                                                 1 The first was the March 1985 memo you mentioned
 2    Q. And an S-A-P, or science advisory panel, is           2 previously; correct?
 3 composed of scientists who are independent of EPA;          3    A. Correct.
 4 correct?                                                    4    Q. If you turn to page -- the second page of the
 5    A. Correct.                                              5 document, it states individuals in attendance; correct?
 6    Q. They're selected by EPA's Office of Science           6    A. Yes.
 7 Policy?                                                     7    Q. And there are a number of individuals listed
 8    A. Yes.                                                  8 here. I haven't counted them up, but it looks like more
 9    Q. The 1986 SAP memorialized its findings and            9 than ten individuals on the committee; correct?
10 recommendations in a February 24th, 1986, memo; correct?   10    A. Yes.
11    A. Correct.                                             11    Q. And at the top it states that signature
12          (Exhibit 15 marked for identification.)           12 indicates concurrence with the peer-review
13    Q. (BY MR. FAYNE:) Marking as Exhibit 15 the            13 committee -- I'm sorry, strike that.
14 SAP's 1986 memo. You've seen this document before?         14       It states, "Signature indicates concurrence
15    A. Yes, but I need to read it.                          15 with the peer review unless otherwise stated"; correct?
16    Q. And I just have a very quick question for you        16    A. Yes.
17 about what the panel concluded.                            17    Q. So on this document and others like it, the
18    A. Okay. Just let me finish reading it, please.         18 signature indicates concurrence; correct?
19 Okay.                                                      19    A. Correct.
20    Q. In this 1986 SAP memo, the SAP recommended that      20    Q. Unless something else is indicated on the
21 glyphosate be categorized -- categorized as Group D, not   21 signature line; correct?
22 classifiable; correct?                                     22    A. Correct.
23    A. Correct.                                             23    Q. And as you can see from this report, the
24    Q. So the SAP did not believe there was sufficient      24 majority of members of the committee concurred in the
25 evidence to classify glyphosate as a possible oncogen;     25 peer review; correct?


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 1    A. Correct.                                           1 reviewed the 1993 mouse study, and concluded that
 2    Q. Can you turn to page 5. There's a study, Stout     2 glyphosate should be classified as non-carcinogenic to
 3 and Rucker study dated 1990, "Chronic study of           3 humans; correct?
 4 glyphosate administered in feed to albino rats";         4    A. That's correct.
 5 correct?                                                 5    Q. Your report details at length the events from
 6    A. Correct.                                           6 1983 related to this 1983 mouse study up through the end
 7    Q. And that's the -- that's the 1990 study that       7 of the 1980s; correct?
 8 Monsanto completed; correct?                             8    A. Correct.
 9    A. Correct. That probably was underway in 1986.       9    Q. You don't mention that Monsanto performed a
10    Q. So this shows that EPA reviewed the 1990 rat      10 study in rats, do you?
11 study; correct?                                         11    A. No.
12    A. Right. I assume this is a summary of the          12    Q. Why not?
13 review.                                                 13    A. There was no -- no disagreement or controversy
14    Q. And if you turn to page 13 --                     14 over the interpretation of that study. The EPA
15    A. I'm there.                                        15 scientists reviewed and reached the same conclusions as
16    Q. Number 3, that's the 1983 mouse study; correct? 16 the Monsanto scientists in the contract lab.
17    A. I'm sorry, page?                                  17    Q. In forming your opinions in this case, did you
18    Q. Sorry. On page 13, where it says --               18 consider the fact that Monsanto performed the rat study
19    A. Okay. Yep.                                        19 as requested by the SAP?
20    Q. -- "Hogan, GK" --                                 20    A. I believe the rat study was started before the
21    A. Yes.                                              21 SAP meeting.
22    Q. "1983."                                           22    Q. But the SAP stated that there should be a new
23    A. Yes. Yes.                                         23 study --
24    Q. So EPA also reviewed the 1983 mouse study in 24         A. Right.
25 this 1991 peer review; correct?                         25    Q. -- in mice and/or rats; correct?

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 1    A. It was included, yes.                                 1     A. Yeah.
 2    Q. And they state on page 14, if you turn to             2     Q. And Monsanto performed the study in rats;
 3 page 14, the third paragraph states, "Committee's           3 correct?
 4 interpretation. In their meeting of June 26, 1991, the      4     A. Yeah. It was ongoing and they completed it,
 5 health effects carcinogenicity peer-review committee        5 yeah.
 6 concluded that despite the fact that the incidence of       6     Q. Did you consider that fact in forming your
 7 renal tubular neoplasm in the high-dose males exceeded      7 opinions in this case?
 8 that of historical controls, the biological significance    8     A. Yes.
 9 of the findings was questionable."                          9     Q. But you didn't consider it important enough to
10       Did I read that correctly?                           10 include in your expert report; is that correct?
11    A. Yes.                                                 11        MR. KRISTAL: Objection.
12    Q. And then the peer-review committee cites a           12     A. No, I didn't.
13 number of reasons why they thought the review was          13     Q. Your report also does not mention the 1991 peer
14 questionable -- the findings were questionable; is that    14 review; correct?
15 fair?                                                      15     A. I'd have to go back and look if it did, but
16    A. That's correct.                                      16 it's certainly a part of the record that I've testified
17    Q. Finally, if you turn to page 19 --                   17 to at length in the earlier depositions.
18    A. I'm there.                                           18     Q. You would agree with me that the 1991 peer
19    Q. -- it states the peer-review committee's             19 review is an important piece of the regulatory history;
20 classification that glyphosate should be classified as a   20 correct?
21 Group E (evidence of non-carcinogenicity for humans),      21     A. Yes.
22 based on lack of convincing carcinogenicity evidence and   22     Q. Okay. So I want to now move to a discussion of
23 adequate studies in two animal species; correct?           23 the request for a repeat mouse study, which we've talked
24    A. Correct.                                             24 about a little already; correct?
25    Q. So in 1991, EPA reviewed the 1990 rat study,         25        So you state in your report that in 1986, EPA

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 1 issued the registration standard document; correct?        1 only three, so it would be 1,200 male mice.
 2    A. Yes.                                                 2    Q. So the study that Dr. Dykstra was requesting
 3    Q. And in that document, EPA concluded that the         3 would be 1,200 male mice?
 4 available data were not sufficient to adequately assess    4    A. Correct.
 5 whether glyphosate was carcinogenic; correct?              5    Q. How many mice are typically included in a
 6    A. Correct.                                             6 long-term cancer study?
 7    Q. And EPA requested a repeat of the mouse study        7    A. Well, in the original 1983 Bio/dynamic study,
 8 with a larger number of animals in each test group;        8 there was 50 mice in each of the control and three
 9 correct?                                                   9 treatment groups, so 200 male mice, 200 female mice, so
10    A. And a rat study.                                    10 a total of 400.
11    Q. And a -- but -- sure. But I'm speaking              11    Q. So this would be three times as large as the
12 specifically about the mouse study. Correct?              12 typical study?
13    A. Okay. All right.                                    13    A. Yes.
14    Q. And you testified that they did do the rat          14    Q. Are you aware of any pesticide company that has
15 study; correct?                                           15 performed a long-term cancer study using that many mice?
16    A. Right. Right.                                       16    A. No, not off the top of my head. It would be a
17    Q. Monsanto formally requested a waiver, as I          17 very -- it would be a very unusual study, a very
18 understand it from your report; correct?                  18 powerful study that, if there were indeed a problem with
19    A. Uh-huh.                                             19 renal tube adenomas, that study would have resolved it.
20    Q. If you could say "yes" or "no."                     20    Q. And you've referred to this as a special
21    A. Yes.                                                21 study --
22    Q. And it's not uncommon for a registrant to           22    A. Yeah.
23 submit a waiver request; correct?                         23    Q. -- because it's unusual; correct?
24    A. No. It happens.                                     24    A. Right.
25    Q. And in some cases, the agency agrees; in some       25    Q. And you discuss this memo from Dr. Dykstra in

                                                Page 219                                                         Page 221
 1 cases it might not agree. Correct?                         1 1988 because it's, in your view, an important piece of
 2    A. That's also correct.                                 2 the regulatory history; fair?
 3    Q. In paragraph -- actually, strike that.               3    A. Correct.
 4       You also describe a memo that was prepared by        4    Q. So if I understand your report correctly, EPA
 5 Dr. William Dykstra; correct? And this is the -- sorry.    5 requested that Monsanto perform this more powerful mouse
 6 Strike that again.                                         6 study in the 1986 registration standard document, and
 7       You also describe a memo from Dr. William            7 then --
 8 Dykstra in which he states that, "The toxicology branch    8    A. No. No, they didn't -- the request for that
 9 does not concur with Monsanto regarding the waiver of      9 more powerful study, I don't believe it was in the
10 the repeat mouse study"; correct?                         10 registration standard document. It occurred -- it, you
11    A. Correct.                                            11 know, two years later in the back-and-forth, after the
12    Q. That memo was prepared in 1990 -- 1988;             12 resectioning of the kidney slides and after the
13 correct?                                                  13 controversy over the magic tumor in control mouse 102A.
14    A. I believe that's correct. Can you just direct       14    Q. So in the registration standard document, EPA
15 me to the paragraph?                                      15 requested a repeat mouse study; correct?
16    Q. Sure. It's paragraph 380.                           16    A. A repeat mouse study.
17    A. 380, okay.                                          17    Q. Correct. So EPA requested the repeat mouse
18    Q. And actually, if you go to 384, you note that       18 study, and then denied Monsanto's request for a waiver
19 Dr. Dykstra set forth several specific study              19 in 1988; correct?
20 requirements, including that there should be 200 male     20    A. Correct. Well, I don't know the date that they
21 mice per group; correct?                                  21 denied the waiver, but in between the issuance of the
22    A. That was one of them, yes.                          22 registration standard and Dykstra's request for this
23    Q. So that would be 400 male mice total; correct?      23 special study, there had been the resectioning of the
24    A. No. No. There were several groups. There was        24 slides and the controversy over whether there was an
25 a control group and five treatment groups as opposed to   25 additional renal tubular adenoma in one of the control


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 1 mice.                                                              1    Q. 368.
 2         And OPP and Dykstra felt that the way to                   2    A. Okay. I'm there.
 3 resolve this very sharp difference of opinion with the             3    Q. You state that, "The 1986 glyphosate RS
 4 three EPA pathologists that read all the slides saying             4 document states on page 2: 'Failure to comply with
 5 there's no renal tubular adenoma in control mouse 102A,            5 these requirements [example, filling data gaps, adding
 6 and all of the Monsanto-hired pathologists saying that             6 new worker safety rules] may result in the issuance of a
 7 there was -- one of the two had to be wrong.                       7 Notice of Intent to Cancel or a Notice of Intent to
 8         And I think it's fair to say that there was                8 Suspend in the case of failure to submit data."
 9 never agreement between OPP and Monsanto about whether             9       Did I read that correctly?
10 there was in fact a renal tubular adenoma in control              10    A. Yes, you did.
11 mouse 102A, so EPA designed this very powerful study              11    Q. You just testified that Monsanto never
12 that had Monsanto done the study and had it produced no           12 conducted the repeat mouse study that EPA requested in
13 evidence of kidney tumors, the debate over the 1983               13 the 1986 registration center document; correct?
14 study would have ended at that point.                             14    A. Yes.
15         MR. FAYNE: I'm going to move to strike that               15    Q. But EPA never issued a notice of intent to
16 answer as non-responsive.                                         16 cancel the glyphosate registration because of Monsanto's
17         MR. KRISTAL: I think it was completely                    17 failure to do so; correct?
18 responsive, and I'd also remind counsel we're beating             18    A. That is correct.
19 dead mice at this point, too.                                     19    Q. EPA never issued a notice of intent to suspend;
20         Dr. Benbrook has been asked ad nauseam about              20 correct?
21 this study, and you're really repeating a lot of the              21    A. Correct.
22 same -- it's the same report and you're repeating a lot           22    Q. And one more question. If I could turn you
23 of the same questions.                                            23 back to the 1991 peer review. And I apologize, I
24         MR. FAYNE: This is a new report, and I'm                  24 don't -- which exhibit is that?
25 walking through it paragraph by paragraph.                        25    A. Exhibit 16.

                                                     Page 223                                                         Page 225
 1       MR. KRISTAL: No. No. I understand it's a new                 1    Q. Exhibit 16. You testified previously that your
 2 report. The same information was contained in the old              2 understanding is that EPA did not request the additional
 3 report. The same information has been asked --                     3 kidney sections; correct?
 4       THE WITNESS: Counsel, you didn't do any of the               4    A. There were -- there were two rounds of
 5 last deposition. I was there, and I will tell you this             5 reassessment of the kidney slides.
 6 is very similar to what we went through.                           6    Q. But I believe your testimony previously was
 7       MR. FAYNE: I understand.                                     7 that EPA did not request that resectioning.
 8       MR. KRISTAL: All I'm saying is I gave you some               8    A. Correct.
 9 leeway. I just ask you not to repeat questions on the              9    Q. If you turn to page 13 of this document.
10 exact same subjects asking and showing the same                   10    A. I'm there.
11 documents.                                                        11    Q. The last paragraph, the first sentence, states,
12       MR. FAYNE: I'm trying to understand his                     12 "The agency then requested that additional kidney
13 opinions that are set forth in this new report.                   13 sections from the mouse study be prepared and examined."
14       MR. KRISTAL: And I would suggest you look at                14       Do you see that?
15 any one of the five.                                              15    A. Yes.
16       MR. FAYNE: I've reviewed all five.                          16    Q. Would you agree with me, then, that your prior
17       MR. KRISTAL: And including all five of them --              17 testimony was --
18       MR. FAYNE: I appreciate it.                                 18    A. No.
19       MR. KRISTAL: -- and you'd understand exactly                19    Q. -- incorrect?
20 what you're asking because it's already been asked.               20    A. So there were two rounds of this, as I said.
21       MR. FAYNE: Okay. Thank you. I appreciate                    21 The first rereading of the kidney slides was actually
22 that.                                                             22 rereading the original slides. The second round of
23    Q. (BY MR. FAYNE:) If you could turn to                        23 reassessment entailed actually resectioning the slides,
24 paragraph 368 of your report.                                     24 and that -- that is what is addressed in this passage.
25    A. We're going -- we're going back now? 368?                   25    Q. So you would agree the EPA requested the

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 1 resectioning of the slides; correct?                        1 A. Yes, sir.
 2    A. The resectioning of the slides was proposed        2    Q. Do you know whether EPA ever requested that
 3 originally by Monsanto in their ongoing back-and-forth,  3 Monsanto repeat the mouse study after 1991?
 4 and ultimately EPA decided to request the resectioning   4    A. I don't believe they did.
 5 of slides because that -- you know, they had to unthaw   5    Q. So you stated earlier that at this time, but to
 6 the kidneys and slice them again, so it required a       6 your knowledge EPA has not requested that repeat study
 7 request to do that.                                      7 since 1989; correct?
 8       MR. FAYNE: 17.                                     8    A. Correct.
 9          (Exhibit 17 marked for identification.)         9    Q. You state in your report that Monsanto's
10    Q. (BY MR. FAYNE:) I've marked as Exhibit 17 a       10 refusal to conduct that new repeat mouse study altered
11 June 1989 memo from EPA prepared by William Dykstra, 11 the regulatory history; correct?
12 subject, "Glyphosate EPA Registration Numbers 524-318 12      A. Yes.
13 and 524-333 - Historical Control Data For Mouse Kidney 13     Q. You're aware that since the early '90s, there
14 Tumors."                                                14 have been four new studies in mice; correct?
15       Do you see that?                                  15    A. Yes.
16    A. Yes.                                              16    Q. Do you know whether any of those studies found
17    Q. Have you seen this document before?               17 compound related kidney tumors like those reported in
18    A. Yes.                                              18 the 1983 study?
19    Q. This is a memo from Dr. Dykstra dated             19    A. I'd have to refresh my memory, but there's a
20 June 1989, which is approximately one year after the    20 number of tumors identified in the mice and rat studies
21 Dykstra memo we discussed previously; correct?          21 that -- where there's difference of opinion between
22    A. Correct.                                          22 different entities. IARC read them differently in some
23    Q. And if you turn to page 2 of the document, the    23 respects than EPA. There were, I think, maybe 14
24 last paragraph before the section that says             24 different tumors that are where the results are subject
25 "Background."                                           25 to controversy, depending upon who's reviewing the

                                                   Page 227                                                    Page 229
 1    A. Okay.                                                 1 study.
 2    Q. It states that TB -- and "TB" stands for the          2    Q. But you're not aware of any of those studies
 3 toxicology branch; correct?                                 3 that found compound related kidney tumors; correct?
 4    A. Correct.                                              4    A. I'm not aware of any that found renal tubular
 5    Q. "The toxicology branch concludes that a repeat        5 adenomas of the same sort that were in the CD-1 mice in
 6 of the mouse oncogenicity study is not required at this     6 1983, but I do believe the kidney -- the kidney was a
 7 time. After the results of the new two-year rat chronic     7 target of other adenomas and carcinomas in some of the
 8 toxicity and oncogenicity study are reviewed, toxicology    8 other studies, and in particular the -- it was the -- a
 9 branch will reconsider whether the repeat of the mouse      9 Syngenta study.
10 oncogenicity study is required."                           10    Q. You mentioned that there have been many studies
11       Did I read that correctly?                           11 in mice and rats since the early '90s; correct?
12    A. Yes, you did.                                        12    A. Well, I think the total count is 14.
13    Q. So in 1989, the EPA toxicology branch agreed         13    Q. Correct. There have been 14 --
14 that Monsanto did not have to conduct the repeat mouse     14    A. Yeah.
15 study; correct?                                            15    Q. -- long-term studies in rodents; correct?
16    A. At this time.                                        16    A. Yeah. I think that's the number most people
17    Q. At this time; correct?                               17 agree to.
18    A. Correct.                                             18    Q. EPA has reviewed all 14 of those studies as
19    Q. EPA further explained that after the results of      19 recently as December 2017?
20 the rat study were reviewed, it would consider whether     20    A. Well, they're discussed in the December 2017
21 to request that repeat mouse study; correct?               21 report. They're discussed in the September 2016 report
22    A. Yes, sir.                                            22 and all the earlier reports, yeah.
23    Q. And as we discussed previously, Monsanto did         23    Q. And again, since 1991, EPA has consistently
24 complete that new rat study, and EPA reviewed it in        24 classified glyphosate as not likely to be carcinogenic;
25 1991; correct?                                             25 correct?


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 1       MR. KRISTAL: Asked and answered.                      1    Q. I'll represent to you that it's 13.
 2    A. Yeah, it's glyphosate technical based on              2    A. Okay.
 3 expected levels of exposure to the general public.          3    Q. And each of the members signed; correct?
 4       MR. FAYNE: Is now a good time for a break?            4    A. Yes.
 5       THE WITNESS: I'm ready for a bio.                     5    Q. None of them indicated they did not concur in
 6       VIDEOGRAPHER: Off the record at 2:57 p m.             6 the decision; correct?
 7          (A brief recess was had.)                          7    A. That's correct.
 8          (Exhibit 18 marked for identification.)            8    Q. So that means all 13 members of the committee
 9       VIDEOGRAPHER: Back on the record at 3:19 p m.         9 concurred with the classification of glyphosate as not
10    Q. (BY MR. FAYNE:) Dr. Benbrook, I'm marking as         10 likely to be carcinogenic to humans?
11 Exhibit 18 the October 1st, 2015, EPA report of the        11    A. Yes.
12 Cancer Assessment Review Committee.                        12    Q. And I'll note that you testified in August that
13    A. Okay.                                                13 you thought that maybe not all 13 had concurred, but you
14    Q. You've seen this document before; correct?           14 now agree that you were not remembering correctly in
15    A. Yes.                                                 15 August; correct?
16    Q. The Cancer Assessment Review Committee, or           16    A. Perhaps we were addressing the 1991. You know,
17 CARC, is a team of interdisciplinary EPA scientists with   17 I don't -- I don't know what part of the deposition
18 specific expertise in cancer classification; agree?        18 you're referring to.
19    A. That's correct.                                      19    Q. Sure.
20    Q. The CARC must review all food-use pesticides         20    A. But I could have gotten one wrong.
21 for their carcinogenic potential; correct?                 21    Q. But we agree today that --
22    A. I'm not sure that all pesticides come before         22    A. Today.
23 CARC, but they -- certainly all of the ones where there    23    Q. -- all 13 concur?
24 are technical issues that need to be resolved.             24    A. We are on the same page, sir.
25    Q. And the CARC recommends a cancer classification      25    Q. Great. So turning to -- now I'm in your

                                                  Page 231                                                     Page 233
 1 that ultimately OPP decides whether or not to adopt;        1 IA -- you can put that aside.
 2 correct?                                                    2  A. Back to the report?
 3    A. That's correct.                                     3    Q. Back to the report. Paragraph 387. It's on
 4    Q. If you turn to page 10.                             4 page 86.
 5    A. I'm there.                                          5    A. I'm there. 387?
 6    Q. The middle paragraph before the bullet states,      6    Q. You know what? I'm sorry. Could we actually
 7 "In accordance with the 2005 Guidelines For Carcinogenic 7 pull out the CARC report again? I'm sorry.
 8 Risk Assessment, based on the weight-of-evidence,         8    A. This last one?
 9 glyphosate is classified as 'Not Likely to Be             9    Q. Yes.
10 Carcinogenic to Humans.'"                                10    A. Okay.
11         Did I read that correctly?                       11    Q. So you've testified in your report about
12    A. Yes, you did.                                      12 Jess Rowland; correct?
13    Q. So in 2015, as we discussed, the Cancer            13    A. Correct.
14 Assessment Review Committee classified glyphosate as     14    Q. And you suggested or you assert in your report
15 non-carcinogenic; correct?                               15 that Jess Rowland's involvement with the CARC calls into
16    A. Yes.                                               16 question its objectivity. Is that a fair
17    Q. If you turn to page 6, it lists the committee      17 characterization?
18 members in attendance.                                   18    A. Not exactly. The record shows some unusually
19    A. I remember seeing the list. Yes, I see it.         19 close and inappropriate communications between
20    Q. And it shows that there were 13 members of the     20 Jess Rowland and Monsanto on the general topic of OPP's
21 committee; correct?                                      21 evaluation of glyphosate oncogenicity.
22    A. Yes.                                               22    Q. You state in paragraph 463 -- if you want to
23    Q. And --                                             23 turn there in your report.
24    A. I didn't count them, but I'll take your word       24    A. 463?
25 for it.                                                  25    Q. Yep.

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 1     A. 460. Going the wrong direction. Okay. I'm             1 2015 was unanimous, as we discussed; correct?
 2 there.                                                       2    A. Correct.
 3     Q. The second sentence of that paragraph you             3    Q. Now let's go to paragraph 387 of your report.
 4 state, "Considering Dr. Rowland" -- I think that should      4    A. 387?
 5 probably be "Dr. Rowland's relationship with Monsanto,       5    Q. Yes. And just to orient you, this is --
 6 it raises, in my opinion, serious questions about the        6    A. Okay. I'm there.
 7 objectivity of that report and the scientific basis of       7    Q. And to orient you, this is the last paragraph
 8 EPA's determination that glyphosate is not likely to         8 of your discussion of the 1983 mouse study.
 9 pose cancer risk."                                           9    A. Oh, okay. Thank you.
10        Do you see that?                                     10    Q. You state, "In my opinion Monsanto should have
11     A. Correct.                                             11 conducted a special study requested by EPA in response
12     Q. And you're referring to the CARC assessment?         12 to the agency's request, and in light of the company's
13     A. Correct.                                             13 commitment to product safety. I also conclude that, and
14     Q. Do you have any reason to believe that the 12        14 in the interim, Monsanto should have added an
15 other members of this committee were biased in any way?     15 oncogenicity warning to Roundup labels as well as in
16     A. I found very curious and suggestive an e-mail        16 glyphosate-based herbicide chemical safety data sheets
17 that Jess Rowland sent to one of the Monsanto people        17 and other information developed for physicians and
18 where the topic of discussion was Monsanto had contacted    18 poison control centers."
19 Rowland to see if Rowland and EPA needed any support        19       I omitted a parenthetical, but otherwise did I
20 from Monsanto in sticking to its position that              20 read that correctly?
21 glyphosate poses no oncogenic risk after the release of     21    A. Yes, you did.
22 the IARC classification as a probable human carcinogen.     22    Q. So you state that Monsanto should have added an
23        And in the response from Rowland to -- I             23 oncogenicity warning in the interim; correct?
24 believe it was Serdy. I can't remember. We can no           24    A. Correct.
25 doubt find the MONGLY document, if you want. Rowland        25    Q. And by "in the interim," do you mean the period

                                                    Page 235                                                              Page 237
 1 says that he's in good shape on epi and exposure, there      1 of time between the 1986 registration standard document
 2 is an issue about a carcinoma in I believe it was the        2 and Monsanto's completion of the repeat mouse study?
 3 Syngenta oncogenic feeding study, and he says -- he says     3     A. Well, I think that a prudent company would have
 4 that he identifies the CARC as "my people."                  4 moved to add such a warning following the initial CARC
 5       And that tipped me off to the -- to perhaps an         5 classification that occurred I believe in 1985, and that
 6 undue influence by Rowland on the members of CARC in         6 that's when it should have -- it should have been
 7 that he felt that they were his people and hence would       7 initiated. It takes time to add that sort of language
 8 follow his lead.                                             8 to all the labels.
 9    Q. So you reviewed the e-mails between                    9        It wouldn't have happened until probably 1987,
10 Jess Rowland and Monsanto and those e-mails led you to      10 at the earliest, given the cycle of label, but that's
11 question the objectivity of the CARC; is that fair?         11 when it should have begun.
12    A. It suggested to me that there was a                   12    Q. And the reason you contend they should have
13 Jess Rowland-led effort to try to assure that EPA's         13 done that is because at that time, EPA in 1985 had
14 statements and reports on the matter of glyphosate          14 determined that it was a possible carcinogen; correct?
15 oncogenicity stuck to the decision that really went back    15    A. Correct.
16 to 1991, that glyphosate poses no oncogenic risk to         16    Q. And then in 1986, EPA had determined that it
17 humans.                                                     17 was a class Category D carcinogen, not classifiable;
18    Q. You're not aware of any communications from any       18 correct?
19 of the other non-Rowland members of the CARC and            19    A. Now, 1991.
20 Monsanto; correct?                                          20    Q. The 1986 registration standard document adopts
21    A. Let me -- no, I'm not.                                21 the Category D classification; correct?
22    Q. Each member of the CARC has equal voting              22    A. I don't believe so.
23 rights; correct?                                            23    Q. Regardless, your position as of -- let's start
24    A. I believe that's the case.                            24 with 1985. The reason you contend Monsanto should have
25    Q. And in this case, the vote on glyphosate in           25 added the warning is because of EPA's classification of


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 1 glyphosate as a possible carcinogen; correct?               1 Monsanto did not have a legal obligation to add a cancer
 2    A. As codified in the 1985 CARC meeting.                 2 warning to its label, but it had a moral one; is that
 3    Q. So by that logic, would you agree that today          3 fair?
 4 Monsanto has no obligation to put a cancer warning on       4        MR. KRISTAL: Objection. Obviously calls for a
 5 its products based on EPA's classification of glyphosate    5 legal conclusion.
 6 as Category E, non-carcinogenic?                            6    A. I didn't say "legal obligation." I said an
 7       MR. KRISTAL: Objection. Because Dr. Benbrook          7 obligation under FIFRA under the requirements that the
 8 is not being offered on causation, and, therefore,          8 EPA imposes. In fact, I do believe that Monsanto at
 9 there's additional information in the present time other    9 some point had a legal obligation under OSHA regs
10 than EPA's classification.                                 10 to -- to accurately include the IARC classification on
11       MR. FAYNE: You can answer.                           11 OSHA chemical safety data sheets or whatever they call
12       THE WITNESS: Would you please repeat the             12 them.
13 question?                                                  13    Q. Let me -- let me be more clear, then. You do
14    Q. (BY MR. FAYNE:) Sure. By that logic, would           14 not believe that Monsanto has a legal obligation under
15 you agree that Monsanto has no obligation today to place   15 FIFRA to put a cancer warning on its product labels;
16 a cancer warning on its glyphosate-based herbicides in     16 correct?
17 light of EPA's classification of glyphosate as not         17        MR. KRISTAL: Objection. Calls for a legal
18 likely to be carcinogenic?                                 18 conclusion.
19    A. No, I don't agree. There's much more                 19    A. I would agree that there -- that there was no
20 information and there is a classification by the           20 OPP requirement or statement of an obligation during
21 International Agency For Research on Cancer that           21 this post-1991 period to add a cancer warning on the
22 glyphosate and glyphosate-based herbicides are probable    22 labels.
23 human carcinogens, which I think raises substantially      23    Q. You would agree that the 1986 registration
24 the justification for a clear cancer warning on labels     24 standard document did not impose on registrants of
25 and material safety data sheets, et cetera.                25 glyphosate-based herbicides a requirement to place a

                                                   Page 239                                                        Page 241
 1    Q. Would you agree that prior to the IARC                1 cancer warning on the product labels; correct?
 2 determination in March 2015, that Monsanto had no           2    A. Correct.
 3 obligation to put a cancer warning on its products based    3       MR. KRISTAL: Objection. Calls for a legal
 4 on the then existing EPA classification of glyphosate as    4 conclusion.
 5 Category E, non-carcinogenic?                               5    Q. That document also did not impose on
 6        MR. KRISTAL: Same objection. And he's already        6 registrants a requirement to place an oncogenicity
 7 been questioned about this.                                 7 warning on the product labels; correct?
 8        THE WITNESS: May I answer?                           8       MR. KRISTAL: Objection. Same objection.
 9        MR. KRISTAL: Sure.                                   9    A. Correct.
10        THE WITNESS: I don't believe that Monsanto had      10    Q. EPA has never required such warnings on
11 a legal obligation under FIFRA.                            11 glyphosate-based products; correct?
12        I do believe that they had a moral and ethical      12    A. Correct.
13 obligation as a company with a professed commitment to     13    Q. So your position that Monsanto should have
14 product stewardship and safety of its users.               14 added an oncogenicity warning on Roundup labels is not
15 Given -- given the equivocal oncogenic response data in    15 based on EPA regulations; correct?
16 a number of the animal bioassays, in addition to the       16    A. Correct.
17 positive epidemiological studies that Monsanto was aware   17       MR. KRISTAL: Objection.
18 of at the time, a responsible company would have alerted   18    Q. It's based on your personal opinion about what
19 its users that there is some chance, some evidence that    19 a moral or ethical pesticide company would do?
20 there may be an oncogenic risk, and I think it was         20       MR. KRISTAL: Same objection.
21 incumbent on the company, by virtue of its stated          21    A. It's based on what Monsanto has communicated to
22 commitment to product stewardship and its pledge to        22 its user community, the medical community, regulators
23 promote the safe use of its products, to provide users     23 through various avenues in the course of describing
24 with that information.                                     24 their commitment to product stewardship.
25    Q. (BY MR. FAYNE:) So your opinion is that              25    Q. So based on what Monsanto has communicated,

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 1 it's your personal opinion that they have a moral or         1 change in the surfactant, either the mix of surfactants
 2 ethical obligation to put a cancer warning on their          2 or the concentration of surfactants in the formulated
 3 products; correct?                                           3 product.
 4    A. Correct.                                               4    Q. You've reviewed the 2016 EPA OPP report in
 5       MR. KRISTAL: Object to the form of the                 5 detail; correct?
 6 question.                                                    6    A. Yes, sir.
 7    Q. You've reviewed several labels on                      7    Q. So you're aware that in that report, EPA
 8 glyphosate-based products; correct?                          8 discusses the IARC findings; correct?
 9    A. Yes.                                                   9    A. Yes.
10    Q. And those labels apply to the formulated              10    Q. EPA is certainly aware that IARC found
11 product; correct?                                           11 glyphosate-based herbicides are probable carcinogens;
12    A. Correct.                                              12 correct?
13    Q. As we've been talking about today, you're aware       13    A. Correct.
14 that since 1991 there have been numerous approvals of       14    Q. That's true of the 2015 CARC report, as well;
15 glyphosate-based formulations; correct?                     15 they also discuss the IARC determination. Correct?
16    A. Yes.                                                  16    A. I guess it had come out a couple of months
17    Q. Every time that Monsanto changes a                    17 before.
18 glyphosate-based formulation, it has to submit an           18    Q. If you could pull up the 2016 OPP report. It's
19 application to EPA to get approval of that new              19 Exhibit 6.
20 formulation; correct?                                       20    A. Yep. Got it.
21    A. A label amendment, yes. Correct.                      21    Q. If you turn to page 13.
22    Q. That application for a new formulation would,         22    A. I'm there.
23 of course, include any EPA-required studies on the new      23    Q. The third paragraph of that section states
24 glyphosate-based formulation; correct?                      24 that, "Recently, several international agencies have
25    A. If EPA felt that such a study was necessary.          25 evaluated the carcinogenic potential of glyphosate," and

                                                    Page 243                                                           Page 245
 1    Q. You agree that each new formulation requires,          1 then they go on to discuss a number of bodies that have
 2 at a minimum, the acute tox six-pack of studies of the       2 reviewed glyphosate; correct?
 3 product; correct?                                            3    A. Yes, sir.
 4    A. Depends on how significant the changes are.            4    Q. And that includes the IARC review; correct?
 5 There's certainly a number of changes in formulations        5    A. Correct.
 6 where EPA would waive the requirement for a new              6    Q. If you then go to the next paragraph, it states
 7 six-pack.                                                    7 that, "The recent peer review performed by CARC served
 8       In particular, when there's some of the                8 as an initial analysis to update the data evaluation for
 9 antifoaming agents and some of the adjuvants that have       9 glyphosate at that time."
10 been altered as opposed to the surfactants where there      10        Do you see that?
11 was greater concern about some impact on the                11    A. Yes.
12 differential toxicity of the formulated product compared    12    Q. So you would agree that CARC was the initial
13 to the technical material.                                  13 analysis performed by OPP on glyphosate as part of its
14    Q. And certainly to the extent EPA required it or        14 registration review; correct?
15 asked for it, those applications for approval of new        15    A. Yeah, going back to 1985, actually.
16 glyphosate-based formulations would have to include         16    Q. And then if you look at the last sentence of
17 toxicology studies supporting the new approval; correct?    17 that paragraph, it states, "As such, the current
18    A. Well, most of them didn't, and for most of them       18 evaluation also provides a more thorough evaluation from
19 there was not a requirement for a new set of toxicology     19 the 2015 CARC review."
20 studies. There -- now, if there was a wholly-new            20        Do you see that?
21 formulation -- and by "wholly new," obviously the           21    A. Yes.
22 glyphosate technical would be the same.                     22    Q. Would you agree that the 2016 OPP report is a
23       Now, it might be a potassium salt versus an           23 more thorough evaluation than the 2015 CARC assessment?
24 isopropanol salt, but EPA would only require, for           24    A. In certain aspects, yes.
25 example, the six-pack studies if there was a substantial    25    Q. You can put that document down for the time

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 1 being. Thank you.                                           1 which they make a judgment of whether they're going to
 2        In other words, EPA doesn't have its head in         2 challenge anything about a particular label or not.
 3 the sand; correct? It's aware of what's going on            3    Q. So under FIFRA, EPA is required to make the
 4 throughout the world with glyphosate?                       4 determination that the label is consistent with the
 5        MR. KRISTAL: Objection to the form of the            5 statute and with EPA's regulations that went into the
 6 question.                                                   6 statute; correct?
 7    A. If what you're asking is was the EPA aware of         7    A. Correct.
 8 the conclusion reached by the IARC Working Group,           8    Q. You testified previously that in order to
 9 absolutely, yes, they were very aware of that.              9 change the labeling for a registered pesticide, the
10    Q. And in its 2016 review, EPA considered the           10 registrant must submit it to EPA to review and approve;
11 conclusion of the IARC Working Group; correct?             11 correct?
12    A. Yeah, both OPP and ORD, and other parts of EPA,      12       MR. KRISTAL: For about the tenth time.
13 no doubt, paid attention to that.                          13       THE WITNESS: Yes.
14    Q. And in its 2016 review, OPP also considered the      14    Q. You also testified that EPA has to approve all
15 reviews by other regulators around the world; correct?     15 labeling and label changes?
16    A. I don't think they placed much weight on             16       MR. KRISTAL: Don't answer that question. Now
17 Canada's review and EFSA's review. They were aware of      17 you're not only repeating questions that have been asked
18 it. I think without a doubt, the evaluation of the US      18 at every other deposition, you're repeating questions
19 EPA on the matter of glyphosate oncogenicity was the       19 that you asked earlier today.
20 most thorough and generally led the pack or was deferred   20       THE WITNESS: We --
21 to by most other regulatory agencies.                      21       MR. KRISTAL: Don't answer that question.
22        So I would say the only -- the only other           22       THE WITNESS: I'm not going to, but...
23 assessment that would probably correctly be identified     23       MR. FAYNE: You're instructing the witness not
24 as comparably in depth would be the ones conducted by      24 to answer that question?
25 the Germans as part of the European reregistration of      25       MR. KRISTAL: Yes, because it's now in the

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 1 glyphosate, the BfR review.                                 1 realm of harassment. We're six hours in and you're
 2    Q. And the BfR review which informed the EFSA            2 repeating questions you asked today, and you're
 3 determination; correct?                                     3 repeating questions that have been asked at the other
 4    A. Correct.                                              4 depositions. If you don't have any more questions,
 5    Q. And by "EFSA," that's the European Food Safety        5 there's no --
 6 Agency?                                                     6       MR. FAYNE: I've got more questions.
 7    A. Agency, yeah.                                         7       MR. KRISTAL: I know. Well, ask questions that
 8    Q. You've reviewed -- we've discussed already that       8 aren't repetitive. I've had very few objections in this
 9 you've reviewed several glyphosate formulation labels;      9 deposition.
10 correct?                                                   10    Q. (BY MR. FAYNE:) A registrant can't make a
11    A. Yes.                                                 11 unilateral label change except for minor adjustments to
12    Q. Have you reviewed recent labels?                     12 the label; correct?
13    A. Yes.                                                 13    A. Correct. There's a long passage in the
14    Q. Labels that have been issued since the 2015          14 regulations on what such minor changes that don't
15 IARC determination?                                        15 require a formal label amendment, and there's actually a
16    A. Some of them, yes.                                   16 process for noting some minor changes.
17    Q. You've already testified that each label for a       17    Q. So a company couldn't just take it up on its
18 new glyphosate-based formulation must be approved by       18 own to make a change to precautionary statements without
19 EPA; correct?                                              19 putting that change before EPA for review and approval?
20    A. Yes.                                                 20       MR. KRISTAL: Don't answer that question.
21    Q. Before EPA can approve a label, it must make a       21    A. I've answered that question 16 times.
22 determination that the glyphosate-based formulations       22    Q. I'll take that as a --
23 label is consistent with FIFRA and the regulations         23    A. No change in my response.
24 implementing FIFRA; correct?                               24    Q. So despite IARC's finding that glyphosate-based
25    A. Well, that would be the -- the framework in          25 herbicides are a probable carcinogen, EPA has continued


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 1 to approve the labels on glyphosate-based formulations      1     You agree that there are now many registrants
 2 for sale and use in the United States; correct?           2 of glyphosate-based products besides Monsanto; correct?
 3    A. That's correct.                                     3    A. Yes.
 4    Q. And it has approved labels that -- strike that.     4    Q. And agree that as of today EPA has never
 5       Despite EPA's awareness and review of the IARC      5 required any registrant of a glyphosate-based project to
 6 monograph finding that glyphosate-based herbicides are a  6 conduct a long-term feeding study using a formulated
 7 probable carcinogen, the agency has continued to approve  7 product?
 8 labels that do not include a warning about                8    A. That is correct.
 9 carcinogenicity; correct?                                 9    Q. Are you aware -- strike that.
10    A. Correct.                                           10       Are you aware of anyone that has conducted a
11    Q. As of today, EPA continues to find -- strike       11 long-term cancer feeding study with a glyphosate-based
12 that.                                                    12 herbicide?
13       As of today, EPA continues to classify             13    A. Yes.
14 glyphosate as not likely to be carcinogenic to humans,   14    Q. Who is that?
15 notwithstanding IARC's finding; correct?                 15    A. A team led by Seralini in France.
16    A. Based on typical and expected exposures for the    16    Q. Just like to turn your attention to page 6 of
17 general population, yes.                                 17 your report. Actually, it starts on page 5. And it's
18    Q. So EPA's approval of the product labels on         18 paragraph 7(b).
19 glyphosate-based formulations is consistent with its     19    A. 7(b)?
20 determination that glyphosate is not likely to be        20    Q. Yes.
21 carcinogenic to humans; correct?                         21       Okay. You state, "Despite knowledge of the
22    A. Yes.                                               22 differences in toxicity and risks arising from exposures
23       MR. FAYNE: Can we go off the record for just       23 to formulated Roundup in contrast to pure glyphosate,
24 one minute?                                              24 Monsanto has not carried out critical long-term cancer
25       VIDEOGRAPHER: Off the record at 3:48 p m.          25 feeding studies with Roundup. Nor has anyone else."

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 1          (A brief recess was had.)                          1        Do you see that?
 2        VIDEOGRAPHER: Back on the record at 3:48 p m.        2     A. Yes.
 3    Q. (BY MR. FAYNE:) I'd like to turn back to your         3     Q. Are you testifying today that that statement is
 4 report. Go to paragraph 87.                                 4 inaccurate?
 5    A. 87?                                                   5     A. This is in the context of EPA-required chronic
 6    Q. Yes.                                                  6 feeding studies. This passage, if you read the whole
 7    A. That's got to be up front.                            7 thing -- the whole passage, and it's really talking
 8    Q. Page 26, if I get the paragraph and page right        8 about the data generated by -- by registrants. And
 9 this time.                                                  9 it -- so that's what this statement refers to.
10    A. I'm there, sir.                                      10        I was aware of the Seralini study. I've had
11    Q. You say, "In my opinion, the failure of EPA to       11 extensive discussions in past depositions about the
12 require Monsanto or any other glyphosate-based herbicide   12 Seralini study. It -- I think it is clear from my past
13 registrant, to carry out a chronic oncogenicity feeding    13 testimony I'm aware that it exists. I just mentioned it
14 study using a formulated glyphosate-based herbicide does   14 to you, but I do not -- I did not include it in this
15 not obviate the scientific importance and regulatory       15 statement because it wasn't a study done in response to
16 risk-assessment relevance of such a study."                16 a data requirement following the GLP requirements and
17        Did I read that correctly?                          17 protocols in Part 158.
18    A. You did, sir.                                        18     Q. You're aware, of course, that EFSA has found
19    Q. You've testified previously, and I just want to      19 the Seralini study to be unreliable; correct?
20 confirm that nothing has changed, that EPA has not         20     A. I'm aware of much of the international reaction
21 required Monsanto to conduct a long-term feeding study     21 to the Seralini study, the efforts of Monsanto to
22 using a formulated product?                                22 undermine -- undermine it. I know EFSA has questions
23    A. That's correct.                                      23 about it. I know that EPA has had questions about it.
24    Q. And since your last depositions, you would           24 So -- and so I guess the answer to your question is yes.
25 agree that there are -- strike that.                       25     Q. Are you aware of any pesticides -- sitting here

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 1 today, are you aware of any pesticide manufacturer that   1 and selling the most heavily applied pesticide in the
 2 has conducted a long-term feeding study on a formulated   2 history of the world.
 3 product?                                                  3        This was not just an average pesticide. This
 4    A. No.                                                 4 is the most heavily used pesticide in history. There
 5    Q. Would you agree then that it's not industry         5 are more people exposed to it at a higher level than
 6 standard to conduct a long-term feeding study on a        6 probably any pesticide ever. Monsanto was fully aware
 7 formulated product?                                       7 of those facts. And given that, given their professed
 8        MR. KRISTAL: Object.                               8 statement and commitment to product stewardship and the
 9    A. Oh, most -- most surely. It's not industry          9 safety of its users, and given the enormous amount of
10 standard.                                                10 money that they were making off the product, they surely
11    Q. Going back to paragraph 87, which is the one I     11 could have justified doing a chronic mouse and a chronic
12 read previously.                                         12 rat study on one of their major formulations.
13    A. It's going to be about page 25 or something?       13        And had they done that, and if the studies had
14    Q. 26, yeah.                                          14 been clean, then we would not be sitting here. However,
15    A. 26. I'm there, sir.                                15 if they did the studies and the results were
16    Q. So I had read the preceding sentence, that you     16 substantially different than the 14 animal bioassays
17 state in your opinion Monsanto should have carried out a 17 conducted with technical glyphosate, the
18 long-term feeding study; correct?                        18 regulatory -- as I said in one place in the report, the
19    A. On a formulated --                                 19 regulatory history of Roundup would have been changed.
20    Q. On a formulated product.                           20 It's impossible to predict exactly how, but it would
21    A. Major formulated product, correct.                 21 have been changed.
22    Q. You then say, "It also does not relieve            22     Q. We've discussed that there are other
23 Monsanto of its obligation, as the dominant manufacturer 23 manufacturers of glyphosate-based herbicides; correct?
24 of glyphosate-based herbicides, to carry out such a      24     A. Now there are.
25 study in the interest of assuring its formulated         25     Q. Now there are. And you state in your report

                                                 Page 255                                                       Page 257
 1 products are as safe as the company had been claiming     1 that Monsanto, as the dominant manufacturer of
 2 since the late 1970s."                                    2 glyphosate-based herbicides, had an obligation to
 3        Did I read that correctly?                         3 conduct this study; correct?
 4    A. Yes.                                                4     A. Right. Correct.
 5    Q. What is the source of Monsanto's obligation to      5     Q. Is it your position that other manufacturers of
 6 carry out this study?                                     6 glyphosate-based herbicides don't have an obligation to
 7    A. Their obligation under FIFRA to assure that the     7 conduct such a study?
 8 pesticide products that it obtains, labels through the    8     A. Certainly not until Monsanto has done it.
 9 EPA process, and sells to users do not pose, in general,  9 Monsanto still is the dominant single company in the
10 a risk of unreasonable adverse effects, of which         10 world. It's true that there's -- roughly half of the
11 certainly non-Hodgkin's lymphoma would classify as an 11 global supply of glyphosate is manufactured in China,
12 adverse effect in humans.                                12 but it's many companies that do it.
13        It is -- it is the responsibility of              13        So in terms of the economic importance of
14 registrants under the statute to assure that their       14 glyphosate-based herbicides to a company, there is no
15 products do not pose excessive risk, i.e., an            15 question but that Monsanto is the major global player.
16 unreasonable adverse effect on man.                      16     Q. So the obligation you're referring to turns in
17        And when a company has in its possession          17 part on a company's market share; is that a fair
18 information that suggests that such risks may actually   18 characterization?
19 be occurring, and especially when a registrant has       19     A. Absolutely.
20 acknowledged that there are valid reasons to expect that 20        And in all pesticide regulation, the company
21 their formulated products are more toxic than their pure 21 that typically first registers a pesticide active
22 technical active ingredient, that combination of facts   22 ingredient, a company that has a proprietary position in
23 is what leads me to my opinion that Monsanto had an      23 it, a company that has the most extensive set of labels,
24 obligation to conduct long-term chronic feeding studies 24 it is looked to by the rest of the industry as bearing
25 on formulated product, given that it was manufacturing 25 the principal responsibility for assuring that the


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 1 database is complete and that any questions that               1  Everybody knows that that would be the case.
 2 regulators have, any questions that the medical           2 But that -- there's no reason why those range-finding
 3 community might have, are being dealt with.               3 studies couldn't be done and then the registrant would
 4    Q. You've never designed a long-term cancer study;     4 pick typically two intervening dose levels between zero,
 5 correct?                                                  5 or the control group, and the maximum tolerated dose of
 6    A. Oh, my gosh. Are we back to that?                   6 animals fed the formulated product.
 7    Q. We're back to that.                                 7    Q. (BY MR. FAYNE:) I'd like to turn now to your
 8       MR. KRISTAL: Yeah. Don't answer that.               8 discussion of ghost-writing, which starts on page 111.
 9       THE WITNESS: Yes.                                   9       In paragraph 499 of your report -- let me know
10       MR. ESFANDIARY: You've asked it four, five         10 once you're there.
11 times now.                                               11    A. I'm there.
12       MR. FAYNE: I'm just setting up the next line       12    Q. You provide a definition of "ghost-authorship"
13 of questioning.                                          13 or "ghost-writing"; correct?
14       MR. KRISTAL: It doesn't matter what you're         14    A. Yes.
15 setting up.                                              15    Q. And you state that, "Ghost-writing
16    Q. (BY MR. FAYNE:) Okay. As someone that's never 16 refers" -- "refers to three types of contributions to a
17 designed a long-term cancer study, how can you -- strike 17 written document by a person not listed as the author or
18 that.                                                    18 among the co-authors of a document"; correct?
19       As someone who has never designed a long-term      19    A. Yes.
20 cancer study, do you know whether it's feasible to       20    Q. "Those three types of contributions include
21 conduct such a study on a formulated product?            21 producing the first and original draft of a document or
22    A. Absolutely it's feasible and it should have        22 sections of a document"; correct?
23 been done.                                               23    A. Correct.
24    Q. What is your -- what are you relying upon to       24    Q. The second is "revising a document or its
25 assert that it's absolutely feasible?                    25 sections in a way that adds to or alters the substantive

                                                      Page 259                                                   Page 261
 1     A. There's no -- no scientific, chemical,                  1 content of the document"; correct?
 2 biological, physiological reason why a group of mice or        2    A. Yes.
 3 rats could not be treated with or exposed to the               3    Q. And the third is "providing information and
 4 formulated product as opposed to the technical active          4 text, either as original writing or text derived from
 5 ingredient. There's absolutely no reason why a study           5 the existing document, that is used by a listed author
 6 couldn't be conducted in exactly the same way.                 6 or co-author or document editor to alter the content of
 7     Q. It's possible that administering the                    7 a document and/or respond to comments made during peer
 8 surfactants in formulated products could make the mice         8 review"; correct?
 9 ill before you'd be able to obtain any meaningful              9    A. These are the circumstances in which
10 results on cancer; isn't that correct?                        10 ghost-writing could occur in the standard process of
11        MR. KRISTAL: You're asking if something is             11 publishing a scientific study in a peer-reviewed
12 possible? Is that the question?                               12 journal.
13        MR. FAYNE: Yes.                                        13    Q. How did you come up with this definition of
14        THE WITNESS: That's a -- it's really an                14 ghost-writing?
15 irrelevant question.                                          15    A. This is a generally known, generally accepted
16        In the design of a cancer study, EPA guidelines        16 understanding of what ghost-writing is.
17 call for, first, a range-finding study. And in that           17    Q. Are you relying on any particular source to
18 range-finding study, groups of -- we'll use mice as the       18 come up with the definition?
19 example -- are fed progressively higher doses to              19    A. I don't -- I don't -- I can't think of any
20 determine a maximum tolerated dose.                           20 specific source. I don't think there's any ambiguity or
21        It is -- it is virtually certain that the              21 disagreement. This is the way Monsanto uses the term
22 maximum tolerated dose in a Roundup study, including the      22 "ghost-writing."
23 standard POEA surfactant, would have been substantially       23        It's very clear from the many e-mails where
24 lower than the maximum tolerated dose in the current          24 Monsanto discusses its use of the technique of
25 animal feeding studies using technical glyphosate.            25 ghost-writing. So, I mean, I don't think


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 1 there's -- that there's any real disagreement that these       A. Actually, I've had to review them
                                                                  1
 2 are examples of ghost-writing.                            2 for -- because of my co-authorship of multiple papers
 3    Q. You derived your definition of ghost-writing in     3 over the last four, five years. Most of the nutrition
 4 part on the way Monsanto described ghost-writing in       4 papers that I've written, the journals rely on the ICMJE
 5 internal e-mails. Is that accurate?                       5 guidelines.
 6    A. No. No. No.                                         6    Q. So if you look at the paragraph after the one
 7       I mean, I -- before I became involved in this       7 we just read, it restates the ICMJE guidelines as they
 8 case, I knew what ghost-writing was. Anybody that         8 existed in 2001; correct?
 9 publishes in scientific journals understands the          9    A. Yes.
10 importance of accurate authorship.                       10    Q. And they state that, "Authorship credit should
11       The COPE guidelines, which is one of the           11 be based only on: (1) substantial contributions to
12 standard set of professional guidelines for scientists,  12 conception and design, or acquisition of data, or
13 discuss appropriate attribution of authorship. They      13 analysis and interpretation of data; (2) drafting the
14 describe accurate declarations of conflicts of interest. 14 article or revising it critically for important
15 They describe when and how funding should be disclosed. 15 intellectual content; and (3) final approval of the
16       And, you know, I don't think there's really any    16 version to be published."
17 serious disagreement or ambiguity about each of these    17        Did I read that correctly?
18 three examples of ghost-writing that I've noted in my    18    A. Yes.
19 report.                                                  19    Q. And the next sentence states, "Conditions (1),
20       MR. FAYNE: I'm marking as Exhibit 19 an            20 (2) and (3) must all be met"; correct?
21 article from COPE, which you just referred to in your    21    A. Yes.
22 testimony, about authorship disputes.                    22    Q. So under these guidelines, in order to be
23           (Exhibit 19 marked for identification.)        23 listed as an author someone must meet all three
24    Q. (BY MR. FAYNE:) Have you seen this document 24 criteria; correct?
25 before?                                                  25    A. Yes.

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 1   A. Yes.                                                      1    Q. Would you agree that these three criteria are
 2   Q. If you go to the third paragraph, it states               2 different than the ones that you set forth in
 3 that, "Listing the authors tells readers who did the           3 paragraph 499 of your report?
 4 work and to ensure that the right people get the credit        4    A. Modestly.
 5 and take responsibility for the research. Although             5    Q. Modestly?
 6 journal editors do not always agree among themselves on        6    A. Yeah.
 7 what constitutes authorship, many of them subscribe to         7    Q. In your report, you state that, "Providing
 8 the guidance from the International Committee of Medical       8 information and text that is used by a listed author or
 9 Journal Editors (ICMJE), also known as the Vancouver           9 co-author without being listed as an author constitutes
10 group."                                                       10 ghost-writing"; correct?
11        Did I read that correctly?                             11    A. Let's -- let's review the material under -- on
12   A. Yes, you did.                                            12 the right-hand side column, "How to reduce the incidence
13   Q. Are you familiar with the International                  13 of authorship problems."
14 Committee of Medical Journal Editors?                         14       "People generally lie about authorship in two
15   A. I am.                                                    15 ways: By putting" -- First, "by putting down names of
16   Q. Would you agree that ICMJE is an authoritative           16 people who took little or no part in the research (gift
17 source on ethical guidelines for publishing in                17 authorship, see below)."
18 peer-reviewed journals?                                       18       Second bullet, "By leaving out names of people
19   A. It's certainly one of the most widely accepted           19 who did take part (ghost-authorship, see below)."
20 and aspired to.                                               20       It's my articulation and explanation of what I
21   Q. Agree that many journal editors rely on it, as           21 mean by "ghost-writing" or "ghost-authorship" is fully
22 described in this COPE article?                               22 consistent with these guidelines.
23   A. Yes.                                                     23       MR. FAYNE: I'm going to move to strike that
24   Q. Did you review the ICMJE guidelines in reaching          24 answer as non-responsive.
25 your opinions in this case on ghost-writing?                  25       MR. KRISTAL: I think it's completely

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 1 responsive, but we don't have to decide that right now.      1 paper, you know, it has to be left up to the team.
 2 Nor do we have the authority to decide it.                   2       I can -- I can imagine that there are
 3        MR. FAYNE: Sure.                                      3 circumstances where, you know, substantial editing and
 4        I'll repeat the question and we can all decide        4 refinement of the clarity of passages, some -- some
 5 whether that answer was responsive.                          5 teams may say, Let's add so-and-so as a co-author.
 6        MR. KRISTAL: Sure.                                    6 There's no harm in doing that. There's no -- no reason
 7    Q. (BY MR. FAYNE:) The question was, you state in         7 preventing that from being done.
 8 your report that providing information and text that is      8    Q. Understood, but my question is more aimed at
 9 used by a listed author or a co-author without being         9 when is it required in order to comply with ethical
10 listed as an author constitutes ghost-writing; correct?     10 guidelines, not can you do it.
11    A. Correct.                                              11   A. Okay. All right. Fair enough.
12    Q. Somebody could provide information or text            12   Q. So my question is, at what point is it
13 that's used in a study or report without having final       13 required --
14 approval of the study; correct?                             14   A. I already answered that.
15    A. Presumably, yes.                                      15   Q. I under --
16    Q. Somebody could produce the first draft of a           16   A. When the editing changes the substantive
17 document without having final approval of the document;     17 content of the document.
18 correct?                                                    18   Q. By "substantive content," do you mean the
19    A. Yes.                                                  19 conclusions of the document, of the study authors?
20    Q. Someone could revise a document without having        20   A. No, I mean the substantive content of it, as
21 final approval of the document; correct?                    21 opposed to the words that are chosen to express a given
22    A. Yes. What's your point?                               22 sentence.
23        MR. KRISTAL: You don't have to ask -- your job       23       Do we really need to argue about what
24 is not to ask, just to answer.                              24 substantive content is?
25        THE WITNESS: Jerry, you're being very nice,          25   Q. You tell me.

                                                    Page 267                                                     Page 269
 1 but I'm getting to the end of my rope on some of this.       1       MR. ESFANDIARY: Well, Bill Heydens thought he
 2       MR. KRISTAL: No, I understand. Be patient.             2 could ghost-write things. I mean --
 3 We are now -- we've got less than an hour left of his        3       MR. FAYNE: Can we not have people who aren't
 4 Monsanto questions.                                          4 even defending the deposition testifying?
 5    Q. (BY MR. FAYNE:) In your view, if somebody              5    Q. (BY MR. FAYNE:) In your report you focus
 6 provides edits to a document and isn't listed as an          6 primarily on four studies that you contend were
 7 author, is that ghost-writing?                               7 ghost-written by Monsanto; is that fair?
 8    A. Depends whether the edits change the substance         8    A. There's more than four.
 9 of the paper or whether they're done by an editor or         9    Q. But the four that you have independent sections
10 someone that is proofreading or really not -- not tasked    10 for; correct?
11 or capable of changing the substantive content of the       11    A. Yes. There's -- I -- I don't remember exactly
12 document.                                                   12 how many there are independent sections on, but in the
13       It's very common. For example, a lot of               13 "Critical Reviews of Toxicology" special issue, there's
14 scientists don't have English as a first language.          14 five papers.
15 They -- they write some English, and then                   15    Q. Okay. So let me walk through the section. So
16 one -- somebody, sometimes even a person that's not         16 there's the Gary Williams, et al., 2000 paper; correct?
17 listed as a co-author, will clean up the English so that    17    A. Correct.
18 proper tensive verbs are used, et cetera.                   18    Q. And that was published in the Journal of
19    Q. Apart from language translation issues, editing       19 Regulatory Toxicology and Pharmacology?
20 a document for clarity, would that be something that        20    A. Correct.
21 would require somebody to be listed as an author?           21    Q. There's the Williams, et al., 2012 paper that
22    A. Probably not, if it's truly just for clarity          22 was published in the Journal of Toxicology and
23 and it doesn't change the substantive content. But the      23 Environmental Health; correct?
24 decision on how substantial the contributions of an         24    A. Yes.
25 editor are in terms of clarifying the content of a          25    Q. There's the Kier and Kirkland 2013 paper

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 1 published in the journal Critical Review in Toxicology;          1    A. Well, several of them. There was multiple
 2 correct?                                                         2 back-and-forths between Heydens and authors of the
 3    A. Correct.                                                   3 Critical Review of Toxicology special issue. You know,
 4    Q. And then there's the Critical Reviews in                   4 and as I said, there's extensive records that I've
 5 Toxicology special issue on glyphosate risks; correct?           5 reviewed where Heydens was the Monsanto official who was
 6    A. Correct.                                                   6 most frequently involved in inserting his personal and
 7    Q. So I'm going to focus on those four, if that's             7 presumably Monsanto corporate views in these journal
 8 okay with you.                                                   8 articles as they were in the various stages of
 9    A. Sure.                                                      9 preparation.
10        MR. KRISTAL: Would you do it if it wasn't okay           10    Q. Is it your testimony that the authors of any of
11 with him?                                                       11 these articles believed that the science showed
12        MR. FAYNE: Yes.                                          12 glyphosate to be carcinogenic?
13    Q. (BY MR. FAYNE:) You're aware, I imagine, that             13    A. I've never put that question to any of them
14 each of these journals have authorship guidelines;              14 directly so I have no idea whether they hold that view.
15 correct?                                                        15 The papers in which their names appear does not state
16    A. Yes.                                                      16 that view.
17    Q. Did you review the authorship guidelines in               17    Q. And you're not testifying that they initially
18 forming your opinions in this case?                             18 stated that view and then Monsanto somehow convinced
19    A. I don't remember which ones I did and didn't.             19 them to reverse course and say that glyphosate was not
20 I had reviewed the Critical Review of Toxicology because        20 carcinogenic; correct?
21 I -- I had thought about submitting a paper to it               21    A. I'm not aware of that occurring.
22 myself.                                                         22    Q. A little earlier you testified that, I believe,
23        I don't remember which ones I specifically               23 that it was well known by Monsanto that its formulated
24 reviewed, but, you know, I'm fairly certain there's not         24 product was more toxic than glyphosate alone; correct?
25 a lot of difference across them, but they are generally         25    A. Correct.

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 1 consistent with the COPE and the International Committee         1    Q. You would agree with me that toxic does not
 2 on -- of Medical Journal Editors' guidelines.                    2 necessarily equal carcinogenic; correct?
 3    Q. Each of these four publications that I just                3    A. Surely. There is multiple forms of toxicity
 4 listed -- one of which I understand is a series of               4 that fall short of inducing cancer.
 5 articles; correct?                                               5    Q. Toxic and carcinogenicity are two different
 6    A. Correct.                                                   6 concepts; correct?
 7    Q. Each of those publications were reviews of                 7    A. Well, carcinogenicity would -- is a toxic
 8 studies in the existing published literature; correct?           8 effect, but there are many other toxic effects.
 9    A. Yes.                                                       9    Q. And many substances can be toxic at certain
10    Q. They were not primary studies?                            10 doses; correct?
11    A. Correct.                                                  11    A. To certain organisms, of course.
12    Q. So I take it you're not contending that                   12    Q. So even water at a high enough dose could be
13 Monsanto manipulated the underlying data, scientific            13 toxic; correct?
14 data, in any way; correct?                                      14    A. Well, I don't know if it would be exactly -- it
15    A. I'm not speaking to that. I'm not saying they             15 floods the lungs and keeps air from getting in and you
16 did; I'm not saying they didn't.                                16 die, so it's not -- it's -- that is not a toxic mode of
17    Q. Do you have any reason to believe that the                17 action in inducing death.
18 authors listed in these studies did not agree with the          18    Q. So --
19 analyses or conclusions set forth in the studies?               19    A. Nor is getting crushed by an 18-wheeler.
20    A. No.                                                       20    Q. Understood.
21    Q. Any reason to believe that Monsanto or its                21    A. Okay.
22 employees caused the authors to change their                    22    Q. So for the members of the jury, just to be
23 conclusions?                                                    23 clear, when you say "toxic," you don't mean
24    A. Yes.                                                      24 carcinogenic; correct?
25    Q. For which study?                                          25    A. A pesticide that is toxic could also be a

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 1 pesticide that is carcinogenic. A pesticide that is          1 A. Correct. But then they also did their own
 2 carcinogenic is by definition toxic because               2 assessment of the science in an effort to fully
 3 carcinogenicity is a component of or falls within the     3 implement the requirements of Proposition 65.
 4 realm of toxic responses.                                 4    Q. What assessment was that? Is there -- is there
 5    Q. But a pesticide that is toxic is not                5 a name for it? I'm not sure what you're referring to,
 6 necessarily carcinogenic?                                 6 so I'm...
 7    A. Correct.                                            7    A. Under Proposition 65, the OEHHA is responsible
 8    Q. So the fact that something is toxic does not        8 for coming up with a NSRL. I can't remember exactly
 9 mean that it's carcinogenic; correct?                     9 what the acronym refers to, but it's a level of exposure
10    A. Not necessarily.                                   10 below which there would not be a requirement for
11    Q. In your May deposition you were asked about a 11 listing. So they set a benchmark for exposure.
12 number of foreign regulatory determinations; do you      12    Q. That's a level of exposure below which the
13 recall that?                                             13 state agency does not believe there's any risk of
14    A. EFSA, Canada, yes, I do remember that.             14 cancer; correct?
15    Q. So you acknowledge that a number of foreign        15    A. And any need to so label under Prop 65.
16 regulators, including Canada, EFSA, New Zealand,         16    Q. Right. So no need to label, and that's the
17 Australia, that they've classified glyphosate as         17 level at which the agency believes there's no risk of
18 non-carcinogenic; correct?                               18 cancer; correct?
19    A. We've discussed that, yes.                         19    A. I don't think it would be accurate to say "no
20    Q. And that's all of those since the IARC             20 risk of cancer," but it is accurate to say it's a
21 determination in 2015; correct?                          21 threshold below which the -- the agency would not
22    A. Yes. Some of them were before, some of them        22 require the listing of chemicals under Proposition 65.
23 after, and I don't believe any of them have changed.     23    Q. Other than OEHHA in California, would you agree
24    Q. Are you aware of any foreign regulatory body       24 that as of today IARC is the only scientific or
25 that has conducted a risk assessment of glyphosate since 25 regulatory entity in the world that has reviewed the

                                                    Page 275                                                     Page 277
 1 the IARC classification and concluded that glyphosate is     1 evidence and concluded that glyphosate is a probable
 2 carcinogenic?                                                2 carcinogen?
 3    A. Not that -- not a reassessment that's resulted         3    A. Certainly there's no other one that's done an
 4 in a final conclusion, no.                                   4 extensive and independent review as IARC has, no.
 5    Q. So you would agree that as of today IARC is the        5    Q. You state in paragraph 13 of your report that,
 6 only scientific or regulatory entity in the world that       6 "Monsanto has failed to meet its obligation by failing
 7 has reviewed the full evidence on glyphosate and             7 to warn about the risks of oncogenicity, genotoxicity,
 8 concluded that glyphosate is a probable carcinogen;          8 and, most recently, carcinogenicity."
 9 correct?                                                     9    A. Correct.
10    A. Well, I think the Office of Environmental             10    Q. Are you aware of any pesticide manufacturer
11 Health's assessment in the state of California has          11 that has placed a warning on its label for oncogenicity?
12 reached that conclusion.                                    12    A. Yes.
13    Q. And you're -- it's your understanding that -- I       13    Q. You've seen pesticide labels that include a
14 believe you're referring to OEHHA in California?            14 warning for oncogenicity?
15    A. Yeah, OEHHA.                                          15    A. Yes.
16    Q. That they conducted a risk assessment and             16    Q. Which labels are those?
17 reached that conclusion?                                    17    A. Some of the 2,4-D labels have a warning.
18    A. Yes.                                                  18 The -- I think Monsanto put a warning on Alachlor labels
19    Q. And they reviewed studies and data in reaching        19 at the -- at one point in the history of Alachlor.
20 that conclusion?                                            20       I think there probably was a warning on the EDB
21    A. Yes. And, as you know, their regulations also         21 labels, ethylene dibromide, and, you know, I'd have to
22 require them to follow IARC determinations.                 22 go through the list of oncogenic active ingredients and
23    Q. Right. So OEHHA was required by statute to            23 look at -- look at the various labels, but I have not
24 classify glyphosate as a probable carcinogen based on       24 done that analysis in preparation for this case.
25 the IARC determination; correct?                            25    Q. What about genotoxicity? Have you ever seen a

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 1 pesticide label that includes a warning for                  1 discussions, media discussions, advertising material,
 2 genotoxicity?                                                2 promotional meetings.
 3    A. Let's see. I'd have to -- I'd have to do an            3       It -- sometimes actual employees of Monsanto
 4 assessment of different -- different active ingredients      4 make those statements. Certainly William Heydens has
 5 to answer that. I didn't -- I didn't make an effort to       5 made the statement multiple times. And I believe that
 6 do that in preparation for this.                             6 it was part of Monsanto's effort to protect the freedom
 7    Q. So sitting here today, you're not aware of any         7 to operate for glyphosate-based herbicides that they
 8 pesticide manufacturer that has added a genotoxicity         8 wanted people to believe that glyphosate-based
 9 warning on its pesticide product label; correct?             9 herbicides are non-toxic and they did very little to
10    A. Correct.                                              10 discourage people who were saying that it was also safe
11    Q. If you go to paragraph 20 of your report.             11 enough to drink.
12    A. Page 13?                                              12    Q. Your testimony is that Monsanto employees and
13    Q. Sounds right.                                         13 Dr. Heydens made the statement that Roundup is safe
14    A. I'm there.                                            14 enough to drink. Did I understand you correctly?
15    Q. Have you ever seen -- sorry, before we get to         15     A. No. I said "non-toxic."
16 paragraph 20, have you ever seen a pesticide label that     16     Q. And I'm asking -- I apologize. I might have
17 includes a warning based on an association found in         17 misunderstood that. I'm referring to the statement that
18 epidemiological study, an association between the           18 it's safe enough to drink.
19 product or its ingredients and cancer?                      19        Are you aware of any Monsanto employee or any
20    A. I think -- I certainly know that there's some         20 agent of Monsanto that's made that statement?
21 chemical safety data sheets that do that, and there's       21     A. In the record in writing, I'd have to think
22 some of the OSHA sheets that do that, but on a -- on an     22 about that.
23 end-use product label, I'd have to, again, do an            23     Q. So sitting here today, you're not aware of
24 assessment.                                                 24 anything in writing in the record in the Roundup
25    Q. So sitting here today, you're not aware of any        25 litigation that makes that statement; correct?

                                                    Page 279                                                      Page 281
 1 pesticide product label that includes a warning that's       1 A. From a Monsanto employee.
 2 based on an association found in an epidemiological       2    Q. Are you aware of it being said by someone other
 3 study; correct?                                           3 than a Monsanto employee in the discovery record in this
 4    A. Solely on that, no.                                 4 case?
 5    Q. So now turning to paragraph 20. You state           5    A. Yes.
 6 that, "Two common assertions" -- sorry, I'm skipping to   6    Q. Who's that?
 7 the second sentence of that paragraph.                    7    A. I'll have to -- I'll have to search it out.
 8    A. By all means, go for it.                            8 There's multiple instances of that.
 9    Q. "Two common assertions that have perpetuated a      9    Q. So sitting here today, you can't identify for
10 lack of care by some people applying Roundup herbicide   10 me a document where somebody either at Monsanto or
11 are that Roundup is non-toxic and safe enough to drink." 11 outside of Monsanto made that statement in writing;
12        Do you see that?                                  12 correct?
13    A. Yes.                                               13    A. I'd have to -- I'd have to go back and find it.
14    Q. What are you relying on for your statement that    14 You know, I can guarantee you that that statement is in
15 Monsanto has asserted that Roundup is safe enough to     15 the record.
16 drink?                                                   16        MR. FAYNE: I'll pass the witness for now.
17    A. I didn't say that Monsanto has asserted that.      17        THE WITNESS: Are you done?
18 Many other people have.                                  18        MR. FAYNE: I might have more questions for you
19        And what I say in this paragraph is that          19 after --
20 Monsanto has not done as much as it should have to       20        THE WITNESS: Okay.
21 discourage overstatements of the safety of               21        MR. FAYNE: -- your counsel has a chance to go,
22 glyphosate-based herbicides. And as I -- as I note in    22 but I'm going to pass him over to you.
23 paragraph 20, the two most common simple statements are 23         MR. KRISTAL: Why don't we take a five-minute
24 "It's safe enough to drink" and "It's non-toxic." Those  24 break so we can get organized and move forward.
25 two statements arise fairly regularly in public          25        THE WITNESS: And I want to use the boys' room.

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 1       VIDEOGRAPHER: Off the record at 4:30.                 1 Is this the International Code of Conduct on the
 2         (A brief recess was had.)                           2 distribution and use of pesticides that you just
 3       VIDEOGRAPHER: Back on the record at 4:39 p m.         3 referred to as the earlier version of this?
 4                EXAMINATION                                  4    A. Correct.
 5 BY MR. KRISTAL:                                             5    Q. And through the years, from 1985 through 2014,
 6    Q. Good afternoon, Dr. Benbrook. It's                    6 has this been periodically revised?
 7 Jerry Kristal on behalf of the plaintiffs. I've got a       7    A. If my memory serves me correctly, I believe
 8 couple of questions, if that's okay?                        8 about four times, maybe five.
 9    A. Yes, sir.                                             9    Q. And do these documents establish stewardship
10    Q. First of all, just housekeeping. I'll mark as        10 industry standards of care for the pesticide industry?
11 Exhibit 20 the December 26, 2018, errata sheet that we     11    A. Yes, they do.
12 had handed to counsel for Monsanto towards the beginning   12    Q. Now I'm going to show you -- I apologize to
13 of the deposition.                                         13 counsel, but I couldn't print this out.
14         (Exhibit 20 marked for identification.)            14        So let me first hand my laptop to counsel to
15    Q. I'm not going to ask you questions about it,         15 take a look. It's a page from the monsanto.com website
16 but I wanted it to be marked for purposes of the           16 entitled "Product Stewardship and the Pledge."
17 deposition, and it hadn't yet been marked.                 17        And if you want to scroll down, I'm going to
18       You were asked by Monsanto counsel about both        18 ask questions about where Monsanto says it has adopted
19 corporate ethics and sources of Monsanto's obligations     19 these international codes of conduct on pesticide
20 to do certain things.                                      20 management. And we can print that out at some point and
21       Do you generally remember that line of               21 make it a part of the record.
22 questioning?                                               22        So for purposes of recordkeeping, that portion
23    A. Yes.                                                 23 of the monsanto.com website we'll mark as 23.
24    Q. Are you familiar with various international          24        MR. FAYNE: Counsel, are you representing
25 codes of conduct on pesticide management?                  25 that -- in this website there are links to two

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 1    A. Yes.                                                  1 documents. Are you representing that these documents
 2       MR. KRISTAL: I'm going to mark as Exhibit 21          2 are the linked documents on the website?
 3 and Exhibit 22 two documents.                               3       MR. KRISTAL: Well, if you scroll down, there's
 4          (Exhibit 21 marked for identification.)            4 a link to the current version of the International Code
 5          (Exhibit 22 marked for identification.)            5 of Conduct on Pesticide Management that Monsanto says it
 6    Q. (BY MR. KRISTAL:) I'm going to hand them both         6 adopts.
 7 to you, and I'll give a copy to counsel.                    7        MR. FAYNE: Right. I see that link. I'm happy
 8       Exhibit 21 is the International Code of Conduct       8 to click on it, but are you representing that this is
 9 on Pesticide Management. It has a date on the third         9 that link?
10 page inside of 2014, and this is put out by the Food and   10        MR. KRISTAL: It's probably the more recent
11 Agricultural Organization of the United Nations World      11 version of that, but we'll -- I'll click on it and hand
12 Health Organization.                                       12 it back to you after I ask some questions.
13       Are you familiar with this document?                 13        Is that all right?
14    A. Yes, I am.                                           14        MR. FAYNE: Sure.
15    Q. Okay. And are you familiar with this document        15    Q. (BY MR. KRISTAL:) So let me hand you or at
16 as part of your 30-plus years of experience and            16 least sit next to you.
17 knowledge base vis-à-vis corporate stewardship for the     17    A. I know this.
18 pesticide industry?                                        18    Q. You're familiar with this?
19    A. Yes. I believe this document goes back to the        19    A. I have this printed out in my files.
20 mid '80s.                                                  20    Q. All right. On the Monsanto website under the
21    Q. If you look at Exhibit 22, and if you -- about       21 Product Stewardship and the Pledge section, Monsanto
22 three-quarters of the way down, it says, "Resolution       22 writes, "We subscribe to international stewardship
23 10/85," and then it has, on the --                         23 standards, including the International Code of Conduct
24    A. Oh, okay.                                            24 on Pesticide Management issued by the United Nations
25    Q. -- second page, "adopted November 28th, 1985."       25 Food and Agricultural Organization and fully supported


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 1 by Responsible Care Global Charter."                       1   A. 2014.
 2        So I'm going to click on the link that Monsanto    2    Q. Okay. So we will print and mark as Exhibit 24
 3 provides, but let me show it to you. Do they have a       3 the opened linked version.
 4 number of versions of the international code in           4       And if you would look at Exhibit 21.
 5 different languages?                                      5    A. 21.
 6    A. Yes, they do.                                       6    Q. Thank you. And I'll have a couple of questions
 7    Q. All right. And have you gone through this           7 about this.
 8 exercise of actually opening this on the Monsanto         8       Does this document establish pesticide industry
 9 website?                                                  9 what are called stewardship standards?
10    A. But only the English version.                      10    A. Yes.
11    Q. Right. Right.                                      11    Q. And if you would turn to page 8.
12    A. And you're going to get this document. This        12    A. The Article 3, Pesticide Management?
13 is -- I'm almost sure this is the most recent one, 2014. 13    Q. Yes.
14    Q. That's a 2014, is it?                              14       Does this document, in terms of its general
15    A. Yeah.                                              15 format, lay out both government responsibilities for
16        MR. FAYNE: Can I see the document?                16 pesticide management and pesticide industry
17        MR. KRISTAL: It's hopefully opening. Tell you     17 responsibilities?
18 what, why don't we go off the video record. When it      18       MR. FAYNE: Object to form.
19 completely opens, I'll show it to you, then we'll go     19    A. Yes.
20 back on the video record. Is that all right?             20    Q. Okay. And on page 8, Section 3.2, under
21        VIDEOGRAPHER: Off the record at 4:46 p m.         21 "Pesticide management," reads, "Pesticide industries
22           (A brief recess was had.)                      22 should adhere to the provisions of this code as a
23        VIDEOGRAPHER: Back on the record at 4:48 p m. 23 standard for the manufacture, distribution, sale and
24    Q. (BY MR. KRISTAL:) We are going to mark, after 24 advertising of pesticides."
25 we print out the linked International Code of Conduct    25       Do you see that?

                                                   Page 287                                                   Page 289
 1 that the Monsanto website takes it to, and what version    1 A. Yes.
 2 is that?                                                2    Q. And that is a part of this stewardship for the
 3       MR. FAYNE: Object.                                3 pesticide industry?
 4    Q. What year?                                        4    A. Code of conduct, stewardship, yes.
 5    A. 2014.                                             5    Q. And in the lower right-hand corner -- I'm
 6       MR. FAYNE: I'm going to object to the             6 sorry. Under 3.5, "Pesticide industry and traders
 7 characterization of that as the linked international    7 should observe the following practices in pesticide
 8 code of conduct document.                               8 management."
 9       MR. KRISTAL: Why is that?                         9        Correct? That's what it says?
10       MR. FAYNE: I see it's on the screen, but I       10    A. Yes.
11 don't know that that's where it's linked.              11    Q. And then under that, 3.5.3, "Pay special
12       MR. KRISTAL: Okay. Why don't you go back.        12 attention to the choice of pesticide formulations and to
13 We'll go off the record.                               13 presentation, packaging and labeling in order to
14       VIDEOGRAPHER: Off the record at 4:48 p m.        14 minimize risks to users, the public and the
15          (A brief recess was had.)                     15 environment."
16       VIDEOGRAPHER: Back on the record at 4:52 p m. 16           Is that part of the stewardship pesticide
17    Q. (BY MR. KRISTAL:) All right. While we were       17 industry standard adopted by Monsanto?
18 off the record, we opened up the link on the Monsanto  18    A. Yes, it is.
19 website in the Product Stewardship Pledge section      19        MR. FAYNE: Objection to the characterization
20 entitled "International Code of Pesticide Management." 20 that it was adopted by Monsanto.
21       And do you have that --                          21        MR. ESFANDIARY: It's on the website.
22    A. I do.                                            22        MR. KRISTAL: It's on their website with a link
23    Q. -- open in front of you?                         23 to it. Other than that --
24       And what is the date on the linked               24        THE WITNESS: But the --
25 international code that's on the Monsanto website?     25        MR. KRISTAL: And they said they're adopted.

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 1    Q. (BY MR. KRISTAL:) Okay. The next page, 3.5.6           1    Q. And is this part of the reason that -- part of
 2 under "Pesticide industry responsibilities," "Retain an      2 the basis for your opinion that Monsanto should have
 3 active interest in following their products through          3 included an oncogenicity warning on its label as of the
 4 their entire lifecycle, keeping track of major uses and      4 time of the 1983 mouse study?
 5 the occurrence of any problems arising from the use of       5       MR. FAYNE: Object to form.
 6 their products as a basis for determining the need for       6    A. As of the time of the CARC review in 1985,
 7 changes in labeling, directions for use, packaging,          7 correct.
 8 formulation, or product availability."                       8    Q. And is it also part of the basis of your
 9       Is that also part of this industry standard            9 opinion in terms of Monsanto's obligation to conduct the
10 adopted by Monsanto?                                        10 chronic feeding study with glyphosate-based herbicides?
11    A. Yes, it is.                                           11       MR. FAYNE: Object to form.
12       MR. FAYNE: Objection. Same objection.                 12    A. Yes.
13    Q. Under Section 3.11 of the pesticide management        13    Q. And if you look at Section 3.4.4, "Retain an
14 standard, "Governments, pesticide industry and the          14 active interest in following their products to the
15 application equipment industry should develop and           15 ultimate consumer, keeping track of major uses and the
16 promote the use of pesticide application methods and        16 occurrence of any problems arising in the actual use of
17 equipment that minimize the risk from pesticides to         17 their products as a basis for determining the need for
18 human and animal health and/or the environment and that     18 changes in labeling, use directions, packaging,
19 optimize efficiency and cost effectiveness, and should      19 formulation, or product availability."
20 conduct periodic practical training in such activities."    20       Is that part of this standard and part of the
21       Is that another part of this standard that is         21 basis of your opinion in terms of Monsanto's
22 linked to the Monsanto website?                             22 obligations?
23       MR. FAYNE: Same objection.                            23       MR. FAYNE: Object to form.
24    A. Yes, it is.                                           24    A. Yes, it is.
25    Q. All right. And if you turn to page -- I'm             25    Q. And under 3.4.3, "A manufacturer should

                                                    Page 291                                                               Page 293
 1 sorry, to Exhibit 22 now, the 1985 standard, does this       1 provide, with each package of pesticide, information and
 2 also set out -- if you'd look, for example, at               2 instructions in a form and language adequate to ensure
 3 Section 3.3 -- government standards that should be --        3 safe and effective use."
 4    A. What page are we on?                                   4         Is that also part of the basis of your opinion
 5    Q. It's Section 3.3.                                      5 for Monsanto's obligations?
 6    A. Okay. Get the -- okay. I'm there.                      6         MR. FAYNE: Object to form.
 7    Q. Sets out government standards --                       7      A. Yes, it is.
 8    A. Yeah, 3.3.                                             8      Q. You were asked if there was any company that
 9    Q. -- as well as pesticide manufacturing                  9 ever put an oncogenicity warning on a product, and you
10 standards?                                                  10 mentioned Alachlor. First of all, what is Alachlor?
11    A. Correct.                                              11      A. It's a grass herbicide at the time manufactured
12    Q. All right. 3.4 of the 1985 International Code         12 by Monsanto.
13 of Conduct on the Distribution and Use of Pesticides        13         MR. KRISTAL: And it's A-L-A-C-H-L-O-R, capital
14 reads, "Manufacturers and traders should observe the        14 A.
15 following practices in pesticide management, especially     15           (Exhibit 25 was marked for identification.)
16 in countries without legislation and the means of           16      Q. (BY MR. KRISTAL:) I'm marking as Exhibit 25
17 implementing regulations."                                  17 two pages from the 1985 Monsanto Crop Chemicals Sample
18       3.4.2, "Pay special attention to formulations,        18 Label Guide, and on the second page of the document, up
19 presentation, packaging and labeling in order to reduce     19 top, it reads, "Important 1985 label changes?"
20 hazards to users to the maximum extent possible,            20         Do you see that?
21 consistent with the effective functioning of the            21      A. Yes.
22 pesticide in the particular circumstances in which it is    22      Q. And is this the basis in terms of your
23 used."                                                      23 understanding that Monsanto itself had put an
24       Is that part of this 1985 code of conduct?            24 oncogenicity warning on its Alachlor?
25    A. Yes, it is.                                           25      A. Yes.

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 1       MR. FAYNE: Object to form.                             1 11 recommended studies he was proposing.
 2    Q. In the -- under the section "Important 1985            2       Do you recall that line of questioning?
 3 label changes," the first bullet point in the left-hand      3    A. Yes.
 4 column, "As mentioned earlier, the results of tests in       4    Q. And did you go through that exercise over
 5 which laboratory animals were fed Alachlor daily             5 lunch?
 6 throughout most of their lifetimes led to the additions      6    A. Yes.
 7 of a warning statement on the label, 'The use of this        7    Q. Did Monsanto counsel then not ask you about
 8 product may be hazardous to your health. This product        8 that?
 9 contains Alachlor, which has been determined to cause        9    A. Correct.
10 tumors in laboratory animals.'"                             10    Q. Okay. And were you also asked to look up two
11       Is that an oncogenicity warning?                      11 of the studies that had been referenced in your report
12    A. Yes.                                                  12 regarding genotoxicity and in vivo chromosomal damages?
13    Q. In this label change announcement from 1985, is       13    A. Correct.
14 there also another change that's being announced for the    14    Q. And did you do that?
15 products that are listed here to "Wear goggles or face      15    A. Yes, I did.
16 shield, rubber gloves, long trousers, long sleeve shirt     16    Q. Over the lunch break?
17 or jacket of tightly woven material, along with boots       17    A. Yeah. Yes.
18 high enough to cover ankles when transferring and mixing    18    Q. And were you asked about that by Monsanto
19 and when adjusting, repairing or cleaning equipment.        19 counsel?
20 Wear rubber boots when pouring from open containers or      20    A. No.
21 when re-entry is made into fields where the product has     21    Q. I'd like you to try to find Exhibit 11 that was
22 been applied through center pivot irrigation system and     22 given to you earlier today by Monsanto counsel.
23 the field is still wet."                                    23       MR. FAYNE: Which exhibit is that?
24       MR. FAYNE: Object to form.                            24       MR. KRISTAL: It's the electronic code of
25    Q. Is that something Monsanto was putting on the         25 federal regulations regarding recording requirements.

                                                    Page 295                                                   Page 297
 1 label for the products listed on the second page of          1    THE WITNESS: Got it.
 2 this, similar to what EPA wanted Monsanto to put on the   2       MR. FAYNE: Could you give me one second?
 3 Roundup label in terms of the worker protection           3       MR. KRISTAL: Sure. Take your time.
 4 provisions?                                               4       MR. ESFANDIARY: You got it?
 5        MR. FAYNE: Object to form.                         5       MR. FAYNE: Yeah. Thank you.
 6    A. Yes, very -- very similar and                       6    Q. (BY MR. KRISTAL:) You were asked about certain
 7 essentially -- essentially the same time. This is 1985,   7 sections by counsel for Monsanto. Let me ask you about
 8 and the glyphosate registration document was 1986.        8 other sections.
 9    Q. And the new label specifies, in addition to         9       First of all, on the first page,
10 what I just read, "Clothing which comes in contact with  10 Section 159.153 entitled "Definitions," do you see that?
11 Lasso must be washed before reuse. Clothing or other     11    A. I see. I do.
12 materials which has become drenched with the             12    Q. If you would turn to the next page and look at
13 concentrated pesticide must be disposed of in a sanitary 13 the definition of "qualified expert."
14 landfill by incineration or, if allowed by state and     14       Do you see it there up top?
15 local authorities, by burning. If burned, stay out of    15    A. I do.
16 smoke."                                                  16    Q. Okay. "Qualified expert means one who by
17        And is that similar to one of the worker          17 virtue of his or her knowledge, skill, experience,
18 protection provisions EPA had requested Monsanto put on 18 training or education could be qualified by a court as
19 the Roundup label regarding clothing which comes in      19 an expert to testify on issues related to the subject
20 contact and is drenched by Roundup?                      20 matter on which he or she renders a conclusion or
21        MR. FAYNE: Object to form.                        21 opinion. Under Rule 702 of the Federal Rules of
22    A. Its -- it's very similar, yes.                     22 Evidence, a person may be qualified as an expert on a
23    Q. Over lunch we had referred to a homework           23 particular matter by virtue of knowledge, skill,
24 assignment where you were going to be looking at the     24 experience, training, or education. In general, EPA
25 Dr. Parry-submitted reports to Monsanto to identify the  25 wants registrants to report information when a person


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 1 has relevant expert credentials (e.g., a medical doctor   1    Q. Page 157?
 2 giving a medical opinion, a plant pathologist giving an   2    A. Paragraph 157?
 3 opinion on plant pathology, et cetera)."                  3    Q. No, page 157, paragraph 734.
 4       Do you see that?                                    4    A. Way in there. What did I write such a long
 5    A. Yes, I do.                                          5 report for? Okay. I'm there.
 6    Q. Would Dr. Parry fall under the definition of        6    Q. And you have a three-paragraph section entitled
 7 qualified expert in the field of genotoxicity?            7 "Section 6(a)(2) of FIFRA," do you not?
 8       MR. FAYNE: Objection. Calls for a legal             8    A. Yes, I do.
 9 conclusion.                                               9    Q. On paragraph 735, you wrote the following:
10    A. Yes, he certainly would.                           10 "The June 1986 registration standard for glyphosate
11    Q. And if you turn to page 3 of 14,                   11 contains this passage: 'Registrants,'" and you wrote at
12 Section 159.158.                                         12 that -- you added "[at this time for glyphosate, only
13    A. I'm there.                                         13 Monsanto] are reminded that FIFRA Section 6(a)(2)
14    Q. And that section is entitled "What information 14 requires them to submit factual information concerning
15 must be submitted?" is it not?                           15 possible unreasonable adverse effects of the pesticide
16    A. Correct.                                           16 at any time they become aware of such information,
17    Q. And it reads, Section A, "General. Information 17 including interim or preliminary results of studies if
18 which is reportable under this part must be submitted if 18 those results suggest a possible adverse effect on man
19 the registrant possesses or receives the information and 19 or the environment. This requirement continues as long
20 the information is relevant to the assessment of the     20 as your products are registered by the agency."
21 risks or benefits of one or more specific pesticide      21        Did the TNO study results that were provided to
22 registrations currently or formerly held by the          22 Monsanto on the dermal absorption fall under that
23 registrant.                                              23 definition?
24       "Information relevant to the assessment of the     24        MR. FAYNE: Objection. Calls for a legal
25 risk or benefits also includes conclusions or opinions   25 conclusion.

                                                    Page 299                                                    Page 301
 1 rendered by a person who meets any of the following: (1)     1    A. Yes.
 2 who was employed or retained directly or indirectly by       2    Q. And is that part of the reason it is your
 3 the registrant and was likely to receive such                3 opinion that they had to have been submitted to EPA?
 4 information; (2) from whom the registrant requested the      4    A. Because they contained new information that
 5 opinions or conclusions in question, and, (3), who is a      5 shed new light on the potential of adverse effects on
 6 qualified expert in Section 159.153(b).                      6 human beings exposed to glyphosate-based herbicides.
 7       Do you see that?                                       7          (Exhibit 26 was marked for identification.)
 8   A. Yes, I do.                                              8    Q. (BY MR. KRISTAL:) I'm marking as Exhibit 26 an
 9   Q. Okay. Would the Dr. Parry reports that were             9 e-mail from                  ,                  , dated
10 sent to Monsanto at their request on genotoxicity fall      10 April 19th, 1999. And it is to a number of people,
11 under the category 159.158, information that must be        11 including Larry Kier, K-I-E-R, William Heydens,
12 submitted to the EPA?                                       12 H-E-D -- strike that -- H-E-Y-D-E-N-S, Donna Farmer, and
13       MR. FAYNE: Objection. Calls for a legal               13 others. And it's entitled "Meeting minutes 2/25."
14 conclusion.                                                 14       Do you see that?
15   A. Yes, it would. Or yes, they would.                     15    A. I do.
16   Q. And would this also apply to the TNO reports           16    Q. Are you familiar with this document?
17 and preliminary reports that Monsanto received regarding    17    A. Yes.
18 the dermal absorption experiments?                          18    Q. And is this a document that had been produced
19       MR. FAYNE: Objection. Calls for a legal               19 by Monsanto in this litigation?
20 conclusion. Also vague as to what "this" is.                20    A. Yes.
21   A. Yes, it would.                                         21    Q. And                    writes, "Donna, thanks for
22   Q. Okay. If you would be kind enough to go to             22 this. It accurately reflects the situation. Please
23 page 157 of your report, Exhibit 3, where you discuss       23 take note of the following update. I received from
24 the FIFRA Section 6(a)(2) reporting requirements.           24 Professor Parry the signed secrecy agreement. As a
25   A. Okay.                                                  25 response, I sent him a letter of authorization and all


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 1 relevant reports and publications re mutagenicity of       1 limited and is not consistent with other better
 2 glyphosate, its formulations, and the surfactants for      2 conducted studies. In order to move Dr. Parry from his
 3 which we have mutagenicity testing data."                  3 position, we will need to provide him with the
 4        Do you see that?                                    4 additional information as well as asking him to
 5     A. I do.                                               5 critically evaluate the quality of all the data,
 6     Q. So when you were asked earlier whether or not       6 including the open literature studies."
 7 Monsanto had sent Dr. Parry all of the relevant genotox    7       Is that statement, "In order to move Dr. Parry
 8 literature, does this indicate that in fact they had?      8 from his position," an example of Monsanto dealing with
 9        MR. FAYNE: Objection.                               9 adverse information obtained by an expert?
10     A. Yes, it does.                                      10       MR. FAYNE: Objection.
11     Q. And on the second page of the document, under      11    A. Yes.
12 "Section 4, Global Experts."                              12    Q. With respect to TNO, if you'd go to the
13     A. I'm just looking down through --                   13 Exhibits 12 and 13. 12 is the final report. 13 is the
14     Q. Oh, okay.                                          14 draft TNO report.
15     A. -- this list. On page 2?                           15    A. 12 and 13?
16     Q. "Section 4, Global Experts."                       16    Q. Yes, sir.
17        MR. FAYNE: Counsel, did -- was this                17    A. There's 12 and there's 13. Okay. I got them.
18 highlighting in the original document, or did you add     18    Q. First of all, did Monsanto choose TNO to
19 it?                                                       19 conduct the study, the dermal absorption study?
20        MR. ESFANDIARY: No, that's added.                  20    A. Yes, they --
21        MR. FAYNE: What's that?                            21       MR. FAYNE: Objection.
22        MR. ESFANDIARY: That's added.                      22       THE WITNESS: Yes, they did.
23        MR. FAYNE: That's added by you-all?                23    Q. (BY MR. KRISTAL:) And if you look on what's
24        MR. ESFANDIARY: Yeah.                              24 listed as page 8 of 41 of Exhibit 12, the final study.
25        MR. FAYNE: Okay. Just want to make sure.           25    A. 8 of 41?

                                              Page 303                                                          Page 305
 1        THE WITNESS: I'm sorry, I'm missing where you       1    Q. Yes.
 2 are.                                                       2    A. Page 8? Yes.
 3    Q. (BY MR. KRISTAL:) Sure. Page 2, Section --           3    Q. You're aware that Dr.                 --
 4    A. So we're down into the Donna Farmer?                 4                           -- was the study monitor from
 5    Q. Yes.                                                 5 Monsanto?
 6    A. All right.                                           6    A. Correct.
 7    Q. Let's state that. Donna Farmer had meeting           7    Q. He's listed here as a study monitor?
 8 minutes dated 2/25 that she had prepared April 17th,       8       MR. FAYNE: Objection. Lacks foundation.
 9 1999, which is on the second page of this e-mail; is       9    A. Yes. That's
10 that correct?                                             10    Q. Okay. And if you look at Exhibit 13, the
11    A. Yes.                                                11 draft, that was faxed to whom?
12    Q. And she writes, "Please find the meeting            12    A. To Dr.
13 minutes and actions from our 2/25 meeting below."         13    Q. Okay. The person that was listed as the study
14    A. Correct.                                            14 monitor?
15    Q. Does she not?                                       15    A. Correct.
16    A. Yes.                                                16    Q. And who is he employed by, according to this
17    Q. And paragraph 4 of the meeting minutes is           17 fax?
18 entitled "Global Experts"?                                18    A. Monsanto Europe.
19    A. Yes.                                                19    Q. Okay. And on the Exhibit 12, the final report,
20    Q. And it reads, "Reviewed Dr. Parry's analysis.       20 is there a Good Laboratories Practice Statement of
21 What is our next step? Dr. Parry concluded on his         21 Compliance?
22 evaluation of the four articles that glyphosate is        22    A. Yes, there --
23 capable of producing genotoxicity both in vivo and in     23       MR. FAYNE: Sorry. Which page are we on now?
24 vitro by a mechanism based upon the production of         24       MR. KRISTAL: We are on page 5 of 41 of
25 oxidative damage. The data that Dr. Parry evaluated is    25 Exhibit 12.


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 1        THE WITNESS: Yes, there is.                             1        MR. FAYNE: Object to form.
 2    Q. (BY MR. KRISTAL:) And it's entitled "Statement           2    A. Not that I'm aware of.
 3 of GLP compliance."                                            3    Q. Okay. And is the draft, Exhibit 5, does it
 4        "We, the undersigned, hereby declare that this          4 have the same quality assurance statement that is in the
 5 report constitutes a true and complete representation of       5 final report, except for the fact that in the draft it
 6 the procedures followed and of the results obtained in         6 had not yet been signed and dated?
 7 this study by TNO Nutrition and Food Research, and that        7    A. Yes, it does.
 8 the study was carried out under our supervision. The           8    Q. Okay. Is there any indication anywhere in this
 9 study was carried out in accordance with the OECD              9 draft or final report that the study was conducted under
10 Principles of Good Laboratory Practice."                      10 any circumstances other than under good laboratory
11        Do you see that?                                       11 practices?
12    A. Yes, I do.                                              12    A. Not that I'm aware of.
13    Q. And does that same statement appear in the              13    Q. If you would turn to page 18 of the final
14 draft, Exhibit 13, accepted as not signed and dated?          14 study, Exhibit 12.
15    A. No, it doesn't.                                         15    A. Page 18?
16    Q. If you look at page 4 of --                             16    Q. Yes. Where it says "Deviations of the
17    A. The statement appears, but it's not signed.             17 protocol."
18    Q. Right. Exactly. So is that the -- in the                18    A. Yes, I have it.
19 draft, the same exact statement of Good Laboratory            19    Q. Okay. Monsanto counsel read the second
20 Practice compliance was sent among Monsanto, it just had      20 paragraph, which ends with the statement, "Therefore,
21 not yet been signed and dated?                                21 upon request of the sponsor, the experiment has not been
22    A. That is correct.                                        22 performed using viable" skin -- "human skin membranes."
23    Q. All right. And if you look on page 8 of                 23        Do you see that?
24 Exhibit 30 -- 13, the draft.                                  24        MR. FAYNE: Objection. Mischaracterizes my
25    A. Okay, page 8. I'm there.                                25 question.

                                                      Page 307                                                    Page 309
 1     Q. It's entitled "GLP Compliance Monitoring Unit           1    A. I see that sentence. You read it correctly.
 2 Statement."                                                    2    Q. Okay. In the initial protocol of the study,
 3        MR. FAYNE: I'm sorry. You're on Exhibit 13?             3 the initial design of the study, was there also going to
 4        MR. KRISTAL: Yes. I'm sorry, 6. Looks like              4 be a human skin membrane dermal absorption portion of
 5 an 8.                                                          5 the study?
 6        THE WITNESS: 8.                                         6        MR. FAYNE: Objection. Lacks foundation.
 7     Q. (BY MR. KRISTAL:) It does look like an 8, but           7    A. That was the original plan. It came out of
 8 it's page 6.                                                   8 Dr. Donna Farmer's office. There was $70,000 pledged to
 9        And it has an endorsement of compliance with            9 the work at TNO. And the rat skin penetration study,
10 good laboratory practices dated December 23rd, 1999; is       10 this initial one, and the initial human skin penetration
11 that correct?                                                 11 study were the first of -- I think there were seven
12     A. Yes.                                                   12 studies that were going to be done on different
13     Q. And if you turn to the next page, page 7 of            13 formulated products.
14 Exhibit 13, it's entitled "Testing Facility," and it          14    Q. Okay. So the final TNO report indicates that
15 lists the name and address and phone numbers of TNO,          15 the experiment on the human skin membranes had not been
16 does it not?                                                  16 done because of the variations in recovery?
17     A. Yes.                                                   17        MR. FAYNE: Are you reading from the report?
18     Q. And then it reads, in the draft, "This unit is         18    Q. I'm summarizing what appears before the
19 operating in full compliance with the OECD GLP                19 sentence that says, "Therefore, upon the request of the
20 principles." Do you see that?                                 20 sponsor."
21     A. Yes.                                                   21    A. When --
22     Q. So whether or not the good laboratory                  22        MR. FAYNE: Object to the characterization of
23 compliance statement was signed and dated in the draft,       23 the document.
24 is there any question that TNO was operating under good       24        THE WITNESS: When Monsanto received the draft
25 laboratory practices?                                         25 report, a decision was made to terminate any further


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 1 work with TNO, and that included the human skin membrane          1    A. I'm there.
 2 study that was going to be a part of the first contract,          2    Q. Okay. What were the worker safety provisions
 3 if you will.                                                      3 that the EPA was requesting Monsanto add to its label?
 4     Q. (BY MR. KRISTAL:) Okay. And did you write                  4    A. There were some requirements involving personal
 5 about the reason Monsanto articulated internally for              5 protective clothing and equipment, which included either
 6 stopping the study?                                               6 goggles or a face shield, chemical-resistant gloves, a
 7     A. Yes. It's in my expert report.                             7 chemical-resistant apron, chemical-resistant shoes or
 8     Q. Okay. If you would turn to paragraph 444.                  8 shoe coverings or boots. That was the required personal
 9     A. Okay. 444. Okay. 444, I'm there.                           9 protective equipment.
10     Q. Okay.                                                     10        There's a provision on when that additional
11     A. Page 98.                                                  11 P -- it's PPE is the acronym for personal protective
12     Q. And do you quote in paragraph 444 from an                 12 equipment -- a provision that specifies when such
13 April 4th, 2002, e-mail from the Monsanto study monitor          13 equipment is to be worn.
14             ?                                                    14        And then in terms of the handling, the
15     A. Yes, I do.                                                15 management of the gloves, there's -- under "Important,"
16     Q. Okay. And could you read the quote that you               16 it says, "Before removing gloves, wash them with soap
17 wrote in paragraph 444 of your report regarding why              17 and water. Always wash hands, face and arms with soap
18 Monsanto decided to stop the study?                              18 and water before smoking, eating, drinking or
19     A. "We came to the conclusion that the penetration           19 toileting."
20 of glyphosate would have been (probably) greater than            20        And then there's a provision that refers to the
21 the 3 percent already imposed by the German authorities.         21 handling of clothing that becomes contaminated or
22 We decided, thus, to stop" -- in capital letters,                22 drenched with spray material.
23 bolded -- "the study effective today."                           23        "After work, wash protective clothing and
24     Q. Okay. And was that statement contained from an            24 equipment with soap and water. Any personal clothing
25 e-mail produced by Monsanto in this litigation?                  25 worn during the application should be laundered

                                                         Page 311                                                         Page 313
 1    A. Right. The MONGLY number is given in my expert              1 separately from household articles," and that "Clothing
 2 report.                                                           2 or protective equipment that becomes heavily
 3    Q. Is the statement of the reason for stopping the             3 contaminated or drenched with glyphosate has to be
 4 study that was articulated internally with Monsanto               4 disposed of in accord with state and local regulations,"
 5 consistent with the reason that appears in the final              5 a language very reminiscent of what we read in the case
 6 study report that we just read?                                   6 of the label changes on Alachlor.
 7    A. No.                                                         7       And it emphasizes, again, in all capitals,
 8    Q. I want to talk to you about the line of                     8 "Heavily contaminated or drenched clothing cannot be
 9 questioning regarding the failure of EPA to make                  9 adequately decontaminated."
10 findings that Monsanto violated any regulations.                 10    Q. Okay. Now, did Monsanto ever effectuate what
11       Do you generally recall those questions?                   11 EPA was requesting them to do with respect to putting
12    A. Yes.                                                       12 those worker protection provisions in its label?
13    Q. Okay. This may seem like a silly question, but             13    A. No, it -- no, it has not.
14 let me ask it anyway. If a person robs a bank and                14    Q. You were asked a question as to whether the
15 doesn't get caught, does that mean that the bank wasn't          15 reason for that worker protective provisions related to
16 robbed?                                                          16 skin irritation and eye irritation; correct?
17       MR. FAYNE: Objection.                                      17    A. Oh, it would be part of it.
18    A. No.                                                        18    Q. Okay. Would those worker protector provisions
19    Q. Okay. And the fact that EPA did not make a                 19 reduce all exposures to Roundup for whatever adverse
20 finding of violations of regulations, does that mean             20 effect Roundup might cause?
21 that Monsanto did not violate the regulations?                   21       MR. FAYNE: Objection. Calls for speculation.
22    A. Not necessarily.                                           22 Beyond the scope of his expert --
23    Q. Okay. If you look on page 391 -- I'm sorry.                23    A. These worker protection standards were clearly
24 The worker safety provision portion of your report. I            24 designed to reduce exposure to the eye, calling for
25 believe it's paragraph 399.                                      25 goggles or a face shield. They were also clearly


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 1 designed to reduce exposures through -- through the           1         MR. FAYNE: Give me one second. Which one is
 2 hands.                                                        2 that?
 3        Why is that making so much noise? I'm sorry.           3       MR. KRISTAL: 15.
 4 I'm just going to have to let it ring. I'll turn the          4       THE WITNESS: February 24, 1986. It's the --
 5 thing off. Maybe that will do it. Yeah.                       5       MR. FAYNE: Yes, I got it now. Thank you.
 6        I'm sorry, could we -- could we go back to             6       MR. KRISTAL: On the page that ends Bates
 7 where I was --                                                7 number 5517.
 8    Q. Sure.                                                   8    Q. (BY MR. KRISTAL:) The first full paragraph
 9    A. -- before I was interrupted by my damn phone,           9 also gives a little bit of the history of the review of
10 my phone.                                                    10 the database.
11    Q. I was asking if you remember the line of               11    A. Correct.
12 questioning about eye irritation and skin irritation         12    Q. Does it not?
13 vis-à-vis the request to put in the worker protection        13       And it reads "The Federal Insecticide Fungicide
14 provisions, and I asked you if those provisions would        14 and Rodenticide Act (FIFRA) Scientific Advisory Panel
15 also reduce exposures to Roundup regardless of the           15 has completed review of the database supporting the
16 adverse effect.                                              16 Environmental Protection Agency's decision to classify
17        MR. FAYNE: Same objection.                            17 glyphosate as a class C possible human carcinogen."
18    A. Yes, it would. They're designed to reduce              18       Do you see that?
19 exposure to the eyes, to the hands, to the skin, to the      19    A. Yes.
20 feet, to the legs, to the back and to the torso.             20    Q. Okay. How long did that classification remain
21    Q. If you would find Exhibit 16, please, in the           21 in effect?
22 pile. It's the October 1991 peer review of glyphosate.       22    A. Through 1991.
23    A. 16?                                                    23    Q. Okay. So in between this date of this
24    Q. Yes, sir.                                              24 classification as possible human carcinogen for the
25    A. All right. I'm there. Making a mess of my              25 approximately six and a half years through 1991, was

                                                   Page 315                                                         Page 317
 1 nice pile. All right. Second peer review.                     1 there ever any information provided by Monsanto on a
 2    Q. Okay. And on the third page, Bates number 479.          2 Roundup label that glyphosate, the active ingredient,
 3    A. I'm there.                                              3 was classified as a possible human carcinogen?
 4    Q. There's a section entitled, "Background                 4A. No, there was not.
 5 information." Do you see that?                            5    Q. Have you seen any information communicating
 6    A. Yes.                                                6 this finding to the public in any way?
 7    Q. And the -- after the chemical formula for           7    A. From Monsanto?
 8 glyphosate, it reads, "On February 11th, 1985, the        8    Q. From Monsanto, yes, sir.
 9 carcinogenic potential of glyphosate was first            9    A. No, I have not.
10 considered by a panel (then called the Toxicology Branch 10    Q. Have you seen any advertisements that included
11 Ad Hoc Committee) comprised of members of the Toxicology 11 a statement between the time in 1985 when it was
12 Branch of the Hazard Evaluation Division. The            12 classified by EPA as a possible human carcinogen until
13 committee, in a consensus review dated March 4th, 1985,  13 that classification change in 1991 indicating that it
14 classified glyphosate as a Group C carcinogen based on   14 was classified as a possible human carcinogen?
15 an increased incidence of renal tubular adenomas in male 15    A. No, not.
16 mice."                                                   16    Q. Any brochures or presentations that stated that
17       Do you see that?                                   17 to users of Roundup?
18    A. Yes.                                               18    A. No.
19    Q. Did Monsanto ever put on its label that Roundup    19    Q. Any sort of press release or announcement by
20 or glyphosate had been classified as a Group C           20 Monsanto to any users of Roundup or the general public?
21 carcinogen?                                              21    A. No.
22    A. No, it did not.                                    22    Q. Is this statement of the finding of possible
23    Q. If you turn to Exhibit 15, which is a              23 human carcinogen consistent with your opinion in
24 February 24th, 1986, EPA memo.                           24 paragraph 387 that as of 1985 Monsanto should have added
25    A. 15. Okay. I have it.                               25 at least an oncogenicity warning?


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 1   A. Correct. And I suggested language that is              1 they relied on and their use of historical control data
 2 similar to the language that they -- that Monsanto          2 leading them to dismiss essentially all of the positive
 3 actually put on the Lasso or Alachlor label.                3 tumor data in all of the animal bioassays. So they --
 4       MR. KRISTAL: Okay. I'm going to mark as               4 in their document, they do their best to justify the
 5 hopefully the last document, Exhibit 27.                    5 conclusions that they reached based on their review of
 6          (Exhibit 27 marked for identification.)            6 the animal bioassay data, and that's what -- that's what
 7   Q. (BY MR. KRISTAL:) Thank you. This is an EPA            7 they then asked the SAP to review.
 8 document dated March 16th, 2017. The subject is             8    Q. Okay. But did the EPA itself explain why it
 9 "Transmission of meeting minutes and final report of the    9 didn't follow its own cancer guidelines?
10 December 13th through 16th, 2016 FIFRA SAP meeting."       10    A. No, they didn't mention that fact.
11       Have you reviewed this document before?              11    Q. Okay. To your knowledge, is there any
12   A. Yes, I have.                                          12 indication that IARC failed to follow its guidelines as
13   Q. And did the SAP evaluate the environmental            13 established in its preamble --
14 protection -- strike that.                                 14    A. No.
15       "SAP" means what?                                    15    Q. -- in terms of evaluating the carcinogenicity
16   A. Scientific advisory panel.                            16 of glyphosate?
17   Q. Okay. In this report dated March 16th, 2017,          17    A. In their report, correct. I -- yes, there was
18 did the scientific advisory panel evaluate the             18 no indication that they deviated from standard IARC
19 Environmental Protection Agency's review of technical      19 protocols.
20 glyphosate?                                                20    Q. Okay. Did the -- if you turn to page 82 of
21   A. Yes. That was the part of the focus of it, and        21 Exhibit 27, the SAP --
22 there was a series of questions placed to the SAP, as is   22    A. The same one we're in?
23 always done when a scientific advisory panel meeting is    23    Q. Yes.
24 scheduled.                                                 24    A. I'm there.
25   Q. And if you would kindly turn to page 18.              25    Q. There's a section entitled "Scientific quality

                                                 Page 319                                                      Page 321
 1    A. Okay. I'm there.                                      1 of the agency's carcinogenic potential
 2    Q. Did the entire SAP panel conclude that the EPA        2 characterization."
 3 did not follow its own guidelines --                        3       Do you see that?
 4    A. Yes.                                                  4    A. Yes, I do.
 5    Q. -- from 2005?                                         5    Q. Okay. And it reads in that first paragraph,
 6       MR. FAYNE: Objection. Lacks foundation.               6 "While the issue paper does try to detail the design and
 7    A. Yes, they did.                                        7 data limitation of each study selected, some of the
 8    Q. Okay. And the next-to-the-last paragraph              8 panel believed it does not provide sufficient details to
 9 begins "Overall, the panel concluded that the EPA           9 support its conclusions, and this negatively impacts the
10 evaluation does not appear to follow the EPA 2005 cancer   10 scientific quality of the report. In addition, many
11 guidelines in several ways, notably for use of             11 panel members felt that some of the discussions of study
12 historical control data and statistical testing            12 design and data limitations provided in the issue paper
13 requirements."                                             13 introduced and used criteria that were not part of EPA
14       Is that what the SAP, the scientific advisory        14 guidelines for these assessments, and this further
15 panel, wrote in 2017?                                      15 reduces the credibility of the assessment."
16    A. Yes, that's what they concluded.                     16       Do you agree with the scientific advisory
17    Q. Okay. Does the fact they concluded the EPA did       17 panel's conclusions here regarding the reduction in the
18 not follow its own guidelines raise any concern in your    18 credibility of the EPA's assessment?
19 opinion regarding the quality of EPA's assessment?         19    A. Actually, I do agree with it.
20       MR. FAYNE: Object to form.                           20    Q. Did IARC consider real-world exposure to
21    A. Yes.                                                 21 glyphosate-based herbicides for its classification of
22    Q. Did the EPA ever explain why it didn't follow        22 probable carcinogenicity for glyphosate?
23 its own guidelines?                                        23       MR. FAYNE: Object to form.
24    A. In -- in the September 2016 report, they             24    A. They did --
25 present their arguments for the statistical tests that     25       MR. FAYNE: And lacks foundation.

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 1       THE WITNESS: They did in the context of their           1    Q. Were you aware that EPA issued a notice of
 2 review of the epidemiological evidence, all of which          2 intent to cancel the registration of Alachlor?
 3 involved exposures to glyphosate-based herbicides and         3    A. Alachlor.
 4 real-world exposures, and they also did in the genotox        4    Q. Alachlor.
 5 assays involving exposed human populations who -- who         5    A. It's okay.
 6 were exposed to a glyphosate-based herbicide under            6    Q. I'll restate the question.
 7 real-world conditions.                                        7       Were you aware that EPA issued a notice of
 8    Q. (BY MR. KRISTAL:) Have there been any                   8 intent to cancel the registration of Alachlor?
 9 questions today by Monsanto's counsel or by myself that       9    A. Probably back when I was doing research on corn
10 leads you to change any of the opinions and conclusions      10 herbicides I was aware of it, but I haven't gone back to
11 expressed in your report in this case?                       11 review the record in preparation for this deposition.
12    A. No.                                                    12    Q. Were you aware that EPA required a label
13       MR. KRISTAL: I have no further questions               13 statement that Alachlor labels include the label warning
14 unless --                                                    14 "Restricted use due to oncogenicity, a tumor hazard
15       MR. FAYNE: We can go off record for five               15 warning"?
16 minutes.                                                     16    A. Yes.
17       VIDEOGRAPHER: Off the record at 5:39 p m.              17    Q. Did EPA ever require that glyphosate-based
18          (A brief recess was had.)                           18 herbicide labels include a label warning for restricted
19       VIDEOGRAPHER: Back on the record at 5:47 p m.          19 use due to oncogenicity?
20              FURTHER EXAMINATION                             20    A. No.
21 BY MR. FAYNE:                                                21    Q. Did EPA ever require that glyphosate-based
22    Q. Dr. Benbrook, you were shown by counsel                22 herbicide labels include a label warning for a tumor
23 Exhibit 25, which relates to the chemical Alachlor; is       23 hazard?
24 that correct?                                                24    A. No.
25    A. Alachlor.                                              25    Q. Are you aware of any company including a cancer

                                                     Page 323                                                     Page 325
 1    Q. Alachlor. Thank you. Is that correct?                   1 warning on a pesticide label in a situation other than
 2    A. Yes.                                                    2 when EPA required such a warning?
 3       MR. FAYNE: I'm going to mark this as                    3    A. I can't think of one at this late hour. To
 4 Exhibit --                                                    4 say -- to say definitively how many there are, I'd have
 5       MR. KRISTAL: 28.                                        5 to go through and look at a lot of labels.
 6       MR. FAYNE: -- 28, which is the EPA R.E.D.               6    Q. Sitting here today, you're not aware of any
 7 Facts, which I believe is the Registration Eligibility        7 pesticide company that has voluntarily placed a cancer
 8 Decision. Correct?                                            8 warning on its pesticide products without being required
 9       THE WITNESS: Correct.                                   9 to do so by EPA; correct?
10          (Exhibit 28 marked for identification.)             10     A. I can't -- I can't point to one now.
11    Q. (BY MR. FAYNE:) Have you seen this document            11     Q. I'd like to direct you to exhibit -- I believe
12 before, Dr. Benbrook?                                        12 it's 21, the International Code of Conduct on Pesticide
13    A. Yes.                                                   13 Management.
14    Q. You're aware that in January 1985, EPA                 14     A. Okay.
15 determined that Alachlor met or exceeded the agency's        15     Q. You were shown this document by counsel;
16 oncogenicity criteria?                                       16 correct?
17    A. They classified Alachlor as a B2 carcinogen.           17     A. Correct.
18 Is that what you're saying? I can't remember the exact       18     Q. Had you reviewed this document before today?
19 date that they did it. It's probably in this document.       19     A. Multiple times.
20    Q. And B2 carcinogen, that means probable human           20     Q. It's not listed in your reference list;
21 carcinogen?                                                  21 correct?
22    A. Correct.                                               22     A. I -- I don't know if it is or not.
23    Q. Did the EPA ever classify glyphosate as a              23     Q. So you can't say one way or the other whether
24 probable human carcinogen?                                   24 this document is listed in your reference list?
25    A. No.                                                    25     A. I can't.

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 1    Q. Did you rely upon this document in forming your         1 formulated products today are consistent with the
 2 opinions in this case?                                        2 findings of international regulatory bodies; correct?
 3    A. This is a -- this is a document that's been             3       MR. KRISTAL: Objection.
 4 part of pesticide registration and the code of conduct        4    Q. Glyphosate formulations. I apologize. Let me
 5 internationally for 35 years, 40 years. It's -- it's          5 restate the question.
 6 one of thousands of documents that I've used and has          6       In general, the find -- the labels on Monsanto
 7 informed my understanding of pesticide risk and               7 formulations today are consistent with the findings of
 8 regulation, stewardship obligations. And I apologize          8 international regulatory agencies; correct?
 9 for not including on my reliance list everything that         9       MR. ESFANDIARY: Which ones under the
10 I've read in the last 40 years on pesticides.                10 formulations?
11    Q. If you could turn to page 11, Article 4,               11       MR. KRISTAL: It's getting late. Don't worry.
12 Testing of Pesticides.                                       12    Q. (BY MR. FAYNE:) It's getting really late. I
13    A. Page 11. Okay. I'm there.                              13 apologize. I'll restate the question for the third time
14    Q. Section 4.1.2 states that, "A pesticide                14 and this time I'm going to get it correct. I promise.
15 industry should ensure that such tests are conducted in      15       You would agree with me, Dr. Benbrook, at this
16 accordance with sound scientific and experimental            16 late hour, that the labels on Monsanto's
17 procedures and the principles of good laboratory and         17 glyphosate-based formulations are consistent with the
18 experimental practice"; correct?                             18 findings of regulatory agencies around the world with
19    A. Correct.                                               19 respect to cancer; correct?
20    Q. You're not making any claim that Monsanto              20    A. Yes.
21 violated good laboratory practices in conducting studies     21    Q. You'd also agree that the California state
22 on glyphosate; correct?                                      22 agency OEHHA does not have authority to register
23    A. No, I have not.                                        23 pesticides in California; correct?
24    Q. If you turn to 4.1.3, it states that,                  24    A. Correct.
25 "Pesticide industries should make available copies or        25    Q. Does not have the authority to approve

                                                   Page 327                                                      Page 329
 1 summaries of the original reports of such tests for           1 pesticide labels; correct?
 2 assessment by responsible governmental authorities in         2    A. Right. That's the California Department of
 3 all countries where the pesticide is to be offered for        3 Food and Agriculture that does that, DPR.
 4 sale or use." Do you see that?                                4    Q. You've testified that you've reviewed this
 5    A. Yes.                                                    5 document many times.
 6    Q. You would agree with me that IARC is not a              6       Does anywhere in this publication, which was
 7 governmental authority; correct?                              7 issued by the World Health Organization, does it mention
 8    A. Yes.                                                    8 IARC in here?
 9    Q. IARC does not register pesticides; correct?             9    A. I can't remember. I'd have to scan through it
10    A. Correct.                                               10 to give a definitive answer.
11    Q. So IARC would not fit within the meaning of            11    Q. You don't recall a statement in this
12 this paragraph 4.1.3; correct?                               12 publication by the World Health Organization that says
13    A. Correct.                                               13 that pesticide labels should be consistent with the
14    Q. If you'd turn to 4.1.4, states that, "Pesticide        14 findings of IARC; correct?
15 industries should ensure that the proposed use, label        15    A. I'd have to look.
16 claims and directions, packages, safety data sheets,         16    Q. So sitting here today, you can't say one way or
17 technical literature and advertising truly reflect the       17 the other; correct?
18 outcome of these scientific tests and assessments";          18    A. That's what I just said.
19 correct?                                                     19    Q. So fair to say that to your knowledge this
20    A. Correct.                                               20 publication requires that labels be consistent with the
21    Q. You would agree that the Monsanto label is             21 findings of regulatory authorities around the world, but
22 consistent with the findings of international regulatory     22 not IARC?
23 bodies; correct?                                             23       MR. KRISTAL: Objection.
24       MR. ESFANDIARY: Which ones?                            24    A. This document requires that pesticide labels be
25    Q. The -- in general, the labels on Monsanto's            25 consistent with what pesticide registrants, pesticide


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 1 regulators, and the scientific community knows about the    1    Q. So you're not aware that they affirmed their
 2 exposures and risks arising from use of pesticides.         2 understanding that they disagreed with the SAP with
 3    Q. You were asked about worker safety language in        3 respect to the guideline comments?
 4 the 1986 registration standard document; correct?           4    A. I'm not surprised to learn that they would
 5    A. Yes, I was.                                           5 stick to their guns on this.
 6    Q. Would you agree that that worker safety               6    Q. Did you review -- strike that.
 7 language is not present in the 1993 registration            7       Did you rely on this SAP document in forming
 8 eligibility document for glyphosate?                        8 your opinions in this case?
 9    A. I would agree with that, yes.                         9    A. That -- that's the most recent SAP meeting,
10    Q. You were shown a document, I believe it's            10 and, yes, I was aware of it. I haven't -- I haven't
11 Exhibit 27, which is a March 16th, 2017, the               11 read the -- I don't think I've ever read it straight
12 transmission of meeting minutes and final --               12 through, but I'm aware of it and aware of the major
13    A. Right.                                               13 findings of it.
14    Q. -- report of the SAP?                                14    Q. Is it cited in your reliance list?
15    A. Yep.                                                 15    A. I don't know. I can't remember.
16    Q. You were asked whether -- I believe you were         16    Q. I'd like to turn now to some questions that
17 asked whether Monsanto -- strike that.                     17 counsel asked you about Professor Parry.
18       You were asked whether EPA addressed the             18    A. Okay.
19 comments of the SAP; is that correct?                      19    Q. And if I could, I would like to direct you to
20       Perhaps I'm incorrect.                               20 the EPA reporting requirements. And I apologize, I'm
21       I'm sorry. You were asked in this report, SAP        21 not sure which exhibit this is. This is the 40 CFR
22 stated that EPA did not follow its guidelines; correct?    22 Part 159, Subpart D.
23    A. Correct.                                             23    A. 11.
24    Q. And you were asked whether EPA ever explained        24    Q. Thank you. So if I could turn your attention
25 why it didn't follow its guidelines; correct?              25 to Exhibit 11. And as we talked about earlier today, if

                                                  Page 331                                                       Page 333
 1    A. I was asked that, yes.                                1 you look at Section 159.155.
 2    Q. Have you reviewed the document in which EPA           2    A. 155?
 3 responded to the comments of the SAP?                       3    Q. Yes, 155.
 4    A. No.                                                   4    A. Okay.
 5    Q. Have you reviewed the 2017 -- December 2017 OPP       5    Q. This section addresses when information must be
 6 report which was revised following the OPP -- the SAP       6 submitted. And as we talked about earlier today, it
 7 meeting?                                                    7 provides seven categories of reportable information.
 8    A. Are you talking about the draft human health          8       Do you see that?
 9 risk assessment?                                            9    A. Yes.
10    Q. I'm talking about EPA's December 2017 revised        10    Q. So now I'd like to turn to 159.158, which is
11 issue paper.                                               11 the section that counsel asked you about.
12    A. Please put it in front of me.                        12    A. 158. Okay.
13    Q. I don't have it here today. This is the              13    Q. Part A states, "Information which is reportable
14 updated version of the 2016 report that we've been         14 under this part must be submitted if the registrant" --
15 reviewing today.                                           15 and then it goes on to describe who possesses that
16    A. Okay.                                                16 information; correct?
17    Q. Have you -- do you recall if you reviewed that       17    A. Yes, sir.
18 document?                                                  18    Q. So the information must be reportable under
19    A. Yes, I have.                                         19 this part; correct?
20    Q. Do you recall if that document addresses any of      20    A. Information that falls into these categories
21 the issues raised by the SAP?                              21 has to be reported, yes.
22    A. I believe it does, yes.                              22    Q. When this -- the regulation says "Information
23    Q. And you're aware that EPA directly responded to      23 reportable under this part," do you understand that to
24 the SAP in a formal memo; correct?                         24 mean Part 159 of the Code of Federal Regulations?
25    A. No, I haven't seen that memo.                        25    A. Yes.

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 1    Q. So the information must first be reportable             1    Q. So you've seen this document before; correct?
 2 under Part 159 of the Code of Federal Regulations;            2    A. Yeah.
 3 correct?                                                      3    Q. And this is summarizing a meeting between
 4    A. Correct.                                                4 Monsanto and Dr. Parry --
 5       MR. FAYNE: Going to mark one last exhibit               5    A. Right.
 6 today and then I'm done, I promise.                           6    Q. -- that occurred in February 2001; correct?
 7       MR. KRISTAL: I've heard promises before at              7    A. Correct.
 8 depositions.                                                  8    Q. So starting with the first paragraph, second
 9       MR. FAYNE: Number 28?                                   9 sentence, it states, "The presentation of the results of
10       MR. KRISTAL: I think so. You marked the last           10 the" Monsanto -- or I should say "MON 35050 study
11 one which was the --                                         11 changed the mood because it clarified certain effects
12       MR. FAYNE: Yeah.                                       12 found in the Bolognesi and Peluso papers."
13       THE WITNESS: The EPA, the SAP report, and it           13       Did I read that correctly?
14 is --                                                        14    A. You read it correctly, yes.
15       MR. KRISTAL: 27.                                       15    Q. Do you know what the MON 35050 study is?
16       THE WITNESS: -- it's 27.                               16    A. It's a study on that numbered Monsanto
17    Q. (BY MR. FAYNE:) So I'm marking as Exhibit 28           17 formulation. I believe that's original Roundup.
18 an e-mail chain related to a meeting with                    18    Q. That is the study that was designed to
19 Professor Parry, and this is cited in paragraph 492 of       19 replicate and explain the findings of the Bolognesi and
20 your report.                                                 20 Peluso --
21    A. Okay. Just a second. And do I need to get my           21    A. Yes.
22 report out, too, do you think, or are we just going to       22    Q. -- papers; correct?
23 talk about this document?                                    23    A. Yeah. One of -- one of several.
24    Q. No, we're just going to talk about this                24    Q. If you go to the "Results" section of the
25 document.                                                    25 summary, it states that --

                                                  Page 335                                                         Page 337
 1    A. Okay. Shoot.                                            1    A. Let me -- I want to read the intervening
 2    Q. So you're aware -- I think you testified                2 paragraphs.
 3 earlier that you were not aware of any written reports        3    Q. Sure.
 4 from Dr. Parry after August of 1999; correct?                 4    A. Okay.
 5    A. I would have to go back and check the dates of          5    Q. So the "Results" section states that,
 6 the various Parry reports. As what became clear               6 "Acceptance that glyphosate is not genotoxic."
 7 earlier, there's a series of them.                            7    A. That's what it says.
 8       It's not exactly clear to me which ones came at         8    Q. "Broad agreement that genotoxic results in some
 9 the same time, which ones are two parts of one report.        9 studies with surfactants arose due to oxidative damage
10 And the record -- it's confusing to track the flow of        10 rather than direct genotoxicity"; correct?
11 Parry's reports. I'd have to go back and look at it in       11    A. Correct. That's what it says.
12 detail to give you a definitive answer.                      12    Q. And then going down to the last bullet in that
13    Q. But you're aware that Monsanto and Dr. Parry           13 section, "No longer requested any studies on the final
14 continued to communicate after August 1999; correct?         14 formulation."
15    A. I am aware of that, yes.                               15       Did I read that correctly?
16    Q. And I'll represent to you that you stated in           16    A. Yes.
17 your report that there was a meeting in February 2001        17    Q. As of February 2001, Dr. Parry agreed that
18 between Dr. Parry and Monsanto; correct?                     18 glyphosate was not genotoxic; correct?
19    A. Correct.                                               19       MR. KRISTAL: Objection.
20    Q. And you cite this document, which is an                20    A. I'm not willing to accept             summary of
21 e-mail -- if you turn to the second page, it's an e-mail     21 this meeting as accurately reflecting Parry's views.
22 from                     to Donna Farmer, William Heydens,   22    Q. As of February 2001, Dr.             reported from
23                   and copying                    dated       23 a meeting that Dr. Parry had accepted that glyphosate is
24 February 16th, 2001?                                         24 not genotoxic; correct?
25    A. Right. Oh, yes, I remember this one now, yeah.         25       MR. KRISTAL: Objection.

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 1    A.                     is reporting that his                   1 or communication from Dr. Parry indicating that he
 2 interpretation of what Dr. Parry said. And, in fact, if           2 believed glyphosate was genotoxic?
 3 Dr. Parry had total changed his opinions about                    3    A. I -- no, I don't believe I am. I would have
 4 glyphosate and glyphosate-based herbicides and believed           4 to, again, look -- look back at the MONGLY documents
 5 that they were not genotoxic, I'm quite sure that                 5 that memorialize the interactions between Monsanto and
 6 Monsanto would have continued to use him and make him a           6 Dr. Parry to give a definitive answer to that question.
 7 party of their third-party network, which they did not            7    Q. Same answer for glyphosate-based formulations;
 8 do.                                                               8 correct?
 9         So I do not believe that there was a                      9    A. Yes.
10 substantial change in Dr. Parry's assessment of the              10    Q. You stated that you're not willing to accept
11 studies that he reviewed discussed during this meeting.          11                interpretation of this meeting; correct?
12    Q. Are you aware of whether Monsanto continued to             12    A. Correct.
13 work with Dr. Parry after this February 2001 meeting?            13    Q. Do you have any reason to believe that his
14    A. I think there were -- I think perhaps even a               14 summary of the meeting was inaccurate?
15 whole 'nother year, there were some communications back          15    A. It -- it's impossible to, based on this cryptic
16 and forth, yes. I don't know if you would -- if that             16 summary of the meeting that occurred, to understand
17 would classify as "work with."                                   17 exactly what was discussed, what date it was presented,
18         I think there was -- there was concern                   18 what aspects of studies Dr. Parry expressed a view on
19 expressed about what Parry, independent of his                   19 that          interpreted was different from the view
20 association with Monsanto might say and do about what he         20 that Parry expressed in his earlier reports. It's just
21 had learned in the course of this consulting assignment          21 -- it's not possible to render that judgment based on
22 that he had done with Monsanto. There's several                  22 this cursory summary of the meeting.
23 messages that discuss what happens next in their                 23    Q. So it's not possible to review the e-mail and
24 association with Dr. Parry.                                      24 understand exactly what was said or what people's intent
25    Q. You testified that Monsanto would have                     25 or motivation was; correct?

                                                         Page 339                                                      Page 341
 1 continued to use him. How do you know that Monsanto did           1       MR. KRISTAL: Objection.
 2 not continue to use him?                                          2    A. Correct.
 3         Is that based on your review of the e-mails               3    Q. Under the "Actions" section, it states,
 4 produced in this litigation?                                      4 "Complete the MON 35050 study with an intraperitoneal
 5    A. Yes.                                                        5 injection of the MON" M-O-N, "35035 formulation minus
 6    Q. And those e-mails stated that they were no                  6 glyphosate."
 7 longer using Dr. Parry as of what date?                           7       Do you see that?
 8    A. I don't -- I don't remember, but certainly by               8    A. Yes.
 9 2003, there was -- I'm almost sure there was                      9    Q. Do you know whether Monsanto completed that
10 no -- essentially no more communication, at least not            10 study?
11 that I've seen in the record.                                    11    A. I don't. I don't know if they did or not.
12    Q. You're not aware of any publication by                     12    Q. You don't know one way or the other?
13 Dr. Parry suggesting that glyphosate or glyphosate-based         13    A. Right. Correct.
14 formulations were genotoxic; correct?                            14       MR. FAYNE: No further questions.
15    A. In peer-reviewed -- a peer-reviewed journal?               15       MR. KRISTAL: For housekeeping purposes, I have
16 No.                                                              16 two minutes of questions.
17    Q. Correct.                                                   17       I believe you marked Exhibit -- the Alachlor
18    A. No, I'm not aware of any.                                  18 EPA R.E.D. Facts as 28, so the e-mail that you've just
19    Q. Other than the three reports in 1999 that                  19 been discussing should be 29, so I'll put 29 on that.
20 Dr. Parry produced, are you aware of any written study           20       MR. FAYNE: Thank you. I appreciate that.
21 or publication in which Dr. Parry concluded that                 21          (Exhibit 29 marked for identification.)
22 glyphosate was genotoxic?                                        22       MR. KRISTAL: And I'm assuming 28 made its way
23    A. I'm not aware of any. It could exist.                      23 onto the Alachlor, and if it hadn't, we can do as well.
24    Q. After this February 2001 meeting between                   24       MR. FAYNE: All right. Actually, have you
25 Monsanto and Dr. Parry, are you aware of any statement           25 marked that version that you have that's stapled?


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 1        MR. KRISTAL: That's mine. We'll make sure for         1    A. Yes. The pesticide refers to the testing of
 2 housekeeping.                                                2 the active ingredient, and pesticide product refers to
 3        MR. FAYNE: Okay.                                      3 the formulated or end-use product.
 4        MR. KRISTAL: We don't have to delay                   4    Q. Okay. So the pesticide, the active ingredient
 5 Dr. Benbrook while we do the housekeeping.                   5 for Roundup is what?
 6        MR. FAYNE: All right. Thank you.                      6    A. Glyphosate.
 7        MR. KRISTAL: Sure.                                    7    Q. And the pesticide product is what?
 8        THE WITNESS: I'm quite proud of my together           8    A. Roundup and the various brands of Roundup.
 9 pile here. I've got 27, 28.                                  9    Q. Okay. And has Monsanto ever done any
10        MR. KRISTAL: 28 is already on there.                 10 carcinogenicity testing on Roundup itself, the pesticide
11        THE WITNESS: 29, and that's bingo.                   11 product?
12          (Exhibit 23 marked for identification.)            12    A. No, it has not.
13        MR. KRISTAL: Real quick. I marked as                 13    Q. Okay. And is that a violation of this industry
14 Exhibit 23 the printout from the Monsanto website that      14 standard that Monsanto itself has adopted?
15 had the link to the International Code of Conduct on        15       MR. FAYNE: Objection. Calls for a legal
16 Pesticide Management, and --                                16 conclusion.
17        THE WITNESS: That's the missing one.                 17    A. It falls short of full compliance with it,
18        MR. KRISTAL: Right.                                  18 especially given all of the reasons to do it.
19        MR. FAYNE: Do you mind if I take a quick look        19    Q. And very briefly, Exhibit 28, the Alachlor EPA
20 at it?                                                      20 registration facts. It was mentioned that eventually
21        MR. KRISTAL: Sure.                                   21 Alachlor was classified as a B2 carcinogen; right?
22        MR. FAYNE: Whenever you're ready.                    22    A. Correct.
23        MR. KRISTAL: And Exhibit 23, just before the         23    Q. Okay. But in the history here it says, a
24 link, says, "We subscribe to international stewardship      24 registration standard was issued for Alachlor on
25 standards including the International Code of Conduct on    25 November 20th, 1984, dropping down, "The Registration

                                                 Page 343                                                          Page 345
 1 Pesticide Management." And I want to --                      1 Standard (1) stated that Alachlor was classified as an
 2       THE WITNESS: It goes there when it's ready.            2 oncogen." Do you see that?
 3       MR. KRISTAL: Yep. And I want to follow on              3    A. Yes.
 4 Exhibit 21 just in the same section that Mr. Fayne had       4    Q. And so that was November 20th, 1984, and we saw
 5 asked you questions.                                         5 from the 1985 --
 6              FURTHER EXAMINATION                             6    A. '5.
 7 BY MR. KRISTAL:                                              7    Q. -- chemical guide that, very shortly after the
 8    Q. Under Article 4, Testing of Pesticides,                8 finding that it was an oncogen, Monsanto put the warning
 9 Mr. Fayne asked you about Section 4.1.2 in terms of good     9 on the Alachlor products; correct?
10 laboratory practices; correct?                              10    A. Correct.
11    A. Correct.                                              11       MR. KRISTAL: No further questions.
12    Q. All right. 4.1 says, and 4.1.1 say, "Pesticide        12       MR. FAYNE: Let's take a one-minute break and
13 industries should ensure that each pesticide and            13 then I might have one last question and I think we're --
14 pesticide product is adequately and effectively tested      14       THE WITNESS: I think I'm done. Okay? I mean,
15 by recognized procedures and test methods so as to fully    15 this can go on all night.
16 evaluate its inherent physical, chemical or biological      16       MR. FAYNE: Well, it can.
17 properties, efficacy, behavior, fate, hazard and risk       17       THE WITNESS: Let's do the question.
18 with regard to the various anticipated uses and             18       MR. FAYNE: Okay.
19 conditions in regions or countries of use."                 19       MR. KRISTAL: Do you have a question?
20       Do you see that?                                      20       MR. FAYNE: Yeah, we're still on the record.
21    A. Yes, I do.                                            21             FURTHER EXAMINATION
22    Q. When it says, "ensure that each pesticide and         22 BY MR. FAYNE:
23 pesticide product," is there a difference between the       23    Q. You testified previously that testing -- doing
24 pesticide as an active ingredient and the pesticide         24 long-term cancer studies on a formulated product is not
25 product itself?                                             25 industry standard; correct?


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 1       MR. KRISTAL: Objection.                               1 going to -- I thought that's what's you're going to do.
 2   A. Correct.                                               2        MR. KRISTAL: That's fine. We'll do that,
 3       So that's your question? You asked -- you said        3 then. It's no big deal.
 4 you were going to ask one question.                         4       We will provide to the court reporter an
 5       MR. KRISTAL: Yeah. We're beyond seven hours           5 electronic copy of 24, and we'll provide that to you as
 6 anyway.                                                     6 well.
 7       MR. ESFANDIARY: Counsel --                            7       MR. FAYNE: That would be great. Thank you.
 8       VIDEOGRAPHER: We can go off the record and I          8       MR. KRISTAL: Okay. Fair enough.
 9 can let you know.                                           9         (Whereupon, the deposition of CHARLES
10       MR. FAYNE: That's fine.                              10         BENBROOK, Ph.D., was concluded at 6:20 p m.)
11       THE WITNESS: Are we done?                            11         (Exhibit 24 marked for identification.)
12       MR. FAYNE: Yes, we can be done.                      12
13       THE WITNESS: Thank you.                              13
14       VIDEOGRAPHER: This concludes the videotaped          14
15 deposition of Charles Benbrook, Ph.D. The time is now      15
16 6:18 p m. We're going off the record.                      16
17          (Discussion had off the record.)                  17
18          (Off the video record.)                           18
19       MR. KRISTAL: Earlier I had said that I was           19
20 going to mark as Exhibit 24 the linked International       20
21 Code of Conduct from Exhibit 23, the Monsanto website.     21
22 We agreed that 24 was the 2014 -- well, was going to be    22
23 marked as 24, was the 2014 international code, which was   23
24 the same as Exhibit 21.                                    24
25       MR. FAYNE: So I --                                   25

                                                 Page 347                                                              Page 349
 1        MR. KRISTAL: 24 does not get marked.                 1
 2        MR. FAYNE: And I would just say that we did                            CERTIFICATE
 3 not agree that they're necessarily the same document. I     2
 4 understand that you printed out the linked version,         3       I, AMY J. BROWN, Certified Court Reporter in and
 5 but...                                                      4 for the States of Idaho and Washington, Notary Public in
                                                               5 and for the State of Idaho, do hereby certify:
 6        MR. KRISTAL: Well, it had the same title. It
                                                               6       That the foregoing deposition of CHARLES
 7 had the same author. The --
                                                               7 BENBROOK, Ph.D., was taken December 28, 2018, at the
 8        MR. FAYNE: It had a different cover page, so         8 time and place herein stated;
 9 as far as I'm concerned, not the same document.
                                                               9       That the witness was first duly sworn to testify
10        MR. KRISTAL: Right.                                 10 to the truth, the whole truth, and nothing but the truth
11        MR. FAYNE: I haven't reviewed them in detail        11 in the within-entitled cause;
12 to be able to --                                           12       That the foregoing is a true and correct
13        MR. KRISTAL: Okay.                                  13 transcription of my shorthand notes of said deposition
14        MR. FAYNE: -- agree to that characterization.       14 transcribed by me or under my direction;
15        MR. KRISTAL: Well, everybody can go onto the        15       I further certify that I am not interested in
16 Monsanto website link.                                     16 the outcome of said action, nor connected with, nor
                                                              17 related to, any of the parties of said action or to
17        MR. ESFANDIARY: I can send you the link later.
                                                              18 their respective counsel.
18 You can authenticate it later.
                                                              19       IN WITNESS WHEREOF, I have hereunto set my hand
19        MR. FAYNE: I'm sure. All I'm saying is I'm
                                                              20 and seal this 29th day of December, 2018.
20 not agreeing --
                                                              21
21        MR. KRISTAL: Would you agree to look whenever       22             _____________________________
22 you get a chance and then let us know if you agree so we   23             AMY J. BROWN, RMR, CRR
23 don't have to go back and print it and put a number 24                    Notary Public
24 on it? We can print it out after the deposition.           24             My commission expires: 9/24/24
25        MR. FAYNE: I thought that's what you were           25


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 1      INSTRUCTIONS TO WITNESS                    1
 2                                                 2      ACKNOWLEDGMENT OF DEPONENT
 3                                                 3
            Please read your deposition
 4 over carefully and make any necessary
                                                   4         I,_____________________, do
 5 corrections. You should state the reason        5 hereby certify that I have read the
                                                   6 foregoing pages, and that the same is
 6 in the appropriate space on the errata
                                                   7 a correct transcription of the answers
 7 sheet for any corrections that are made.
                                                   8 given by me to the questions therein
 8          After doing so, please sign            9 propounded, except for the corrections or
 9 the errata sheet and date it.
                                                  10 changes in form or substance, if any,
10          You are signing same subject          11 noted in the attached Errata Sheet.
11 to the changes you have noted on the           12
12 errata sheet, which will be attached to        13
13 your deposition.                               14   _______________________________________
14          It is imperative that you             15   CHARLES BENBROOK, Ph.D.         DATE
15 return the original errata sheet to the        16
16 deposing attorney within thirty (30) days      17
17 of receipt of the deposition transcript        18 Subscribed and sworn
18 by you. If you fail to do so, the                 to before me this
                                                  19 _____ day of ______________, 20____.
19 deposition transcript may be deemed to be
                                                  20 My commission expires:______________
20 accurate and may be used in court.
                                                  21
21
                                                       ____________________________________
22                                                22   Notary Public
23                                                23
24                                                24
25                                                25

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 1        - - - - - -                              1       LAWYER'S NOTES
           ERRATA                                  2 PAGE LINE
 2        - - - - - -                              3 ____ ____ ____________________________
 3                                                 4 ____ ____ ____________________________
 4 PAGE LINE CHANGE                                5 ____ ____ ____________________________
 5 ____ ____ ____________________________          6 ____ ____ ____________________________
 6   REASON: ____________________________          7 ____ ____ ____________________________
 7 ____ ____ ____________________________          8 ____ ____ ____________________________
 8   REASON: ____________________________          9 ____ ____ ____________________________
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24   REASON: ____________________________         24 ____ ____ ____________________________
25                                                25 ____ ____ ____________________________


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